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                           EXHIBIT G
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  HURT and OWENS v. JAVED, et al.               No. 17-cv-7909; No. 18-cv-0334
  DEPOSITION OF: HASINA JAVED, M.D.                              July 25, 2022




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

     BENAHDAM HURT,                     )
                          Plaintiff,    )
                                        )
               -vs-                     ) No. 17-CV-7909
                                        )
     HASINA JAVED, FAIZA KAREEMI,       )
     COLLEEN DELANEY, DIANA HOGAN &     )
     DREW BECK                          )
                    Defendants.         )
     ___________________________________)
                                        )
     MARK OWENS,                        )
                   Plaintiff,           )
             -vs-                       ) No. 18-CV-0334
                                        )
     HASINA JAVED                       )
                   Defendant.           )



                   The deposition of HASINA JAVED, M.D.,
     taken pursuant to the Federal Rules of Civil
     Procedure of the United States District Courts
     pertaining to the taking of depositions, taken
     before LYN DOERING, Certified Shorthand Reporter
     of the State of Illinois, taken remotely via Zoom
     in Illinois, on Monday, July 25, 2022, at the
     approximate hour of 10:05 o'clock a.m.




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                                                                           Page 2
1      APPEARANCES:
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                          on behalf of the Defendants Hasina Javed,
19                        Faiza Kareemi, Colleen Delaney and Diana
                          Hogan in Case No. 17-cv-7909, and
20                        Defendant Dr. Hasina Javed in Case No.
                          18-cv-0334;
21
22
23
24

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                                                                           Page 3
1      APPEARANCES CONTINUED:
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8                          Case No. 17-cv-7909;
9
10
11     ALSO PRESENT:
12
                    MR. RORY CANNON, Illinois Department of
13                  Human Services
14                  MR. SEAN GUNDERSON, Kretchmar & Cecala
15                  MS. STEPHANIE SCHAEFER, Kretchmar & Cecala
16
17
18     REPORTED BY LYN DOERING, CSR.
19
20
21
22
23
24

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                                                                           Page 6
1                       (Whereupon said witness
2                            was duly sworn).
3                          COURT REPORTER:        Will the attorneys
4      please identify yourselves for the record and
5      state your agreement to the taking of this
6      deposition and the swearing in of the witness via
7      Zoom?
8                          MR. KRETCHMAR:       Randolph Kretchmar,
9      for Plaintiffs Ben Hurt and Mark Owens.                I agree
10     to the taking of the deposition and the swearing
11     in of the witness by Zoom.
12                         MR. CECALA:      Joseph Cecala, also
13     for Plaintiffs Hurt and Owens, no objection.
14                         MS. JOHNSTON:       Mary Johnston, on
15     behalf of Defendant Javed in the Owens case and
16     Defendants Javed, Kareemi, Delaney and Hogan in
17     the Hurt case, no objection.
18                         MS. KOZAR:      Amanda Kozar, on behalf
19     of Defendant Beck in the Hurt case, no objection.
20                         MR. KRETCHMAR:       For the record,
21     Rory Cannon is observing.           He is Counsel for the
22     Department of Human Services.
23                  Sean Gunderson is observing.             He is a
24     Paralegal for our firm.


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                                                                           Page 7
1                   And in the room behind me is Stephanie
2      Schaefer, who is a paralegal.
3                   We also have an office manager who is
4      sitting on the other side of the wall.
5                   That's four people who aren't really
6      participating but just for the record that's who
7      they are and why they are here.
8                   To start off, Dr. Javed, good morning.
9                          THE WITNESS:       Good morning.
10                         MR. KRETCHMAR:       I haven't seen you
11     in a couple years.
12                  Have you been in a deposition like this
13     before or is this new?
14                         THE WITNESS:       Yes, I have been.
15                         MR. KRETCHMAR:       Okay.     Good.      A
16     couple of rules just to go over which you probably
17     already know.
18                  The court reporter has to take down a
19     transcript that will be word for word.                So be
20     careful not to talk over any of the attorneys or
21     if the court reporter asks a question to clarify
22     anything, we have to be one at a time, so she can
23     get everybody's exact words.
24                  If I ask a question and I pause and I am


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                                                                           Page 8
1      not quite done with the question and you start
2      talking it could make it a little more
3      complicated, so you have to be careful of that.
4                   Also, she can't really take down a nod
5      of the head or a shake of the head no.                You have
6      to answer verbally.
7                   If there is a question ever that you
8      don't fully understand and doesn't make sense to
9      you, please ask for clarification.              We will ask it
10     in a different way or clarify it.
11                  And if you want a break at any time we
12     can take breaks, so just say so.              On the other
13     hand, during a break we would admonish you, don't
14     have conversation with other people about the
15     deposition or the case, and we should take a break
16     after a question is fully answered, as opposed to
17     in between the question and the answer.
18                  I think that's all for basic rules.
19                  Could you please state and spell your
20     name for the record?
21                         THE WITNESS:       Hasina Javed,
22     H-A-S-I-N-A, J-A-V-E-D.
23     ///
24     ///


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                                                                          Page 9
1                         HASINA JAVED, M.D.,
2      called as a witness herein, having been first duly
3      sworn, was examined and testified as follows:
4                                EXAMINATION
5      BY MR. KRETCHMAR:
6                  Q      Thank you.
7                  One just form question I ask everybody:
8                  Are you taking any medications or any
9      psychiatric drugs that might make you confused or
10     make it more difficult for you to remember or
11     answer truthfully?
12                 A      No.
13                 Q      Thank you.
14                 Are you aware of -- at least initially
15     or somewhat familiar -- with this lawsuit in which
16     you are a defendant?
17                 A      Yes.
18                 Q      Good.
19                 Do you understand the allegations
20     against you and against the other defendants --
21                 Actually, there are two lawsuits; right,
22     one by Ben Hurt and one by Mark Owens?
23                 A      Yes.
24                 Q      Good.


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                                                                         Page 10
1                  We are taking this deposition relevant
2      to both of those two cases.
3                  Can you please give us a summary of your
4      education and your professional qualifications, as
5      a doctor in a state forensic psychiatric hospital?
6                  A      I went to medical school at Khyber
7      Medical College, Peshawarin, Pakistan, graduated
8      in 1982.
9                  I did my residency training at Loyola
10     University Medical Center from 1992 to 1996.
11                 I was after my residency employed in
12     Genesis Clinical Services in Wheaton, Illinois, as
13     a psychiatrist and had privileges at Linden Oaks
14     and Central DuPage Hospital.
15                 I also worked for the DuPage County
16     Health Department until 2007.
17                 I was employed at Elgin Mental Health
18     Center at the community psychiatric services in
19     December of 1998.        I worked there for two years.
20                 I transferred to the forensic treatment
21     program in February of 2001.            I was assigned to
22     the L Unit and had worked there consistently from
23     2001 to 2020.
24                 In 2020, after the pandemic, I was


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                                                                         Page 11
1      assigned to the Pinel Unit, and I am currently
2      working part-time carrying a patient load of 18.
3                  Q      So you have been a psychiatrist
4      essentially the whole time you have worked at
5      Elgin?
6                  A      Yes.
7                  Q      Can you tell me please your
8      responsibilities; more or less list your
9      responsibilities as a psychiatrist on a unit at
10     Elgin?
11                 A      So as a psychiatrist my job is
12     to -- on L Unit it's primarily NGRI Unit, which
13     carries the patient load of 25 at any given time.
14                 My responsibility is to do independent
15     psychiatric evaluation of the patient, review all
16     the records prior to their admission, come up with
17     a diagnosis, and then with the help of the rest of
18     the clinical team develop a treatment plan for
19     every individual patient that is admitted to the
20     unit.
21                 Q      Thank you.
22                 Who reports to you in your position?
23                 A      The team, as a clinical team, all
24     the members of the team -- which includes the unit


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                                                                         Page 12
1      psychologist, the caseworker, the activity
2      therapist -- they are all part of the team.
3                  So in the clinical treatment review of
4      the patient we all discuss the patient's case.
5                  Q      Do the members of the treatment
6      team actually report to you in some sense?
7                  Are you -- Well, I will ask that
8      question.
9                  A      As far as the clinical progress of
10     the patients, yes.
11                 Q      Good.
12                 To whom do you report?
13                 A      We report back to the court
14     services and back to wherever the patient -- the
15     county where the patient is admitted from, as far
16     as the progress of the patient, in the form of a
17     court report on a 90 day basis.
18                 Q      I am sorry, I didn't get that first
19     entity to whom you report.
20                 I believe it was clinical services?
21                 A      The court services.
22                 Q      Okay.     At Elgin, in other words
23     that would be Vicky Ingram's department; correct?
24                 A      Yes.


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                                                                         Page 13
1                  Q      Do you have any administrative
2      duties on the unit, as distinct from evaluating
3      patients, reviewing records, diagnosing and
4      contributing to a treatment plan?
5                  A      No.
6                  Q      In any particular case of any
7      particular patient are you ultimately in charge of
8      the treatment plan?
9                  A      With the team, yes, with the entire
10     team, yes.
11                 Q      Well, is your opinion about the
12     treatment plan or your input more important than
13     the opinions of -- or inputs of other team
14     members, like a social worker or a psychologist or
15     the activity therapist?
16                 I don't mean to make a compound question
17     there but I am just trying to understand -- Let me
18     ask it this way:
19                 You are the only MD; right?
20                 A      Besides myself, there is a medical
21     doctor also who is in charge of the -- any medical
22     issues that might come up with the patient, so
23     myself and another MD.
24                 Q      Okay.     Is the other MD in charge of


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                                                                         Page 14
1      or responsible for mental health issues or only
2      nonmental health medical issues?
3                  A      We sometimes consult with each
4      other.   So if there is a medical issue that I see
5      I would consult with him because sometimes there
6      are interrelated things that might come up -- the
7      labs of a patient or certain other issues -- so we
8      do discuss between each other.
9                  But he or she is primarily in charge of
10     the medical part and the physical illnesses that
11     the patient might be experiencing.
12                 And I am in charge primarily of
13     medication management, as well as making sure that
14     the patient is appropriately progressing in their
15     treatment.
16                 Q      What about, for example, side
17     effects from psychotropic medication?
18                 A      Yes, I would be the one primarily
19     taking care of those.
20                 Q      Okay.     Not the other MD, in other
21     words?
22                 A      Unless they see something they
23     bring to my attention, you know like, Have you
24     noticed that this level is the out of range?


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                                                                         Page 15
1                  Or I might notice something that I would
2      want to discuss with him, like a blood level or
3      with certain labs that I might see that are up and
4      down.
5                  Q      So it's fair to say, or is it not,
6      there is a little bit of give and take between you
7      and the other MD on the case?
8                  A      Yes.
9                  Q      But a social worker or a
10     psychologist or an activity therapist would not be
11     involved in those issues; would they?
12                 A      Well, if any of the treatment team
13     members notice anything, like if the patient is
14     slightly more sedated or they notice something
15     that they might be a little confused or unsteady,
16     any staff member can bring that issue up to myself
17     or the medical doctor.
18                 Q      Would a social worker be the one to
19     evaluate what the cause of something like that
20     would be?
21                 A      No.
22                 Q      Another way to ask this, I just
23     want to make sure I understand:
24                 Are there ever issues with a patient


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                                                                         Page 16
1      that are strictly medical?
2                  A      Yes.
3                  A patient might have a stroke, a patient
4      might develop high blood pressure, a patient might
5      develop diabetes, because the length of stay, as
6      you are familiar, on the NGRI units are long term.
7      So there are things that come up with patients or
8      they might get diagnosed with cancer during their
9      stay or they might have an injury during their
10     stay.
11                 They could -- It could vary from they
12     might hurt their ankle, all the way up to, you
13     know, they might have a fight and get injured and
14     need stitches.      So it varies.
15                 Q      Okay.     Now, you mentioned two
16     things, the second of which was diabetes.                I
17     didn't catch the first.
18                 A      Hypertension.
19                 Q      Okay.     High blood pressure?
20                 A      Yes.
21                 Q      Are there issues which are
22     primarily medical, as opposed to strictly medical?
23                 Are there some -- In other words, not
24     quite so strictly medical but still primarily


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                                                                         Page 17
1      medical?
2                  A      I don't understand.
3                  Can you please elaborate on this
4      question?
5                  Q      Well, diabetes, for example, is a
6      common result of some medications, I believe --
7      correct me if I am wrong -- and I don't think
8      that's true of hypertension so much.               Maybe it is.
9                  But there are a lot of symptoms that
10     would normally be, in somebody who was not a
11     psychiatric patient and somebody who was not
12     institutionalized, certain symptoms would be --
13     like thyroid problems, for example, would be
14     strictly medical.
15                 Whereas, in someone who is being treated
16     with antipsychotics or certain classes of drugs,
17     those symptoms might be partially psychiatric;
18     right?
19                 A      Well, as far as, you mentioned
20     thyroid problems.        Some medications can cause
21     thyroid issues, so they are interrelated.
22                 But as far as diabetes, somebody might
23     have a family history of diabetes.              So despite the
24     fact they are on medication, some patients don't


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                                                                         Page 18
1      develop diabetes but others do because they have a
2      family history or they are more predisposed
3      because of their family history of certain
4      illness.
5                  So it could be primarily because of that
6      cause, not because of their -- you know, not
7      related to their psychiatric medication or side
8      effects from the psychiatric medication.
9                  Q      Okay.     But there is a mix; right?
10                 A      Of course, there is a mix.            You
11     have to rule out everything medical first before
12     you say it's because of the psychiatric problem.
13     So we always make sure we rule out everything
14     medical first.
15                 Q      Okay.     How about maybe on the other
16     end of the scale; if a patient becomes actively
17     psychotic is that primarily a medical issue?
18                 A      There could be at some point --
19     Like I said, sometimes after a stroke or sometimes
20     if they have a brain tumor or if they have meds to
21     the brain or if they have other medical problem
22     that would cause them to become acutely psychotic.
23                 Q      In your experience with patients at
24     Elgin Mental Health Center when a patient becomes


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                                                                         Page 19
1      actively psychotic what do you do?
2                  A       We assess the patient's symptoms
3      and decide based -- Every individual has a
4      different way of exhibiting their psychotic
5      symptoms.       So we evaluate them and based on what
6      our evaluation is at the time -- You know, there
7      is not one clinical picture of the acutely
8      psychotic patient.        Every patient will present in
9      different ways.
10                 And then depending on how they are
11     exhibiting their psychosis the treatment is then
12     provided for that particular case at that
13     particular time.
14                 Q       Okay.    Now, if you do such an
15     evaluation and you decide, Here is what we are
16     going to do about a patient having recently become
17     actively psychotic, who explains that to the
18     patient?
19                 A       I would explain that to the patient
20     when I get a chance to talk with the patient.                  But
21     if I am not there at the time the patient is
22     having some symptoms, any staff member, like the
23     nursing staff or security therapy aide or any
24     other staff member can say, You are having a hard


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                                                                           Page 20
1      time, how can we help you, or different ways of
2      explaining it to the patient.
3                  But sometimes in a psychotic break
4      patients are not in any way to be reasoned with
5      and we need to be sure we can keep them safe.                  In
6      order to keep them safe sometimes we have to do
7      interventions.      And then when they are more stable
8      they can understand what is going on, then we can
9      explain to them at that time what is going on with
10     them.
11                 Q      Yeah.
12                 At the point when they are, you know,
13     mentally available for an explanation --
14                 A      Yes.
15                 Q      -- when they are capable of
16     understanding it, who would explain the medical
17     issues to them?
18                 A      Sometimes we do it as a team and
19     sometimes we do it individually.             It depends what
20     the situation is.         There is no clear cut one way
21     of letting them know.         It all depends on, you
22     know, the stage where they are at, how they are
23     responding.
24                 Sometimes you don't want to challenge


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                                                                         Page 21
1      them too early.       So you let them get stabilized
2      and then you explain to them in a therapeutic
3      manner.
4                  Q      When it comes to the issues that
5      are strictly or primarily medical, would that
6      explanation or the education about that to the
7      patient primarily come from an MD/Psychiatrist
8      such as yourself?
9                  A      Myself or the MD who is treating
10     the medical problem.
11                 Q      I am sorry, I missed that.
12                 A      I said, myself or if it's a medical
13     problem -- See the medical doctors are assigned to
14     several units, so sometimes they may not be
15     readily available, but if I see a report ahead of
16     them then I would talk to the patient about it,
17     and the medical doctor, when they get a chance to
18     see the patient, they will come and explain it to
19     the patient.
20                 Sometimes it's very crucial that the
21     medical doctor explains it to the patient, so they
22     make themselves available so they can explain it
23     to the patient right away.
24                 Let's say they went to a clinic for an


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                                                                         Page 22
1      appointment and came back and the doctor has to
2      write orders because the clinic is suggesting to
3      start medication right away, so the doctor has to
4      come do the clinical assessment, read whatever the
5      consulting doctor has suggested and then talk to
6      the patient about it.
7                  Because now, Since you went for your
8      appointment, this is the treatment that the other
9      discipline is recommending, and then they would
10     write the orders for the patient.             So they would
11     talk to the patient.
12                 Q      The doctors would?
13                 A      The doctors would.
14                 And nursing staff, if the doctor is not
15     available.
16                 Q      When it comes to explaining medical
17     issues, be they psychiatric or nonpsychiatric, but
18     medical, either primarily or strictly, to a
19     patient's family would you or the other MD be
20     involved in that?
21                 A      It depends.
22                        MS. JOHNSTON:        Objection,
23     relevance.
24                 You can go ahead and answer, Dr. Javed.


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                                                                         Page 23
1                         MR. KRETCHMAR:        I am sorry, Mary,
2      did you object?
3                         MS. JOHNSTON:        Yeah, just
4      relevance.
5                  But go ahead and answer.
6                         MR. KRETCHMAR:        Okay.
7                         THE WITNESS:       If the family asks
8      for the doctor to explain things we would;
9      otherwise usually it's the social worker who keeps
10     in touch with the family and would explain to the
11     family whatever the recommendations were or
12     whatever the questions were.
13                 And if that information is not enough
14     they might say, I would like to talk to the
15     doctor.    The nurse might then give them a call and
16     explain.
17                 So it all depends on what the family is
18     asking for but not everything will be explained by
19     the MD to the family.         Usually the communication
20     goes through the social worker.
21     BY MR. KRETCHMAR:
22                 Q      I understand.
23                 If a social worker were to be explaining
24     medical issues to the family, where would he or


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                                                                         Page 24
1      she get that information, not being trained as an
2      MD?
3                  A      Usually the social worker would
4      then refer that question to the nursing staff and
5      would say, you know, if she doesn't or he doesn't
6      know -- depending on the complexity of the medical
7      problem.
8                  I mean, if they just have a bruise, that
9      would be much simpler, but if they have something
10     much more complicated and the social worker
11     doesn't understand how to convey that, they would
12     ask the nurse:
13                     Can you please call a family member
14                     because they need this information.
15                 And we also want to make sure there is a
16     release of information for that staff to talk to
17     the family prior to giving any information out.
18                 Q      Okay.     Now, part of your work also
19     in any individual patient case is explaining the
20     patient's progress or lack of progress in
21     treatment to a court; is that correct?
22                 A      Yes.
23                 Q      Possibly to a prosecutor; is that
24     correct?


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                                                                         Page 25
1                  A      It depends on when -- We send a
2      court report.      There is at times testimony
3      required but usually the explanation is in the
4      form of a court report which is sent to the
5      courts.
6                  Q      But as far as the medical expertise
7      or medical authority, that would be you; correct?
8                  A      Yes.
9                         MR. KRETCHMAR:        Okay.     I would like
10     to bring up an exhibit to ask you about.                This is
11     Exhibit No. 18.
12                               ( Exhibit 18 marked.)
13     BY MR. KRETCHMAR:
14                 Q      And we have a Bates stamped page.
15     I will give you the number.
16                 The second page of this exhibit.               The
17     first and third pages are just to show the time
18     span or the sequence.         We will go to the second
19     page.     Just going to scroll down.
20                        MS. JOHNSTON:        Hey, Randy and Joe,
21     I heard that you are going to the second page, but
22     can you just give me the Bates range so I can note
23     it down?
24                        MR. KRETCHMAR:        Yeah, the Bates


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                                                                         Page 26
1      range is Hurt Subpoena 008665 through 8667.
2                         MS. JOHNSTON:        Thank you.
3      BY MR. KRETCHMAR:
4                  Q      We are looking at 8666, the second
5      page.
6                  Doctor, do you see on that top left
7      there is a date, April 25, 2012, and a time at
8      1545; is that correct?
9                  A      Yes.
10                 Q      And that's -- 1545 is military time
11     so that's 3:45 p.m.        This is Mr. Mark Owens' chart
12     and this is --
13                 What does it say under that 1545,
14     TR-INTER SW note?
15                 Can you explain what that means?
16                 A      Treatment intervention social work
17     note.
18                 Q      There appears to be a format here,
19     PIP, what does that stand for?
20                 A      P, the first P, stands for problem,
21     second is intervention, and the last P is
22     progress.
23                 Q      Okay.     Good.
24                 Please look over this note and


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                                                                         Page 27
1      familiarize yourself with it.
2                  A      Okay.     I have read it.
3                  Q      Okay.     She is reporting a
4      conversation that she had with Mark Owens, the
5      Plaintiff; is that correct?
6                  A      Yes, I see the signature is there
7      but she --
8                         MR. CECALA:       Doctor --
9                         THE WITNESS:       I'm sorry.
10                        MR. CECALA:       If you could hold on
11     one second, he hasn't put a question yet.                And I
12     am just going to have a brief conversation.
13                     (Whereupon off-the-record
14                       proceedings were had).
15     BY MR. KRETCHMAR:
16                 Q      Doctor, do you see Christy
17     Lenhardt's signature at the bottom of this note?
18                 A      Yes.
19                 It's a social work intern's note and
20     then Christy's signature is at the bottom.
21                        MS. JOHNSTON:        Randy, can you
22     actually scroll down or can you use your cursor to
23     point to it?
24                        MR. CECALA:       Sure.    Signature is


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                                                                         Page 28
1      down in the bottom right-hand corner.
2                         MS. JOHNSTON:        Okay.    Sorry, you
3      know how it is reading these handwritten notes.
4                         MR. CECALA:       No worries.
5                  Do you see it?
6                         MS. JOHNSTON:        Yeah, I see it
7      there, thanks.
8      BY MR. KRETCHMAR:
9                  Q      Doctor, you are saying this is not
10     a note written by Christy Lenhardt but rather by
11     an intern?
12                 A      Yes.
13                 Q      Now, how can you tell that?
14                 A      If you look on top of her signature
15     it says, Social Work -- Sheryl Rachel, Social Work
16     Intern.
17                 Q      Okay.     So this actually wasn't even
18     a progress note written by the social worker; is
19     that correct?
20                 A      Yes.
21                 Q      This was written by her intern;
22     correct?
23                 A      Yes.
24                 Q      And this was written on the date in


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                                                                         Page 29
1      the top left corner at 1545; is that correct?
2                  A      Yes.
3                  Q      And this was then entered in
4      Mr. Owens' official medical chart; correct?
5                  A      Yes.
6                  Q      Now, do you understand this as
7      being a report of a conversation substantially
8      word to word between Christy Lenhardt and Mark
9      Owens?
10                 A      Between the social work intern and
11     Mark Owens.
12                 Q      Okay.     I see.
13                 So this is -- The quotes here are
14     between Sheryl Rachel and Mark Owens; is that
15     correct?
16                 A      Yes.
17                 Q      Now, how do you know that that's
18     who was talking?
19                 A      Since it is signed by her, by
20     Sheryl Rachel first, and it is fore-signed then by
21     Lenhardt.
22                 Q      The third line on this page says, P
23     Progress, Social worker said.
24                 That doesn't say, Social worker intern


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                                                                         Page 30
1      said; does it?
2                  A      No.
3                  But there is -- If you look there is
4      something scratched as S and then it is initialed
5      by SR which is Sheryl Rachel.
6                  Q      Yes.
7                  A      So I am assuming this is written by
8      her.
9                  Q      Yeah.     This is written by her.           She
10     scratched out a word.
11                 But it still says, Social worker said;
12     right?
13                 A      Yes.
14                 Q      So that would be Christy Lenhardt;
15     right?
16                 A      The intern is calling herself
17     social worker.      She has not put I in the end but
18     it says social worker so she is writing it as a
19     social worker.
20                        MR. KRETCHMAR:        Joe has a question
21     or two.
22                               EXAMINATION
23     BY MR. CECALA:
24                 Q      Because this happens quite


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                                                                         Page 31
1      frequently in some of the documents, doctor, I
2      just want to make sure we understand.
3                  So she signed the document, SW Intern;
4      correct, at the bottom?
5                  A      Yes.
6                  Q      That's different from SW; right?
7                  A      Yes.
8                  Q      And then where you said it's
9      scratched out, it says, Social worker asked, and
10     then it's scratched out and initialed?
11                 A      Yes.
12                 Q      Okay.     So then down in the middle
13     of the document there is also another scratch out
14     where it says the word Airplane?
15                 A      Yes.
16                 Q      And you see there is initials above
17     that?
18                 A      Yes, SR.
19                 Q      Right.
20                 So aren't those just initials indicating
21     who scratched out the document?
22                 A      Yes.
23                 Because you are not supposed to scratch
24     anything to cover it.         You can just put a scratch


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                                                                         Page 32
1      and then initial it.
2                  Q      Right.
3                  A      It's a legal document.
4                  Q      Right.
5                  So where it says, Social worker asked,
6      and it's scratched out, and then said, the
7      initials aren't there to indicate that the social
8      worker is the intern; they are there to indicate
9      who scratched out the word asked; correct?
10                 A      Yes.
11                               EXAMINATION
12     BY MR. KRETCHMAR:
13                 Q      Okay.     So doctor, looking at this
14     now, do you believe that this is a report with
15     quotations, in other words, word for word
16     conversation between Christy Lenhardt and Mark
17     Owens?
18                 A      It's possible that the social work
19     intern is just reporting the conversation between
20     what is happening between Ms. Lenhardt and Mark
21     Owens, yes.
22                 Q      Okay.     So you don't see any place
23     where it says, Social worker intern said, or
24     Sheryl Rachel said; do you?


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                                                                         Page 33
1                  A      No.
2                  Q      Okay.     Or even SWI; right?
3                  A      Yes.
4                  Q      So it seems most likely that this
5      is the social worker -- in other words Christy
6      Lenhardt -- and Mark Owens' conversation; right?
7                  A      Yes.
8                  Q      Okay.     Now, towards the bottom of
9      this note, where it says:
10                 Mr. Owens stated:
11                     They're reasoning with their sanity.
12                 Do you see that?
13                 A      Yes.
14                 Q      The social worker responds:
15                     What do you mean by that?
16                 Correct?
17                 A      Yes.
18                 Q      She also adds:
19                     People get stable, then think they're
20                     okay without medication.
21                 Right?
22                 A      Yes.
23                 Q      And she adds:
24                     Each time you get sick it's harder to


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                                                                         Page 34
1                      get well.
2                  Right?
3                  A      Yes.
4                  Q      And lastly on this quote she
5      adds -- The end of that quote, in other words,
6      this is Christy Lenhardt saying:
7                      Each time you get sick it's harder to
8                      get well.     Then you get sick more easily
9                      and sicker each time.         The longer you
10                     take your medication the less vulnerable
11                     you are to the effects of sedation.
12                        Correct?
13                 A      Yes.
14                 Q      My question is, isn't this medical
15     advice?
16                 A      This is medical advice but it's
17     part of relapse prevention also and what the
18     social workers work on with the patients is
19     relapse prevention and part of the relapse
20     prevention does address these kinds of issues.
21                 So I don't find it -- it is very
22     appropriate for a social worker to be talking to
23     the patient about what are some of the things that
24     helps them to prevent them from having a relapse


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                                                                         Page 35
1      so they can have appropriate aftercare and do not
2      relapse.
3                  It is fine or appropriate, social
4      workers, yes, can talk about something like this,
5      it's not out of context for them to talk about
6      part of the relapse prevention.
7                  Q      Do you see any specific advice as
8      to -- that she is giving him about how to prevent
9      relapse?
10                 A      If you read the last sentence, it
11     says -- and this is -- You know, If the patient
12     has a chronic mental illness and they have
13     maintained clinical stability, with the help of
14     both medication, as well as other alternative
15     treatments, our recommendation is that whatever
16     helped them stabilize they need to maintain that
17     stability.
18                 If they keep on going on and off their
19     medications, if they are necessary to keep their
20     symptoms under control, it takes them much longer
21     to then regain stability, if their noncompliance
22     is -- if they continue to be noncompliant with
23     their treatment recommendations.
24                 Q      I understand that that is the


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                                                                         Page 36
1      recommendation or the philosophy or the clinical
2      experience of the treatment team but my question
3      was:
4                  Do you see anything in this note, which
5      is a fairly detailed documentation of an actual
6      conversation, quotes from each participant, do you
7      see something that Christy said that is in fact an
8      advice about, Here is how you prevent relapse?
9                  What did she actually say that directly
10     tells him what to do so that he doesn't relapse?
11                 A      It specifically says that each time
12     you get sick it's harder to get well.
13                 The way it's written it would have
14     been -- Okay.      Let me just scratch that.
15                 It is just appropriate advice that if
16     you stay with your treatment your chances of
17     relapse are reduced and you maintain your clinical
18     stability.
19                 Q      Do you see anyplace where she says,
20     Stay with your treatment?
21                 I mean the words are right here on the
22     page; right?
23                 A      Patients get stable so ...
24                 Q      I am sorry, where is that?


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                                                                         Page 37
1                  A      In the last, it says:
2                      Social Work:      What do you mean by that?
3                      People get stable and think they are
4                      okay without medication.           Each time you
5                      get sick it's harder to get well and
6                      then you get sick.
7                  It's just word for word but my
8      understanding is that what she is trying to convey
9      in this statement is that if you stay with your
10     treatment, including medication, you are less
11     vulnerable with the side effects and that is what
12     she is suggesting.
13                 Q      Less vulnerable to the side effects
14     would be the last sentence, the effects of
15     sedation; correct?
16                 A      Yes.
17                 Q      And the reason you know what she is
18     trying to tell him, despite the fact that the
19     words are not on the page, Hey, here is what you
20     have to do, she doesn't say that anywhere, but you
21     know what she means because you worked with her
22     fairly closely about these issues; right?
23                 A      Yes.
24                 Q      In fact, you more or less taught


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                                                                         Page 38
1      her or educated her or trained her how the
2      medication works and how it prevents relapse;
3      right?
4                         MS. JOHNSTON:        Objection, form.
5                  Go ahead, Dr. Javed, sorry.
6                         THE WITNESS:       I am not her
7      supervisor.     I don't teach her.
8                  I usually do a lot of teaching during my
9      treatment plans with both the staff, as well as
10     the patients.
11                 And so yes, I do talk about these
12     issues, but I am not her teacher, and I am not her
13     direct supervisor, so I just educate the patient.
14                 And she is usually in the sessions when
15     I am doing the treatment interventions with the
16     staffing, where I educate the patients, both
17     during my individual sessions with the patient, as
18     well as the treatment staffings.
19     BY MR. KRETCHMAR:
20                 Q      Let me ask it this way:
21                 Is there anything in this conversation
22     that Christy Lenhardt told Mark Owens that you
23     think is wrong?
24                 A      No.


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                                                                         Page 39
1                  Q      Is all of it -- what she was
2      telling him -- more or less what you would have
3      expected her to tell him?
4                  A      Yes.
5                  Q      Okay.
6                         MS. JOHNSTON:        Randy, can we pause
7      literally for just about 90 seconds?
8                         MR. CECALA:       We are in almost an
9      hour.     Do you just want to take a five-minute
10     break?
11                        MS. JOHNSTON:        Yeah, that's fine.
12                        MR. CECALA:       No worries.       We will
13     come back at 10:55.
14                        MS. JOHNSTON:        Okay.    Thanks.
15                 (Whereupon a recess was had).
16                        MR. KRETCHMAR:        Back on the record.
17     BY MR. KRETCHMAR:
18                 Q      Dr. Javed, I just have a couple
19     remaining questions in this part, this whole
20     subject area.
21                 Do you usually tell the court when a
22     patient should get on grounds or off grounds
23     passes?
24                 A      It's a process after which we make


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                                                                         Page 40
1      a recommendation to the court, yes.
2                  Q      When you say we, you are talking
3      about the whole treatment team?
4                  A      Yes, and the facility also, not
5      just the treatment team.
6                  Q      So there are a lot of people
7      involved in that recommendation; correct?
8                  A      Yes, it's -- Yes.
9                  Q      You work closely with the social
10     worker on that; correct?
11                 A      The entire treatment team.
12                 But the report is finalized by the
13     social worker and myself, yes.
14                 Q      The social worker and yourself?
15                 A      Yes.
16                 Q      What about for conditional release,
17     does it work pretty much the same way?
18                 A      Yes.
19                 Q      So you and the social worker would
20     work closely on that as well; correct?
21                 A      So the patient has a treatment plan
22     and the treatment plan identifies their goals and
23     all the different disciplines work with the
24     particular patient.


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                                                                         Page 41
1                  And once they achieve all their goals
2      and they maintain clinical stability for an
3      extended period of time is then the recommendation
4      made by the team through administration that we
5      believe this patient has reached maximum benefit
6      from the current treatment and that he is ready
7      for the added privileges, yes.
8                  Q      How do you know, as a psychiatrist,
9      when a patient is no longer mentally ill?
10                 A      Mental illness, like any other
11     illness, our job is to maintain clinical
12     stability.      I don't think we can get them rid of
13     their illness but as long as their symptoms are
14     contained and they are able to function so their
15     symptoms do not interfere in their activities of
16     daily living and they are not a danger to self or
17     others and not an imminent risk then we make the
18     determination.
19                 So if you repeat your question again, I
20     think you said, When do you know when the patient
21     is completely rid of the illness?
22                 Is that what you were asking me?
23                 Q      No, not exactly.
24                 The legal standard for involuntarily


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                                                                         Page 42
1      hospitalizing or treating any individual, the
2      constitutional legal standard is that they are
3      mentally ill and dangerous, you know, in brief.
4                  I mean, it can be worded much more -- in
5      a much more complicated way than that.               But would
6      you agree that basically, if somebody is mentally
7      ill and dangerous, then they can be involuntarily
8      hospitalized?
9                  A      In our case these patients are
10     actually sent by the courts, after they are deemed
11     educated -- adjudicated by reason of insanity and
12     sent by the specific court for inpatient
13     treatment.      So they are all involuntarily
14     committed to the hospital for treatment.
15                 Q      Okay.     But they have to be mentally
16     ill; right?
17                 A      Yes.
18                 If they received a not guilty by reason
19     of insanity verdict that means they have to be
20     mentally ill.
21                 Q      Okay.     Good.
22                 My question was originally -- and you
23     asked me whether it was that they are completely
24     rid of mental illness.         That's actually not my


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                                                                         Page 43
1      question.
2                  My question is:
3                  How do you know as a psychiatrist when a
4      patient is no longer mentally ill?
5                  A      Like I said again, I don't think
6      they are no longer mentally ill.             They are stable,
7      where their symptoms are not interfering in their
8      daily functioning.
9                  Q      Okay.     That's fine.
10                 Is there any difference between not
11     mentally ill and not symptomatic?
12                 A      You are mentally ill but not
13     symptomatic at the time, so you are mentally ill,
14     but you can be not symptomatic.
15                 Q      How can you tell if you are
16     mentally ill, if you are not symptomatic?
17                 A      At some point in your treatment you
18     had to have symptoms in order to get that
19     diagnosis.
20                 Q      And you know about that because you
21     have reviewed all the records; correct?
22                 A      Yes.
23                 Q      In the case of any individual
24     patient; right?


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                                                                         Page 44
1                  A      Yes.
2                  Q      How much time do you spend with any
3      given patient, say in a month?
4                  A      Well, it depends.         When a patient
5      is the first admitted, if they are actively
6      symptomatic, I would spend more time with them.
7                  Q      How much?
8                  A      If they are on treatment
9      observation, let's say, if they are symptomatic, I
10     would see them daily on the unit.             But if they are
11     on precautions, I would see them and evaluate them
12     daily.
13                 In the first six weeks the requirement
14     is that we see the patient weekly and after that
15     if they are stabilizing we can see them once or
16     twice a month.
17                 But it all depends.          I mean, if a
18     patient is not stable for two or three months and
19     they are on any sort of added precautions, then
20     they need to be seen more often.
21                 Q      You said something about, the rule
22     is or we're required to.          You were speaking of the
23     patient who is brand new and actively symptomatic,
24     I believe.


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                                                                         Page 45
1                  The requirement -- I think that's what
2      you said -- where does that requirement come from?
3                  A      It's a CMMS requirement that any
4      individual who is initially admitted as a patient
5      needs to be seen at least once a week for the
6      first six to eight weeks.          Eight weeks is I
7      believe what I recall now.
8                  Q      Okay.     And I think you described
9      the requirement -- I missed the first part of the
10     sentence?
11                 A      CMMS.
12                 Q      What does that stand for?
13                 A      At this time I don't remember the
14     exact -- what it stands for but that is the
15     standard.
16                 Q      A government agency?
17                 A      Yes.
18                 Q      Okay.
19                 A      The agency that overlooks all the
20     treatment that is provided, both in the civil, as
21     well as the forensic facility.
22                 Q      Okay.     But you don't recall the
23     name of the agency?
24                 A      Like I said, that's the


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                                                                         Page 46
1      abbreviation, but I don't recall right now exactly
2      what it stands for.
3                  Q      Okay.     Slightly different question:
4                  When a patient goes to court for passes
5      or for a conditional release, you described the
6      process that the whole team works on this and
7      perhaps other members of the administration work
8      on this and there is perhaps an elaborate set of
9      targets or accomplishments that has to be
10     documented or evaluated.
11                 My question is -- and correct me if I am
12     saying something that isn't really what you were
13     describing -- but my question about it is:
14                 Do different members of the treatment
15     team ever have different opinions about whether
16     the court should grant a request?
17                 A      In my experience usually the team
18     concurs and when the patient is ready that is when
19     the whole team is in agreement is when we move
20     forward.
21                 And if anybody has any issues that they
22     want to address or they think that the patient
23     needs work in a specific area, we would definitely
24     ask like, What are some of the things --


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                                                                         Page 47
1                  Like an example would be, let's say a
2      patient is duly diagnosed and has both a substance
3      abuse diagnosis, as well as a mental illness
4      diagnosis, they need to have treatment for the
5      substance abuse portion of the illness because it
6      does interact or interfere with the mental
7      illness, that they complete that treatment before
8      we can make the recommendation.
9                  So yes, all the team members have to
10     agree, in order to move on and make an appropriate
11     recommendation.
12                 Q      Does the whole team -- and perhaps
13     administrative individuals who were involved -- do
14     they all have to be unanimous, in order to go to
15     court with a recommendation?
16                 A      In my case usually we have the
17     whole team's okay.        So I am not familiar with if
18     the team is not unanimous.
19                 In our recommendations of what -- In my
20     experience, what we have brought up to the court
21     and that proceeded it, all the treatment team is
22     in agreement that the patient is ready for the
23     next step.
24                 Q      Do you ever recall an instance


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                                                                         Page 48
1      where there was a holdout, somebody on the team
2      disagreed, they were kind of an outlier, anything
3      like that?
4                  A      Not at this time I don't recall.
5                  Q      Okay.     Has it ever occurred that
6      two members of the treatment team would testify
7      differently?
8                  A      It can happen but has not happened
9      in any of the cases when I worked on L Unit that
10     we have had any such instances where two members
11     testified differently.
12                 Q      Why not?
13                 A      Like I said, we always make sure
14     the patient recommendation is appropriate.                 And it
15     goes to so many different levels.             It goes through
16     our administration.        Then it goes to Springfield.
17     Everybody reviews it.
18                 If there are any issues they have with
19     it, they bring it back to us.            We address them
20     again.   If they feel we have not completed certain
21     aspects, we work on them.
22                 So when everyone is in agreement that's
23     when it moves forward.
24                 Q      How long does that take?


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                                                                         Page 49
1                  A      Quite some time, let me say that.
2                  Q      Does it take three months or six
3      months?
4                  A      It can take from three months to
5      six months to even longer.
6                  Q      A year sometimes?
7                  A      When we make the recommendation
8      it's then out of our hands.           How much time it
9      takes for it to go through all the other levels is
10     not under the treatment team's control.
11                 But when we make a recommendation, we
12     notify the court, and we make sure that by the
13     next court report we have our recommendation
14     processed and delivered to administration.
15                 What happens to it after we submit it to
16     administration is not in the treatment team's
17     control.
18                 Q      Yeah, I don't mean to imply that
19     it's the treatment team's fault but this is a long
20     and involved process sometimes and my question is:
21                 Does it ever take -- In your experience
22     has it ever taken a year?
23                 A      Yes.
24                 Q      Okay.     Would it be a problem if


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                                                                         Page 50
1      different members of a patient's treatment team
2      had different opinions about the patient's
3      progress or the patient's clinical status?
4                  A      It will be a problem, yes.            So it
5      depends on where the patient is and it needs to be
6      addressed.
7                  Q      Why would it be a problem?
8                  A      If they are part of the treatment
9      team we would like to know what the problem is.
10                 If they are contributing to the
11     treatment plan, if they have a problem that they
12     are working with the patient on, if they have any
13     concerns, the team would like to know.
14                 Q      Why would the team like to know?
15                 A      It's part of the patient's
16     treatment.      They are part of the team member.
17     They are members of the team.
18                 Q      Does that mean that the treatment
19     can't really work well if everybody is not in
20     agreement?
21                 A      Everybody has to play their part in
22     providing appropriate care for that patient and
23     help the patient move on, everyone who is assigned
24     to the patient for their care.


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                                                                         Page 51
1                  Q      Okay.     But we are talking about
2      when some member of the treatment team -- as I
3      guess it's kind of hypothetical, if you have never
4      seen this happen ever.
5                  But when some member of the treatment
6      team is diverging a little bit from everybody else
7      in the treatment team.         And I asked you if that
8      was a problem.      You said, Yes, that would be a
9      problem.
10                 And I asked why would that be a problem.
11                 And I believe your answer is that the
12     treatment plan would not go forward; is that
13     correct?
14                 A      Yes.
15                 Q      Okay.     So the patient couldn't make
16     any progress; right?
17                 A      The patient definitely would make
18     progress because that area needs to be addressed.
19                 We could not just leave it alone or just
20     ignore it.      We need to get to the bottom of it,
21     find out what the issue is and address it.
22                 Q      Suffice it to say, everyone has to
23     be on board for things to work the way they are
24     supposed to; is that correct?


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                                                                         Page 52
1                  A      For patient's clinical stability,
2      yes.
3                         MR. KRETCHMAR:        Fair enough.
4                         MR. CECALA:       Can everyone see the
5      screen I am sharing, what has been marked,
6      as. Exhibit No. 11.
7                                ( Exhibit 11 marked.)
8                                EXAMINATION
9      BY MR. CECALA:
10                 Q      Doctor, if I shrink it a little bit
11     let me know if you can still see it?
12                 A      Yes.
13                 Q      Okay.     Because it makes it easier
14     to scroll.
15                 This is Page 1 of a seven page exhibit,
16     and the document has a title, Defendant Javed's
17     Responses to Plaintiff's First Set of
18     Interrogatories in the Owens case.
19                 Do you recall seeing this document,
20     doctor?
21                 A      Yes.
22                 Q      I am going to show you all seven
23     pages.    Let me know when you have had a chance to
24     look at each one.


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                                                                         Page 53
1                  So this is Page 1.
2                  This is Page 2.
3                  Page 3.
4                  A      Do I have to say yes every time?
5                  Q      Just let me know when you have -- I
6      am just asking you if you have seen it.                You don't
7      have to read the entire document, but yeah, so I
8      can go to the next page.
9                  A      Yes, I have seen it, yes.
10                 Q      This is Page 4; have you seen that?
11                 A      Yes.
12                 Q      Then it's Page 5; do you recall
13     seeing that?
14                 A      Yes.
15                 Q      Then this is Page 6 which is the
16     certificate of service?
17                 A      Yes.
18                 Q      This is Page 7; do you recall
19     seeing this?
20                 A      Yes.
21                 Q      Is that your signature?
22                 A      Yes.
23                 Q      It's dated October 24, 2019?
24                 A      Yes.


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                                                                         Page 54
1                  Q      So do you know what this statement
2      here is?
3                  A      Yes.
4                  Q      So this is an oath that you are
5      giving truthful answers to these interrogatories;
6      right?
7                  A      Yes.
8                  Q      I wanted to turn your attention to
9      Interrogatory No. 7.         This questions asks you to
10     provide information with respect to:
11                     All persons responsible for the forensic
12                     medical and/or psychiatric treatment of
13                     the Plaintiff -- and this is the Owens
14                     case -- at the facility -- which is
15                     Elgin -- the administrative staff
16                     responsible for the oversight of the
17                     Plaintiff's care at the facility and the
18                     supervisory staff for both the forensic
19                     staff and/or administrative staff and
20                     identification of all documents that
21                     relate to the supervisory authority over
22                     Plaintiff's care.
23                 So in your answer you provide an
24     outline.    Looks like there's about five bullet


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                                                                         Page 55
1      points.
2                  For example, Unit L, to the best of your
3      knowledge this is what the sequence of treatment
4      teams that were assigned to Mark Owens was.
5                  You can take a look over it because I am
6      going to ask you some questions.             I want to make
7      sure you see the sequence.
8                  A      Yes.
9                  Q      So did you consult any records when
10     you prepared this answer?
11                 A      I am sure I did because otherwise I
12     would not have come up with the dates.
13                 Q      Sure.
14                 So do you recall what records you were
15     consulting?
16                 A      The patient's clinical records.
17                 Q      So you were able to get access to
18     Mark Owens' clinical records when you prepared
19     this?
20                 A      I had my own, and yeah, I am sure I
21     did review some records.
22                 Q      So you had your own records of
23     their treatment?
24                 A      I usually keep like my psychiatric


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                                                                         Page 56
1      evaluation and my monthly notes.
2                  Q      So do you still have those?
3                  A      Not at this time.
4                  Q      So did you dispose of them at any
5      time?
6                  A      They are on the G drive in the
7      patient's records.
8                  Q      So do you have access to those
9      records?
10                 A      I can access them, yes.
11                 Q      Is that how you had gotten access
12     to them to answer this question?
13                 A      I am sure I also looked at the
14     actual records of Mr. Owens, not only my progress
15     notes.
16                 Q      Do you keep a file of notes on
17     every patient?
18                 A      At times, until they are discharged
19     or transferred from my unit, I do keep a copy of
20     my psychiatric evaluations and some of the --
21     like, the forensic clinical services evaluation,
22     if they came from Chester, just to review,
23     especially in preparation of ongoing treatment.
24                 So I do keep copies, but once they are


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                                                                         Page 57
1      discharged, I just dispose of those records.
2                  Q      Okay.     So this says that -- It
3      looks like Mark was discharged sometime in -- I
4      think 2017?
5                  Is that the last, Unit N from 12-8-16 to
6      8-10-17?
7                  A      Yes.
8                         MS. JOHNSTON:        Joe, can you scroll
9      down just a tiny bit?         On mine that last bullet
10     point is cut off.         Thanks.
11                        MR. CECALA:       Sorry.
12                        MS. JOHNSTON:        No problem.
13     BY MR. CECALA:
14                 Q      You signed this document in 2019.
15                 Is there a reason that you kept Mark's
16     records from August of 2017 to September or
17     October of 2019?
18                 A      Can you say that again?
19                 Q      Sure.
20                 You say that generally when the patient
21     is discharged you get rid of your file; is that
22     correct?
23                 A      Or moved from my unit.
24                 So in this case he was moved from my


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                                                                         Page 58
1      unit and transferred to K Unit in 2016.                After
2      that I don't have any records on him after that.
3                  Q      Right.     So help me understand.
4                  You are saying you don't have any -- Let
5      me clarify the timeframe here.
6                  You said that when a patient is
7      transferred then you will get rid of your own file
8      on that patient?
9                  A      Yes, or give it to the treating
10     psychiatrist who is treating the patient.
11                 Q      Okay.     Did you do that in Mark's
12     case?
13                 A      I do not recall exactly whether I
14     gave it to Dr. Kareemi or not.
15                 Q      I am trying to find out what you
16     were reviewing to get so detailed records of
17     Mark's treatment at Elgin and the time in which
18     you were looking at it.
19                 A      Like I said, my monthly notes --
20     Because usually my monthly notes end.               In my end
21     work I will kind of talk about the whole year and
22     I know or I have an idea of when the patient was
23     moved or what was happening to them at a
24     particular time.


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                                                                          Page 59
1                  Q       Yeah, I am not asking about your
2      monthly notes.
3                  I am asking about what records you
4      retain or do not retain after a patient has been
5      discharged from your care.
6                  A       I do not retain any records.            They
7      go to medical records once a patient is
8      discharged.
9                  Q       Okay.    So Mark was discharged from
10     Elgin on August 10, 2017; correct?
11                 A       Yes.
12                 Q       So how were you able to review
13     those records in 2019, is my question.
14                 A       I requested the records from
15     medical records and looked through.
16                 Q       Oh, okay.     So who is medical
17     records?
18                 Who did you request that from?
19                 A       Medical records is our -- the
20     hospital medical records.          We have a medical
21     record department who keeps all the records on
22     patients, once they are discharged from the
23     facility.       And you can request, if you need any
24     records from -- on any particular patient.


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                                                                          Page 60
1                  Q      Do they make a copy of those
2      records or do they provide you with originals?
3                  A      I believe they were originals.              I
4      don't know.     They don't make copies.            I think just
5      keep the originals, I think.            I am not sure
6      though.
7                  Q      So sometime in 2019 to prepare this
8      response you requested the records from medical
9      records at Elgin?
10                 A      Yes.
11                 Q      And they provided you with original
12     copies?
13                 A      Yes.
14                 Q      And that's the source of the
15     information that you used to get these dates and
16     time periods --
17                 A      Yeah, to the best of my
18     recollection that's what I am saying; that that's
19     where I got them from or from my own records also.
20                 Q      Okay.     Do you know if anyone else
21     had Mark's records after he was discharged from
22     2017 -- in August of 2017?
23                 A      No, I am not aware of anyone else
24     having the records.


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                                                                           Page 61
1                  Q      When you request the records is
2      there like a sign-in/sign-out chain of custody for
3      who may have had the records or didn't have the
4      records?    A log of some kind?
5                  A      I just let my nurse manager know
6      that I am requesting these records, if they could
7      be sent to me.
8                  So who signs for them, I didn't
9      personally go and sign them -- sign for it.
10                 Q      So when you requested them you
11     don't know who in medical records gave them to the
12     delivery person who eventually delivered them to
13     you; do you?
14                 A      No.
15                 Q      You said you requested the nurse
16     manager.
17                 Who was that?
18                 A      I don't recall exactly who was the
19     nurse manager at the time.
20                 Would be Tom Comfort -- We have had so
21     many different nurse managers, I don't recall.                  I
22     cannot say for sure.
23                 Q      So when you got the records from
24     Elgin medical records did you return all of the


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                                                                         Page 62
1      records back to Elgin medical records?
2                  A      Yes.
3                  Q      You didn't keep any of the pages;
4      did you?
5                  A      No.
6                  Q      You also said you had your own
7      records.
8                  Are those records that you keep
9      differently perhaps on a computer that is just
10     your office computer?
11                 A      They are on the G drive, so they
12     are discharge of transferred patients, so they are
13     part of that patient's record.
14                 Q      So could you explain what the G
15     drive is?
16                 A      It's a drive on the -- I am not
17     that computer savvy but there are different drives
18     of the computer and G is the drive on which
19     everybody stores their information about the
20     patient.
21                 Right now I am on Pinel, so on the G
22     drive we have access to Pinel.            And then there is
23     treatment plan and the treatment plan has
24     different parts and everybody inputs their


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                                                                         Page 63
1      information into that treatment plan and it's on
2      the G drive.
3                  Q      So I am not suggesting it stands
4      for this, but some type of general drive where
5      everyone is storing all of the medical records for
6      Elgin Mental Health Center?
7                  A      Yes.
8                  Q      Do you know who has access to that?
9                  A      The treatment teams.
10                 Q      So do you have to enter like a pass
11     code to get into the drive that lets them know
12     that you are allowed to have access to those
13     records?
14                 A      I don't have a specific password to
15     enter into G drive.
16                 When I sign into my computer and the
17     unit that I am assigned to I have access to the
18     treatment plans of that particular unit patients.
19                 Q      So you have to use your work
20     computer to get access to them?
21                 You can't do it from home from the
22     internet or something?
23                 A      No.
24                 Q      So, doctor, in addition to the


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                                                                         Page 64
1      original hard copy records that you say you
2      ordered and reviewed and then there are other
3      records that you went perhaps into the G drive,
4      which is where you keep psychiatric evaluations?
5                  A      Yes.
6                  Q      Are there any other files in your
7      office that you keep that are just for your
8      viewing only that are records that you used to
9      prepare this?
10                 A      Yes.
11                 Like I said, on patients who are under
12     my care at the time prior to the discharge I do
13     keep some of the paper records, but lately
14     everything is now on the G drive like --
15                 Q      I know.     That's not my --
16                 A      Okay.
17                 Q      In the interest of making sure we
18     save time, I don't mean to interrupt you.                I am
19     not trying to be rude or impolite.              I just want to
20     make sure the question I am asking is the one you
21     are answering and I don't know if you understood
22     it.
23                 I am asking:
24                 In your office, whether you kept paper


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                                                                         Page 65
1      records that you used to prepare the answer to
2      this question.
3                  A      Yes.
4                  Q      So do you have those records in
5      your office still?
6                  A      On Mark Owens, I just have one
7      psychiatric evaluation, nothing else, no.
8                  Q      How many pages is it?
9                  A      Can I look at it?
10                 Q      So do you have it with you?
11                 A      Yes, right now.
12                 Q      You have the whole file with you?
13                 A      I just have the one evaluation,
14     comprehensive psychiatric evaluation, that I did
15     on February 17, 2016.
16                 Q      Okay.     Did you ever give that to
17     your attorneys?
18                 A      They have access to all the
19     records.    So I mean, this is part of the record.
20     I printed it for myself.
21                 Q      That's not my question.           My
22     question is:
23                 Did you give this to your attorneys?
24                 A      No.


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                                                                           Page 66
1                  Q      Is there anything else in the file
2      other than the one psychiatric evaluation you are
3      referring to?
4                  A      No.
5                  Q      You don't have any handwritten
6      notes or other notes you have made?
7                  A      No.
8                  Q      How many pages is that evaluation?
9                  A      Seven.
10                 Q      What's the date?
11                 A      February 17, 2016.
12                        MR. CECALA:       Mary, I am going to
13     ask at some point, if that can be copied and
14     turned over as part of our request to produce.                  I
15     think it would fall under the original request to
16     produce.
17                        MS. JOHNSTON:        Yes.
18                 Sorry, Joe, and this is in the interest
19     of time --
20                        MR. CECALA:       It's probably Bates
21     stamped somewhere.
22                        MS. JOHNSTON:        It's in there, yeah,
23     because I think all of this is in the master -- or
24     the final record, but yeah, we will double-check.


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                                                                         Page 67
1                         MR. CECALA:       Yeah.    As we turn all
2      of this over to experts, I don't want to be left
3      with a document that was floating somewhere that
4      later comes up that wasn't given to an expert that
5      has some information that causes us to have an
6      incomplete record for the experts.
7                         MS. JOHNSTON:        Let's not have a
8      headache later, I agree.
9                         MR. CECALA:       Yeah.
10                        MS. JOHNSTON:        Dr. Javed, could you
11     just give me the date on that report one more
12     time?
13                        THE WITNESS:       My dictation was on
14     2-17-16.
15                        MS. JOHNSTON:        You said it was
16     seven pages?
17                        THE WITNESS:       Yes.
18                        MR. CECALA:       I think it might
19     actually in another exhibit but I just want to
20     make sure that we request the file.
21                        MS. JOHNSTON:        If we don't see it
22     in another exhibit today to confirm it is there, I
23     will go ahead and find it.
24                        MR. CECALA:       Whatever is in the


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                                                                         Page 68
1      file, I know she it's says seven pages, but
2      whatever is the hard copy kept in the office --
3      actually that's my next question.
4      BY MR. CECALA:
5                  Q      Doctor, do you have any other hard
6      copies or records that you retained pertaining to
7      Mark Owens?
8                  A      No.
9                  Q      Okay.     We will get to Ben Hurt in a
10     moment.
11                 So the first part of this response says,
12     in response to who the treatment team was, it
13     says:
14                     Unit L from February 11, 2012 to
15                     October 31, 2012.
16                        And you are his psychiatrist,
17             Mark's psychiatrist, the psychologist is Pat
18             Larson, social worker is Christy, and the
19             nurse manager is Colleen Delaney; correct?
20                 A      Yes.
21                 Q      Then on October 31 Mark moves to
22     the MISA unit and he is on MISA from October of
23     2012 until July 7, 2013, where Dr. Kareemi is his
24     psychiatrist, Bob Hamlin is his social worker, and


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                                                                         Page 69
1      Colleen Delaney is nurse manager over that unit as
2      well; correct?
3                  A      Yes.
4                  Q      So he is on MISA for
5      approximately -- I am just looking at the dates --
6      about eight months?
7                  A      Yes.
8                  Q      Do you know if he completed the
9      MISA program?
10                 A      Yes.
11                 Q      And then he is transferred back to
12     L Unit from July 7 to October 20 -- from 2013 to
13     2016.
14                 Do you see that?
15                 A      Yes.
16                 Q      Here you again are the
17     psychologist -- or psychiatrist, Pat Larson
18     psychologist, and then he has Christy Lenhardt,
19     Florence Young, Cara Wueste all as his social
20     workers; correct?
21                 A      Yes.
22                 Q      He goes back to K Unit on October
23     of 2016; right?
24                 A      Yes.


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                                                                         Page 70
1                  Q      And then eventually -- I am not as
2      concerned about that time period, but eventually
3      on August 8 he was actually discharged from Elgin;
4      correct?
5                  A      August of 2017, yes.
6                  Q      August 10, 2017; correct.
7                  Do you know where he went on August 10?
8                  A      No.
9                  Q      Okay.
10                 A      I believe now, and I recall, I
11     think he was transferred to Chicago-Read.
12                 Q      Okay.     Great.     Yeah, and you are
13     correct, doctor, he was transferred to
14     Chicago-Read.
15                 So I am going to go to another
16     exhibit -- And actually before I move to that,
17     doctor, is there is a designation between Elgin
18     and Chester and Chicago-Read that evaluates
19     whether the hospitals are minimum or medium or
20     high security facilities?
21                 A      Say it again please?
22                 Q      So each hospital -- I am giving
23     examples of Chester, Elgin and Chicago-Read -- do
24     those hospitals carry a designation as to whether


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                                                                         Page 71
1      they are high, medium or minimum security
2      facilities?
3                  A      Yes.
4                  Q      So what is Chicago-Read's
5      designation?
6                  A      I am not aware at this time but I
7      believe it's minimum security because it is --
8      It's not a forensic facility.            It's a community
9      psychiatric hospital.
10                 Q      Okay.     Thank you.
11                        MR. CECALA:       I am showing you now
12     what has been marked as Exhibit No. 2.
13                               ( Exhibit 2 marked.)
14     BY MR. CECALA:
15                 Q      I am shrinking it.         I don't know if
16     you can see it.       It's a five page exhibit.
17                 At the top of the first page it says,
18     Office the Inspector General, it's Bates stamped
19     31290 and it goes to Page 31294.
20                 Can you take a look at that first page,
21     doctor.
22                 Have you ever seen this before?
23                 A      I haven't seen this before, no.
24                 Q      I am going to show you Page 2.


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                                                                         Page 72
1                  If you could, there is a nomenclature at
2      the top.    It says, Office of the Inspector
3      General, the case number and report date and then
4      the investigator's name, the facility and address
5      and the incident location and then the first
6      paragraph says, Allegation.
7                  You can read that first paragraph to
8      yourself, if you don't mind.            Let me know when you
9      are finished.
10                 I just need you to read the first
11     paragraph, Allegation.
12                 A      Okay.     I read that.
13                 Q      So you read the first paragraph?
14                 A      Yes.
15                 Q      This is an OIG report pertaining to
16     a patient named
17                 Are you familiar with the patient,
18
19                 A      The only thing I can tell you, you
20     know, when we get our morning report, for years it
21     would always say UA and his name was there.                 So
22     all I knew was that there was a patient that
23     eloped or is UA, which is unexcused absence, and
24     that was the name.


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                                                                         Page 73
1                  Q      So that's your familiarity with
2
3                  A      Yes.
4                  Q      Now, what I am wondering is, during
5      2005 and 2006 -- I think you said early in your
6      deposition that you began as a psychiatrist on L
7      Unit in 2001 and you were never on any other unit
8      other than L Unit until 2020; is that correct?
9                  A      Yes.
10                 Q      So you weren't a treating
11     psychiatrist on M or N Unit at any time; right?
12                 A      No.
13                 Q      So -- And here it says that -- In
14     the allegation it says that:
15                     Social Worker Christy Lenhardt sexually
16                     abused this patient in 2006 and
17                     neglected him in that same year by
18                     assisting with his escape.
19                 Now what I am wondering is, when was it
20     that you first came in contact with Christy
21     Lenhardt as a social worker on L Unit?
22                 A      I honestly don't recall the year
23     but it was sometime after I started there.                 It
24     would be a few years after I was there when she


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                                                                         Page 74
1      started working on both K&L but I don't recall the
2      year.
3                         MR. CECALA:       Okay.    We are going to
4      come back to this in a second.
5                  I am going to switch now to what has
6      been labeled as Exhibit No. 1.
7                                ( Exhibit 1 marked.)
8      BY MR. CECALA:
9                  Q      Exhibit No. 1, we obtained audio
10     recordings of interviews that the staff of Elgin
11     provided to the Illinois State Police in the fall
12     and winter, starting in 2017 and 2018.
13                 Do you recall giving an interview to the
14     State Police during that time?
15                 A      Yes.
16                 Q      The page of this transcript, it
17     says, October 17, 2017 at 1:40 p.m.
18                 Do you remember if that was about the
19     time that you -- Does that refresh your
20     recollection of when you would have been
21     interviewed by the State Police?
22                 A      I just remember I was interviewed.
23     I don't remember the month and the year but I do
24     recall being interviewed.


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                                                                         Page 75
1                  Q      Okay.     Do you think that's the
2      wrong date because that's what the officer --
3      Actually why don't we do this:
4                  You remember being interviewed; correct?
5                  A      Yes.
6                  Q      You were providing information to
7      the police about the incident between Christy
8      Lenhardt and Ben Hurt; correct?
9                  A      I was not providing any information
10     about the incident, but I just knew that they
11     needed my information, and I just, you know ...
12                 Q      I will rephrase the question.
13     Incident is perhaps too narrow of a word.
14                 You were providing information about the
15     general allegation of abuse from Christy Lenhardt
16     to Ben Hurt at that time; correct?
17                 A      Something, yes, in that respect --
18                 Q      Okay.
19                 A      -- that I had no knowledge of.
20                 Q      You understood at that time the
21     police were doing a criminal investigation?
22                 A      Yes.
23                 Q      So the testimony and information
24     you were providing them was truthful; wasn't it?


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                                                                         Page 76
1                  A      Yes.
2                  Q      Okay.     And then if you look at
3      Page 2.
4                  We transcribed the audio recording so,
5      if you want to, afterwards we can provide the
6      audio recording and the transcript.              You can have
7      an opportunity to go over this with Mary or your
8      attorneys to make sure that the audio recording
9      reflects what you were saying.            But we did have it
10     transcribed.
11                 So what it says in the transcribed audio
12     recording by the investigator on Line 1 it says:
13                     Today is October 17, 2017.           The time is
14                     approximately 1:40 p.m.
15                 Do you see that?
16                 A      Yes.
17                 Q      Do you have any reason to doubt
18     that was the date and time the investigator was
19     talking to you?
20                 A      No.
21                 Q      Okay.     So I want to go down to --
22     So on Page 35, in middle of the page, starting on
23     Line 14 the officer asks you:
24                     Are you aware of any -- Has there ever


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                                                                         Page 77
1                      been any other patients that, you know,
2                      had the same type of sentiments for
3                      Christy?
4                  Could you read your answer from Line 17
5      to Line 23 out loud?
6                  A         Okay.
7                      No.     And I worked with her for this long
8                      time, you know.       I don't know exactly
9                      when she was moved to our unit.             And
10                     again, we just heard this.           She was
11                     being transferred to our unit because of
12                     some issue on the other unit but I don't
13                     know any details of that, you know.
14                 Q         So when you told the police that
15     Christy was -- You knew Christy for a long time,
16     so you were on L Unit before Christy was assigned
17     to L Unit; correct?
18                 A         Yes.
19                 Q         And you say here she was moved to
20     your unit from another unit.
21                 Do you recall if that was the move from
22     when she was on M&N to L Unit?
23                 A         Yes.
24                 Q         And then you also say, Because of


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                                                                         Page 78
1      some issue on the other unit.
2                  What was that issue?
3                  A      This was -- Here social workers are
4      moved around a lot.         Like sometimes they are
5      transferred from one unit to another, depending on
6      the patient ratio, some have more need.
7                  So I did not know what the reason was or
8      what the issue was but she was moved and she was
9      getting the caseload half on K and half on L at
10     that time.
11                 Q      So you didn't know the details of
12     -- the purpose of her move?
13                 A      No.
14                 Q      Did you ever talk to anyone about
15     her move?
16                 A      No.
17                 Q      Did you ever have a conversation
18     with Jeff Pharis in that time, in 2005 and 2006,
19     when Christy was moved --
20                 A      No.
21                 Q      You have to wait until I finish the
22     question so we don't talk over each other.
23                 A      Sorry.
24                 Q      That's okay.


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                                                                         Page 79
1                  So you never spoke with Jeff Pharis
2      about Christy being moved from M&N Unit over to L
3      Unit?
4                  A      No.
5                  Q      Okay.     I am going back to Exhibit
6      No. 2.
7                  The police provide -- The OIG provides a
8      synopsis of the information that they got
9      regarding Patient                 and how they got it.
10                 So I am going to read this to make sure
11     it goes quickly but if I say something incorrectly
12     shout, okay, so we make sure that what I am
13     reading is correct.         It says:
14                     Synopsis:     According to the evidence
15                     ISPDII obtained during it's criminal
16                     investigation of Social Worker Lenhardt
17                     in 2017 a patient at EMHC audio taped a
18                     discussion between himself and Social
19                     Worker Lenhardt while at the facility.
20                     During that discussion Social Worker
21                     Lenhardt said she helped Mr. --
22                 And it's blanked out.           This is in
23     relation to
24                     -- helped Mr.                escape from EMHC


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                                                                         Page 80
1                      in 2006.
2                  So my first question is:
3                  Do you recall when Patient
4      escaped from Elgin in 2006?
5                  A      No.
6                  Q      Are you aware that he escaped in
7      late February of 2006?
8                  A      No.
9                  Q      At the time that he escaped in 2006
10     had anyone talked about that with you formally or
11     informally?
12                 A      No.
13                 Q      When is the first time you were
14     aware of Patient                 escaping from EMHC?
15                 A      Like I said earlier, in the report,
16     you know they send the morning report for the
17     entire facility, and his name used to come up as a
18     UA patient.
19                 So I was not aware in any other form or
20     capacity that he had escaped.            That's the only way
21     I knew there was a patient that had escaped and it
22     was written as a UA by his name.
23                 Q      Thank you for your answer but
24     that's not my question.          My question is:


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                                                                         Page 81
1                  When was the first time you recall being
2      aware that                        had escaped from Elgin?
3                  A      I don't recall.
4                  Q      You don't recall when the first
5      time you were aware of that was?
6                  A      Yes.
7                  Q      Now, did you eventually become
8      aware that he had escaped?
9                  A      We knew that a patient had escaped,
10     yes.
11                 Q      When you say we, who are you
12     referring to?
13                 A      The whole facility.          When there is
14     an escape everybody is informed that there was --
15                 Like I said, in the morning report there
16     is a patient -- There was no such official thing
17     as being all of us notified that the patient has
18     escaped.
19                 Q      Yeah, I am not asking about all of
20     you being notified.        I am asking about your
21     personal knowledge.        Your attorneys would object
22     if I didn't.      So my question is:
23                 You said you found out from the morning
24     report where he was listed as UA?


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                                                                         Page 82
1                  A      Yes.
2                  Q      Obviously this was a big deal;
3      right?
4                  A      Yes, a patient escape is a big
5      deal.
6                  Q      So I am trying to pinpoint the
7      timeframe that you became aware of this.
8                  Would it have been perhaps in the
9      morning report that was the day after he escaped
10     that they were saying he was UA and you were made
11     aware of it?
12                 A      I don't think it was right after.
13     If it was, I honestly don't remember.               But at some
14     point his name started coming up in the morning
15     report as a UA patient.
16                 Q      Do you recall, just generally -- I
17     understand it's a long time ago, so I am not
18     trying to badger you.         I am just trying to fill in
19     the gaps on my own understanding of the timeframe
20     that's all.
21                 So was it within the first month perhaps
22     after he escaped?
23                 A      No.
24                 Q      Perhaps --


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                                                                         Page 83
1                  A      Much --
2                  Q      I am sorry.
3                  You can answer, when do you think it
4      was?
5                  A      Much later.
6                  Q      So much later, meaning much later
7      you saw it in the morning report or much later
8      that you found out about it?
9                  A      Much later that I found out about
10     it.
11                 Q      So the days and weeks after
12     escaped you had no knowledge of his escape in
13     early 2006?
14                 A      Just knew that there was a patient
15     escape from M&N Unit; that's all.
16                 Q      But you didn't know it was
17                 A      Yes.
18                 Q      I see.
19                 So what was the earliest time that you
20     heard that a patient had escaped from M&N Unit?
21                 A      I am sure it was right after the
22     escape, because it is a big news, so I am sure I
23     heard it right after the escape happened.
24                 Q      Okay.     But it was much later,


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                                                                           Page 84
1      perhaps as long as months later, before you knew
2      the identity of the patient as                      is that a
3      fair way to --
4                  A      Yes.
5                  Q      Great.
6                  So I am going to read further here.                It
7      says:
8                      Social Worker Lenhardt explained that --
9                         This is about the audio recording
10             that was confiscated in Ben's office, I think
11             it says earlier.
12                     So Social Worker Lenhardt further
13                     explained that she helped Mr.
14                     escape.     He fled to Germany.
15                     A couple of years later Social Worker
16                     Lenhardt visited him in Germany and had
17                     a sexual relationship with Mr.
18                     This trip to Germany was corroborated by
19                     Activity Therapist/AT Rebecca Nikolov,
20                     who admitted she drove Social Worker
21                     Lenhardt to the airport to travel to
22                     Germany to visit Mr.
23                     There's also some evidence that Activity
24                     Therapist Wesbrook's had knowledge that


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                                                                         Page 85
1                      Social Worker Lenhardt hid in
2                      Mr.               wardrobe and the two had
3                      sexual intercourse while at EMHC;
4                      however the extent of this knowledge is
5                      unclear.
6                  Have you ever been aware of what I just
7      read to you before today?
8                  A         No.
9                  Q         So this is the first time you are
10     becoming aware that Christy Lenhardt assisted
11             in escaping, visited him in Germany, and
12     was actually having sex with him in EMHC before he
13     escaped?
14                 A         Yes.
15                           MR. CECALA:    So I am actually going
16     to use this other document to go through this and
17     we will come back.
18                 So I am going to what has been
19     previously marked Exhibit No. 3.             It is Bates
20     stamped ISP 111 and it begins on 111.               It's a four
21     page document.        It ends with ISP 114.
22                                  ( Exhibit 3 marked.)
23     BY MR. CECALA:
24                 Q         Doctor, have you ever seen this


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                                                                         Page 86
1      document before?
2                  A      No.
3                  Q      Do you know what this is?
4                  A      It says, Case Supplementary Report
5      Division of Internal Investigation.
6                  Q      Right.
7                  So the first two pages -- so you can see
8      what's in the document -- the first page is the
9      summary of information obtained by the Illinois
10     State Police on June 30, 2017 at 1:00 p.m.
11                 And actually I think the report may have
12     actually been turned over to the State Police on
13     August 23, 2017 at 12:51 p.m.
14                 Do you see that on the front page of the
15     document where I am pointing to it?
16                 A      Yes.
17                 Q      Page 2 is the continuation of the
18     narrative from the first page and then it says:
19                     Attachment:      Copy of the EMHC Security
20                     Department Report 1710040R3 received
21                     August 3 consisting of two pages.
22                 Do you see that?
23                 A      Yes.
24                 Q      Okay.     So that's the State Police


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                                                                         Page 87
1      cover for this document.          So this is the third
2      page.
3                  Have you ever seen this document before?
4                  A      No.
5                  Q      Have you ever seen a document like
6      this security report at Elgin?
7                  A      No.
8                  Q      So you never see security reports
9      on the patients at Elgin Mental Health Center?
10                 You have never seen one of these before?
11                 A      No.
12                 Q      Okay.     This is a security report
13     prepared by Chief Epperson, Star No. 57, and at
14     the bottom it says:
15                 Security shift in charge was Officer
16     Jackson, No. 81.       The date on this report was
17     June 30, 2017.      Reports the time of the occurrence
18     at 0737 hours.      Date of report is June 30, 2017.
19     Time of the report is 1100 hours.
20                 Do you see all of that?
21                 A      Yes.
22                 Q      Okay.     So if you want to, I will
23     give you a minute to read the narrative block of
24     the report so you can refresh any memory you have


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                                                                         Page 88
1      about these incidents by reading this.
2                  Let me know when you have finished
3      reading it.
4                         MS. JOHNSTON:        While Dr. Javed is
5      reviewing this I want to put it on the record, I
6      know that we have discussed this before, if or
7      when any portions of this deposition transcript
8      get filed there will be the appropriate
9      redactions.
10                        MR. CECALA:       Yes.
11                        MS. JOHNSTON:        For any confidential
12     information.
13                 Like I said, I think we have discussed
14     it at length before, but just putting it in the
15     record once again.
16                        MR. CECALA:       Yes, that's fine.
17                 You mean, in terms of summary judgment
18     coming up?
19                        MS. JOHNSTON:        Exactly.
20                        MR. CECALA:       There may be the need
21     to seal it because what I am going to do now there
22     is going to be the need to review it.
23     BY MR. CECALA:
24                 Q      So doctor, in this security report


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                                                                         Page 89
1      Chief Epperson -- I don't know if you can see the
2      pointer.    It says, While review.
3                  Do you see that line?
4                  A      Yes.
5                  Q      Right before it, it says:
6                      Officers discovered journals, four flash
7                      drives, along with miscellaneous
8                      contraband.
9                  Do you see that sentence?
10                 A      Yes.
11                 Q      It says:
12                     While review Hurt's journal an entry
13                     dated 11-30-16 was discovered, where it
14                     stated Hurt had a conversation with
15                     Caseworker Lenhardt about how she
16                     assisted with UA escape of Patient
17
18                 Do you see that?
19                 A      Yes.
20                 Q      So this is information that was
21     provided to the Office of the Inspector General in
22     the report we were looking at earlier, where the
23     name             has been redacted in OIG but it's not
24     redacted here.


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                                                                         Page 90
1                  Do you see that?
2                  A      I am sorry, say it again?
3                  Q      If you want me to go back, I can go
4      back and look at the OIG report quickly.                Let's go
5      back to the other exhibit and you will see the
6      page we were looking at, where I read in the
7      synopsis.
8                  There's names that have been blacked
9      out; right?
10                 A      Yes.
11                 Q      And I'll also go back here.             It
12     says that -- In the synopsis it says:
13                     According to evidence from Illinois
14                     State Police Department of Internal
15                     Investigation --
16                 That's where the OIG people got the
17     information on this?
18                 A      Yes.
19                 Q      Okay.     So I showed you earlier the
20     State Police information that was given to OIG.
21     This is part of the information that was given.
22                 Do you understand that?
23                 A      Yes.
24                 Q      In this narrative we have


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                                                                         Page 91
1      specifically named the escaped patient that OIG
2      was talking about.        Here he has been named as
3
4                  Do you see that?
5                  A      Yes.
6                  Q      This was from a journal that Ben
7      had written that was kept in his room; right?
8                  A      Yes.
9                  Q      At least that's what the report
10     says; correct?
11                 A      Yes.
12                 Q      Now, this was something that was
13     discovered on June 30, 2017 relating back a story
14     about what Christy Lenhardt had admitted to Ben
15     about what she had done in 2005 and 2006.
16                 Is that your understanding of what we
17     are reading?
18                 A      Yes.
19                 Q      I am not sure if you were clear
20     about this answer.
21                 So Christy was transferred from the M&N
22     Unit to L Unit sometime in 2005.
23                 Do you recall that?
24                 A      I am sure it was around that time.


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                                                                         Page 92
1                  Q      Okay.     And then we tried to limit
2      the number of exhibits here but I am sure counsel
3      might stipulate:
4                                       actually escaped from the
5      facility on February 24, 2006.
6                  Does that date -- If you don't recall
7      the specific date does that fit within the
8      timeframe of when the escape information was
9      circulating everywhere at Elgin?
10                 Obviously it was a big story the day it
11     happened, even though you didn't know
12     identity at the time.
13                 But does that timeframe, early 2006, fit
14     within your memory of what was happening in 2006?
15                 A      Not exactly sure, but if that's
16     what the record states, probably was 2006 then.
17                 Q      Okay.     Great.     I am going to go to
18     another exhibit, doctor.
19                 Actually just going back to the earlier
20     exhibit.    I asked if you had ever talked to Jeff
21     Pharis.
22                        MS. JOHNSTON:        Which exhibit, Joe?
23                        MR. CECALA:       The prior exhibits, I
24     am not going to actually refer to them in the


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                                                                         Page 93
1      question.
2      BY MR. CECALA:
3                  Q      We have been talking about this
4      incident with Christy having helped                      to
5      escape in 2006.
6                  What I am wondering is, during that time
7      immediately after that, sometime in 2006, as many
8      as -- you eventually found out that he was -- that
9      it was                       who was listed as the
10     unauthorized absence patient.
11                 So some period of time, perhaps months,
12     after he escaped that you became aware of it;
13     right?
14                 A      Yes.
15                 Q      So I asked you if you had ever
16     talked to Jeff Pharis about Christy's transfer
17     from M&N Unit to L Unit.
18                 I think you said you hadn't; correct?
19                 A      I did not, no.
20                 Q      Okay.     Had you talked to anyone
21     else about Christy's transfer from M&N Unit to L
22     Unit?
23                 A      No.
24                 Q      Did you ever ask Christy why she


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                                                                         Page 94
1      was transferred from M&N Unit to L Unit?
2                  A      No.
3                  Q      Did anyone ever tell you that
4      Christy's transfer from M&N Unit to L Unit had
5      anything to do with allegations of abuse against
6      her towards
7                  A      No.
8                  Q      So I will just ask your awareness
9      of this:
10                 Are you aware that when the escape was
11     investigated that Christy Lenhardt told the State
12     Police that Jeff Pharis had filed allegations of
13     abuse of                       by her, that he had
14     actually prepared an allegation of abuse against
15     her?
16                 A      No.
17                 Q      And is this the first time you are
18     being made aware of that?
19                 A      As you are talking about it, yes.
20                 Q      Okay.     So suffice it to say,
21     Christy has been transferred to L Unit sometime in
22     2005.   I think it was in the summer of 2005 is
23     what the records show.
24                 And was she on L Unit with you as the


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                                                                         Page 95
1      psychiatrist from 2005 uninterrupted until 2012,
2      to your knowledge?
3                  A      Yes.
4                  Initially she was carrying a caseload on
5      both K&L, so she had some patients assigned to her
6      on K and some patients assigned to her on L.
7                  And then at some point she was only
8      seeing patients on L.         She was completely working
9      on L.
10                 Q      Do you recall about when she was
11     only working with patients on L Unit?
12                 A      No, I don't.
13                 Q      Okay.     Have you ever seen this
14     document before -- Actually, before you answer
15     that.
16                        MR. CECALA:       So this is another
17     seven page exhibit.        I think it's Exhibit No. 12.
18                               ( Exhibit 12 marked.)
19     BY MR. CECALA:
20                 Q      It's seven pages.         It's Bates
21     stamped 20578 to 20584.          The first page says,
22     Office of the Inspector General Investigative
23     Report.
24                 So doctor, have you ever seen this


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                                                                         Page 96
1      report and case number before?
2                  A      No.
3                  Q      I am going to show you again the
4      first page of it.
5                  This looks like the other one; correct?
6                  A      Yes.
7                  Q      Can you see it?        I have shrunk it
8      down a little bit.
9                  A      Yes, I can.
10                 Q      This is dated April 16, 2020 with
11     the same information:
12                 It's Elgin, the address, the case
13     number, the investigator and the location of the
14     incident is Unit L; correct?
15                 A      Yes.
16                 Q      Now, do you recall a patient named
17
18                 A      Yes.
19                 Q      Was he your patient?
20                 A      Yes.
21                 Q      So if you wouldn't mind, you can
22     read Roman Numeral I introduction, if you can read
23     those two paragraphs.
24                 You can read them to yourself and let me


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                                                                         Page 97
1      know when you have finished.
2                  A      I read it.
3                  Q      Okay.     So this is a report
4      pertaining to                                   and his
5      interactions with Christy.
6                  Do you recall being interviewed about
7      this situation?
8                  A      No.
9                  Q      I am going to show you on Page
10     20582.   This is relating back to the State Police
11     interview that you gave on October 17, 2017?
12                 A      Yes.
13                 Q      If you wouldn't mind, can you read
14     what it says about your interview.              It goes
15     from -- I guess it's 2582 to 2583 at the top line.
16                 Let me know when you have finished
17     reading that.
18                 A      You are saying my interview, that
19     D; right?
20                 Q      Yes, letter D; correct.
21                 A      Just the first page at the end of
22     that page?
23                 Q      Yeah, just the part that discusses
24     your interview.       Because Letter E is about other


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                                                                         Page 98
1      staff.
2                  A      Okay.
3                  Q      They interviewed close to 40 people
4      but just your interview was singled out.
5                  A      Okay.
6                  Q      Were you able to read it?
7                  A      Yeah, that short thing, yes.
8                  Q      I am going to take you to the
9      transcript so you don't have to interpret what the
10     police said.      But the police said, Line 1, it
11     says:
12                     Dr. Javed was concerned when Social
13                     Worker Lenhardt's patient,
14                                        would spend a lot of time
15                     inside Social Worker Lenhardt's office.
16                 Do you see that statement?
17                 A      Yes.
18                 Q      Okay.     I am going to take you back
19     to Exhibit 1.      This is a very lengthy question.               I
20     am going to try to save time here.              Officer
21     Sandoval liked to talk on his interviews.
22                 So on Page 28, beginning on Line 13
23     Officer Sandoval has a very lengthy narrative that
24     goes to the bottom of Page 29.


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                                                                            Page 99
 1                  You can read it and let me know when you
 2     have finished, Line 21 on Page 29 from Line 13 on
 3     Page 28, beginning with, What if the allegation is
 4     true.
 5                  Can you read that question he asked you?
 6                  A      Yeah, to myself; correct?
 7                  Q      You can read it to yourself.             Let
 8     me know when you have finished.
 9                  A      Okay.    I read to 19.
10                  Q      And Line 20 he says:
11                      It's very cliche but I do like my
12                      caffeinated beverage.
13                  And you answer:
14                      Me too.
15                  Do you see all that?
16                  A      Yes.
17                  Q      So I want to characterize this.              I
18     guess he is talking about the -- what was perhaps
19     rumored about the situation concerning Christy
20     Lenhardt, trying to find out if it happened -- if
21     it in fact had happened; correct?
22                  A      Yes.
23                  Q      Then he asks somewhere, I think
24     it's Line 10 of Line 29, he says -- at the end he


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                                                                        Page 100
 1     says:
 2                      And we like to gauge that because for us
 3                      it's like, okay, what's the rumor, what
 4                      have you heard?
 5                  So I think that's actually his question.
 6     He just goes on talking about other things.
 7                  Later he says:
 8                      The word on the street.
 9                  Right?
10                  A      Uh huh, yes.
11                  Q      He is trying to find out what other
12     rumored information perhaps there is about Christy
13     Lenhardt; correct?
14                  A      Yes.
15                  Q      On Page 30 now, with that in mind,
16     he asks on Line 3:
17                      And so -- And that's why we wanted to
18                      ask, well, what is it that you have
19                      heard?
20                  And then you answer on Line 5, 6, and 7.
21     Could you actually read that out loud?
22                  A      So the 5 my answer:
23                      I will tell you, there was one time a
24                      patient that was -- that was she was


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                                                                        Page 101
 1                      spending a lot of time with.
 2                  Q      And then he asks:
 3                      Who was that?
 4                  And you answer:
 5                                                   was the name of
 6                      the patient.
 7                  And you spell it; correct?
 8                  A      Yes.
 9                  Q      What made you think of
10     after he was discussing the rumors related to
11     Christy?
12                  A      I thought that was important
13     information to share.
14                  Q      What was important about it?
15                  A      That             was a patient that was
16     in her care and that he was -- that I believed
17     that he was spending a lot of time in her office,
18     so I had discussed that with the patient.
19                  Q      Right.
20                  Are you reading from the answer?
21                  I am asking what your -- There is more
22     testimony.       We can go over that.
23                  But I am asking you what you thought was
24     important about volunteering that information to


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                                                                         Page 102
 1     the officer, about the fact that she was spending
 2     a lot of time with
 3                  A      I believe his question was, if I
 4     knew anything, and I didn't want to -- I just
 5     wanted to make sure that I mentioned something
 6     that I had observed.
 7                  Q      Okay.    Good.
 8                  So what is it that was similar between
 9     the Ben Hurt situation and                     that you had
10     observed?
11                  A      I don't think anything similar in
12     the two cases.
13                  I actually had an individual session
14     with             and he was the one who told me that
15     he spends a lot of time in her office.                And then I
16     questioned him why.
17                  He actually shared that information with
18     me.
19                  Q      Okay.    So what would be the
20     similarity of                spending a lot of time in
21     Christy's office and Ben Hurt spending a lot of
22     time in her office?
23                  A      They are two different cases.             I
24     don't think there were any similarities.


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                                                                        Page 103
 1                  I just wanted to let -- I just wanted to
 2     let them know that that happened.
 3                  Q      Well, I mean, you know, Christy has
 4     admitted to having sex with                     and she has
 5     admitted to having sex with Ben Hurt.               They are
 6     actually quite similar in cases.              I am not asking
 7     about that.      That's precisely similar.
 8                  I am asking:
 9                  What is it you were thinking, when you
10     volunteered to the police that
11                          situation was something that you
12     needed to tell them about, when they asked you
13     what the rumor about Christy was and Ben?
14                  A      My reason was that if there was any
15     suspicion of any crime that a staff -- at least I
16     would take the right approach and bring that to
17     the appropriate staff and make sure to protect the
18     patient from any abuse or -- So that was my reason
19     for doing that.
20                  Q      Right.     I mean, actually -- Thank
21     you for that.       That's precisely what I am getting
22     at.
23                  At the time this occurred with
24               -- Let's go down to the next answer, I


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                                                                        Page 104
 1     will ask the next question.
 2                  From Line 17 he asks:
 3                      Is he still here?       Is             still
 4                      here?
 5                  Can you read your answer from Lines 18
 6     to 24?
 7                  A      Yes, I read it.
 8                  Q      Here you say you talked to her and
 9     you asked the patient.
10                  My question is, was the sequence that
11     you noticed she was spending a lot of time with
12               being in her office, so you talked to her,
13     and then you asked the patient?
14                  Is that the order in which it was done?
15                  A      It was actually in one of the
16     individual sessions with                      that he brought
17     up that he likes -- he likes to spend time in her
18     office.
19                  Q      Okay.    So that happened first?
20               said:
21                      I like spending time in Christy's
22                      office.
23                  A      Yes.
24                  Q      Then what happened next?


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                                                                        Page 105
 1                  A      So I asked him:
 2                      Any specific reason?
 3                  And he said he had feelings for her.
 4                  Q      Go ahead.
 5                  A      And that's --
 6                  Q      Go ahead.
 7                  A      And knowing his case, because he
 8     had a lot of fixation on females, and that was
 9     part of his NGRI crime, I brought it to the
10     attention of administration that since L had all
11     female staff, all the social workers,
12     psychiatrists and all his fixations on females
13     that he would be moved to a unit where he could
14     work with a male therapist.
15                  And it was discussed with the
16     administrative staff and based on that he was
17     moved to Unit K.
18                  Q      In your answer it says:
19                      We talked to her.
20                  Who is we?
21                  A      I don't recall exactly.           But I
22     notified the Social Worker 3, Bob Hamlin, and he
23     notified the director of social work at the time.
24                  I also informed my supervisor,


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                                                                        Page 106
 1     Dr. Daniel Hardy.
 2                  Q      So you said earlier you were
 3     concerned about abuse.
 4                  What type of abuse were you concerned
 5     about?
 6                  A      I want to take that back.
 7                  I was just concerned about the patient
 8     being overly fixated on the staff because of what
 9     he had brought to me.          And so in view of that I
10     did not want him to be on the unit.
11                  And therefore, to avoid any more
12     complications of him being on the unit with all
13     female staff, I wanted -- that was the
14     recommendation to move him to K Unit, so he could
15     work with a male therapist.
16                         MR. CECALA:      Hold on one second.
17                      (Whereupon off-the-record
18                        proceedings were had).
19     BY MR. CECALA:
20                  Q      So when you said you talked to her,
21     did you mean Christy Lenhardt?
22                  A      I am not sure what I meant by that.
23                  Q      So did you ever talk to Christy
24     Lenhardt about this situation occurring with


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                                                                        Page 107
 1
 2                  A      I did inform her that he shared
 3     with me that he had feelings for her and that it
 4     would be advisable if he does not continue to see
 5     her any more.
 6                  Q      And what did she say?
 7                  A      I don't exactly recall her words
 8     but she was okay with it.
 9                  Q      Did you ever ask her whether it was
10     a consensual set of feelings or mutual feelings
11     that she had for                                    as well?
12                  A      No.
13                  Q      Do you recall having a conversation
14     with Colleen Delaney about whether
15                        and Christy had mutual affectionate
16     feelings for one another?
17                  A      No.
18                  Q      Did you talk to -- Well, strike
19     that.    We will go to the next questions.
20                  So Line 1 the officer says:
21                      Okay.
22                  And then could you read out loud the
23     Lines 2 through 12 -- Or I can read it, in the
24     interest of saving time.


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                                                                        Page 108
 1                  Doctor, if I say any word or something
 2     that you believe is wrong, just let me know; okay,
 3     doctor?
 4                  A      Yes.
 5                  Q      Is that okay?
 6                  A      Yes, go ahead.
 7                  Q      Okay.    So Line 2, it says:
 8                      So we talked to her and I actually went
 9                      and I told the Social Worker 3, which is
10                      Bob Hamlin.
11                  It says Hamlon.        I believe that is a
12     misspelling.       It should be Bob Hamlin.
13                      Who is a Social Worker 3, and I said,
14                      You know, this is happening and I think
15                      it would be good if we let someone know,
16                      because I wanted to move the patient
17                      from the unit.
18                      So we talked to the social worker, and
19                      the head of social work at the time was
20                      Dee Barber.     She was Christy's social
21                      worker next, Christy's supervisor.
22                      And I also informed my boss or my
23                      supervisor, Dr. Dan Hardy.
24                  The officer says:


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                                                                        Page 109
 1                      Okay.
 2                  Then you answer further:
 3                      We notified Jeff Pharis, who was the
 4                      forensic director at the time.
 5                  And then you spelled Pharis.
 6                  Do you see that?
 7                  A      Yes.
 8                  Q      When you were answering you again
 9     said:
10                      So we talked to her.
11                  So is her Christy Lenhardt?
12                  A      Yes.
13                  Q      And is we Bob Hamlin, Dr. Hardy and
14     Jeff Pharis or just one of those people?
15                  Who is we?
16                  A      I think Bob Hamlin.
17                  Q      And were you with Bob Hamlin when
18     he talked to her?
19                  A      I don't recall.
20                  Q      Were you with Jeff Pharis when he
21     talked to her?
22                  A      No.
23                  Q      Do you know if Jeff Pharis talked
24     to her?


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                                                                        Page 110
 1                  A      I don't know.
 2                  Q      Do you know if Dr. Hardy talked to
 3     her?
 4                  A      No.
 5                  Q      Do you know if anyone talked to
 6     her?
 7                  A      I don't know.
 8                  Q      Other than you talked to her and
 9     you said Bob Hamlin talked to her; right?
10                  A      Yes.
11                  Q      So other than you and Bob Hamlin,
12     had anyone else talked to Christy about this
13     situation with
14                  A      I am sorry, say it again?
15                  Q      Other than you and Bob Hamlin, are
16     you aware that anyone else talked to Christy about
17     the situation between her and
18
19                  A      I don't know.
20                  But her supervisor was informed so I
21     assume that her supervisor would talk to her about
22     the situation but I don't know if she did or not.
23                  Q      Right.
24                  I mean, these are all -- You are trying


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                                                                        Page 111
 1     to report this situation; right?
 2                  A      Yes.
 3                  Q      You are trying to make other people
 4     know that there's -- that something is happening.
 5     I think you said, This is happening.               That
 6     something is happening and you are trying to
 7     report it; right?
 8                  A      Yes.
 9                  Q      And when you said, This is
10     happening, what was this that was happening?
11                  A      That the patient was reporting that
12     he has feelings for this case worker.
13                  Q      Is that the only thing you
14     considered?
15                  A      Yes.
16                  As I said, you know, this patient had a
17     lot of fixation.        His crime was also related to
18     having delusions of erotomania, where he believed
19     he had relationships with people, females so...
20                  Q      Go ahead, finish your answer, I am
21     sorry.
22                  A      He was fixated on females.            That
23     was also his crime for which he was adjudicated
24     NGRI, having feelings for females, and believed he


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                                                                        Page 112
 1     was married to them.
 2                  And I don't know how much I can talk
 3     about his NGRI crime, but that was his crime,
 4     where he had a home invasion and went into a --
 5                         MS. JOHNSTON:       I think we can be --
 6     I will just say it now.          I think that if or when
 7     this gets filed, we are just going to have to go
 8     with under seal, Joe.
 9                         MR. CECALA:      Yeah, for sure.
10                         MS. JOHNSTON:       I think we have
11     gotten there.
12                         MR. CECALA:      Yeah.
13     BY MR. CECALA:
14                  Q      My question, doctor, is:
15                  Do you think                was delusional
16     about the fact that Christy was masturbating him
17     in her office?
18                         MS. JOHNSTON:       Objection, form.
19                         MR. CECALA:      She just testified
20     about how delusional he was so it's a valid
21     question.
22                         MS. JOHNSTON:       Not instructing her
23     not to answer.
24                         MR. CECALA:      Right.


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                                                                        Page 113
 1     BY MR. CECALA:
 2                  Q      You can answer, doctor.
 3                  A      Can you repeat the question?
 4                  Q      Sure.
 5                  Do you think that                  was delusional
 6     about the fact that Christy was masturbating him
 7     in her office?
 8                  A      I -- He was not delusional, as far
 9     as masturbation is concerned.
10                  He was more delusional about being
11     fixated on a female -- females.
12                  Q      Right.     What I am saying to you is
13     that:
14                  Are you aware, as you sit here today,
15     that Christy Lenhardt has admitted to using her
16     feet to masturbate                     penis in her office?
17                  A      No, this is first time I am hearing
18     it.
19                  Q      So my question is:
20                  Do you believe that                   was
21     delusional about the fact that Christy was doing
22     that?
23                  A      No.
24                  Q      So isn't there some possibility


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                                                                        Page 114
 1     that what               was reporting to you at the time
 2     had nothing to do with his mental illness?
 3                  A      It is always a possibility.
 4                  Q      So when you decided that this was
 5     important information, about the rumors going on
 6     about Christy and Ben, to report to the State
 7     Police, were you considering that Christy's
 8     interactions with patients were inappropriate?
 9                  A      No.
10                  I was concerned about the patient's
11     safety and that's why I brought it up; that when
12     it is -- when it comes to our attention that a
13     patient care could be jeopardized or this patient
14     is not taking appropriate care, that we take
15     action right away.
16                  Q      So the patient's safety, in the
17     case of               is that what you are referring
18     to?
19                  A      Yes.
20                  Q      When you were telling the State
21     Police this though                  had already been moved;
22     right?
23                  A      Yes.
24                  Q      So when you were volunteering


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                                                                        Page 115
 1     information to them about -- in response to
 2     questions about the rumors or suspicions about
 3     Christy and you related the story about                          --
 4     I will ask again -- what concerns for patient
 5     safety were you having?
 6                  A      At that time he had only voiced
 7     that he had feelings for her.            And my concern was
 8     I didn't want this to go any further, for the
 9     safety of the staff also and for the patient's
10     safety.
11                  Q      Okay.    Maybe my question wasn't
12     clear.
13                  This is testimony you gave to the
14     Illinois State Police in October of 2017; correct?
15                  A      Yes.
16                  Q                 had already been moved to K
17     Unit; correct?
18                  A      Yes.
19                  Q      And are you aware of whether Ben
20     Hurt was a patient at the facility on October of
21     2017 or was he already discharged?
22                  A      I believe he was discharged
23     already.
24                  Q      He was discharged July 22, 2017?


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                                                                        Page 116
 1                  A      Yes.
 2                  Q      Those are all facts in the record.
 3                  A      Yes.
 4                  Q      So when you were giving this
 5     information to the State Police in October of 2017
 6     neither of the patients were in contact with
 7     Christy Lenhardt; correct?
 8                  A      Yes.
 9                  Q      So at that time the police asked
10     you about rumors concerning Christy Lenhardt and
11     you related rumors based upon the allegations with
12     Ben and you related the story about
13                       being too frequently in her office
14     and having feelings for Christy; correct?
15                  A      Yes.
16                  Q      So at that time when you gave this
17     information to the State Police -- not before
18     then -- at that time did you see that there was a
19     similarity between                     activity or the "this
20     is happening" that you testified to and the
21     whatever may have happened between Christy and
22     Ben?
23                  Did you see a similarity in October?
24                  A      Possible, yes.


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                                                                        Page 117
 1                  Q      And when the incident -- Now, going
 2     back to when the incident happened with
 3     you made a very concerted effort to notify
 4     Christy's supervisor; correct?
 5                  A      Yes.
 6                  Q      How soon after                 admitted to
 7     you that he had feelings for Christy did you get
 8     the ball rolling and call Bob Hamlin and her
 9     supervisor?
10                  A      I believe the very same day or
11     maybe -- Yes, the very same day.
12                  Q      Was it perhaps within hours?
13                  A      Yes.
14                  Q      Did you feel as though there was an
15     urgency to report it?
16                  A      I was notified.        I made it a point
17     to notify Bob Hamlin and I don't think that
18     everybody else was notified right away but we
19     decided that we should let our supervisors know.
20                  Q      Right.
21                  Going on to Page 31, the bottom of
22     Page 31.     I will read your answer again and then
23     if I have misstated it, please let me know.
24                  So on Line 20 of Page 31 the answer


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                                                                          Page 118
 1     says:
 2                      So we actually met with my supervisor
 3                      and I told him, because we cannot
 4                      just -- I cannot just say, I want to
 5                      move this patient.        It's very like, you
 6                      know, strict ruling of where patients
 7                      go.     We have to notify everyone.          We
 8                      have to give a reason why we want a
 9                      patient moved, you know.
10                  Is that a correct reading of your
11     answer?
12                  A         Yes.
13                  Q         So when you were -- and correct me,
14     if I am wrong -- within hours of finding out that
15     this situation between                   and Christy had
16     occurred, you were not only notifying but
17     thinking, We have to move the patient; correct?
18                  A         Yes.
19                  Q         Why did you think that?
20                  A         To create distance between him and
21     the staff.       We did not want him to focus on the
22     staff.
23                  Q         And what consequences would there
24     be, if they were not separated?


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                                                                        Page 119
 1                  A      He would possibly go into her
 2     office or he would be assigned to a different
 3     therapist, and like I testified earlier or
 4     notified earlier, that all the staff was female
 5     and because of his fixation on females --
 6                  Q      I know.     I don't mean to cut you
 7     short.    That's not my question.
 8                  My question and I will clarify it:
 9                  What dangerous consequence were you
10     considering when you were deciding the patient
11     should be transferred -- and it looks like
12     immediately -- what dangerous consequence were you
13     considering?
14                  A      I don't think anywhere I said
15     immediately but just for patient and staff safety.
16                  Q      For safety; right?
17                  A      Yes.
18                  Q      Okay.    Give me one second.
19                  So doctor, I am going to ask you to look
20     at the bottom of Page 33, Line 23 through Line 4
21     on 34.
22                  I am going to read the officer's
23     question and then I am going to read your answer.
24     And if you think I have misstated anything, please


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                                                                        Page 120
 1     let me know.
 2                  On Line 23 it says:
 3                    Okay.     Oh so, then                actually
 4                    said, do you remember or do you recall
 5                    what he said about her?            In other words,
 6                    was it that Christy is nice or was it
 7                    extreme like, I find her to be extremely
 8                    attractive, and she is a sexy lady?
 9                  You answer:
10                    No, he never said anything like that.
11                    He just said, I like her.
12                    And this is not that this is of any
13                    concern here but just because it's
14                    relevant to the case, I just want to
15                    bring it up.
16                    I am Muslim and                  was Muslim too.
17                    So I told him, I said,                      what are
18                    you doing?
19                    And he said, Profit Muhammad also liked
20                    an older woman, because                     was 21,
21                    you know, and Christy is much older than
22                    him.
23                    So he said, Profit Muhammad liked -- the
24                    wife he married was much older than him,


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                                                                          Page 121
 1                      so what's wrong with that, you know.
 2                  So did I read that correctly, doctor?
 3                  A      Yes.
 4                  Q      And is that a correct -- You know,
 5     whether it's the exact words, do you recall having
 6     that question asked and giving that answer to the
 7     State Police?
 8                  A      Yes.
 9                  Q      So when you were talking to
10     was the cultural consideration of understanding
11                  Muslim religious persuasion important to
12     you?
13                  A      He just brought it up.          So in that
14     context I was just notifying him that he shared
15     this with me.
16                  Q      Right.     Exactly.     So that's what I
17     am saying:
18                  That was a way that                   was
19     communicating with you to increase his
20     understanding or your understanding of where he
21     was coming from; right?
22                  A      Yes.
23                  Q      So was that a regular part of
24     communication that you had with                          helping


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                                                                        Page 122
 1     to increase his -- your understanding of one
 2     another, as a patient and a client or patient and
 3     a doctor?
 4                  A      You know, I never disclosed my
 5     religious affiliations, but because of the name
 6     and stuff sometimes the patients know, and he
 7     brought this himself, shared that information.
 8                  Q      Yeah, I am not suggesting you did
 9     anything wrong.
10                  I am actually perhaps implying that it
11     was a point of affinity between you and
12     that you shared similar religions; correct?
13                  A      Yes.
14                  Q      And that point of affinity, where
15     you are describing this conversation, did that
16     allow you to help gain deeper insight into what
17               was thinking and understanding about
18     Christy?
19                  A      Yes.
20                  Q      And when he said that, did you ever
21     query him or ask him whether Christy had
22     reciprocated his feelings for her?
23                  A      I never asked him.         And if I did,
24     he never said anything.          He just said he has


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                                                                        Page 123
 1     feelings for her.
 2                  Q      So you never asked                  whether
 3     the feelings were mutual between Christy and him?
 4                  A      I asked him maybe -- I don't recall
 5     exactly but I asked him if -- I don't exactly
 6     remember how I asked him.
 7                  But my whole reasoning was to find out
 8     if he would, you know, tell me if she was also
 9     reciprocating those feelings.
10                  But he said:
11                      No, it's just my feelings towards her.
12                  Q      Why did you ask him whether Christy
13     was reciprocating feelings for him?
14                  A      I said I never asked him.
15                  Q      Oh, you never asked him?
16                  A      No.
17                  Q      So you never asked him whether the
18     feeling was mutual?
19                  A      I didn't ask him those exact words.
20                  Q      So what did you ask him?
21                  A      I don't recall.
22                  Q      Was there any question implying
23     that or trying to find out from                       whether
24     the feelings between Christy and he were mutual?


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                                                                        Page 124
 1                  A      I think I asked him:
 2                      Have you let her know how you feel about
 3                      her?
 4                  And I don't recall exactly what he said,
 5     whether he ...
 6                  Q      So why did you ask whether he let
 7     her know how he felt?
 8                  A      Because it was very obvious that he
 9     was very fixated on her and he was talking about
10     having feelings for her and how he was relating it
11     to Profit Muhammad, recalling him having married
12     an older woman.         So I asked him -- I think in that
13     context I asked him.
14                  But I don't exactly remember the wording
15     of how I asked.         But I did try to explore to find
16     out if it was mutual or if it was just his
17     feelings for him.          And I thought he said:
18                      No, it's how I feel about her.
19                  Q      Right.
20                  So you were trying to explore whether
21     the feeling was mutual; correct?
22                  A      Yes.
23                  Q      Why were you doing that?
24                  A      Just to find out --


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                                                                        Page 125
 1                  Q      Well --
 2                  A      -- if she has said anything to him
 3     or responded anything to him.
 4                  Q      Well --
 5                  A      Like I said, I didn't exactly ask
 6     him if she has voiced any feelings for him.                  I
 7     just tried to find out if there was any such
 8     feelings.
 9                  Q      Right.
10                  And my question -- which I am not sure I
11     understand the answer, so I will ask it again:
12                  The gist of what you just said is, you
13     know, you were trying to find out if there was
14     some perhaps reciprocation of feelings from
15     Christy towards him.
16                  Is that is a fair way to say it?
17                  A      Yes.
18                  Q      And my question is:
19                  Why were you trying to find that out?
20                  A      To make sure there wasn't -- that
21     Christy did not have any feelings for him because
22     that would be inappropriate.
23                  Q      That would be abuse; wouldn't it?
24                  A      Yes.


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                                                                        Page 126
 1                  Q      Not just a casual boundary crossing
 2     of bringing a candy bar?
 3                  It's romantic, potentially leading to
 4     exacerbating this patient's fixation on women;
 5     right?
 6                  A      Yes.
 7                  Q      And I am agreeing with you, like
 8     that would have been an important thing for you to
 9     ask to find out any suspicion of what Christy may
10     have been doing with                    correct?
11                  A      Yes.
12                  Q      And this conversation with
13     where this point of affinity between you and he as
14     fellow Muslims was discussed, did this
15     conversation happen before you spoke to Christy or
16     after?
17                  A      All this conversation happened in
18     one session, where he talked about his feelings
19     for her in an individual sessions with me, and
20     then he elaborated with all this other stuff in
21     the same session.
22                  Q      Right.
23                  A      This was before.
24                  Q      It was before you spoke to Christy?


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                                                                        Page 127
 1                  A       Yes.
 2                  Q       Did you speak to Christy
 3     immediately after this or did you go to Bob Hamlin
 4     first?
 5                  A       I don't recall exactly the
 6     sequence, whether I talked to her first or I
 7     talked to Bob Hamlin.
 8                          MR. CECALA:     Okay.     Hold on one
 9     second.
10                  It's five minutes to 1:00.            If everyone
11     would like to break.
12                  So doctor, is now a good time to take a
13     break?
14                  And maybe we can do a little bit of a
15     longer break, 10 minutes or 15 minutes, if someone
16     needs to get food or the bathroom and then come
17     back and perhaps go a little longer when we come
18     back; is that okay with everyone?
19                          MS. JOHNSTON:      Want to say 1:15?
20     It's three minutes to 1:00.            If we come back at
21     1:15.
22                  Okay.     Just a reminder, doctor, you
23     shouldn't talk about the substance of this
24     deposition with anybody but your lawyer; okay.


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                                                                        Page 128
 1                  (Whereupon a recess was had).
 2                         MR. CECALA:      Okay.     After a short
 3     break we are back on the record.
 4     BY MR. CECALA:
 5                  Q      Doctor, I am going to share a
 6     screen again.
 7                  Can you see the screen, doctor?
 8                  A      Yes.
 9                  Q      Okay.    Great.
10                  If you have trouble seeing it, I can
11     always make it larger, but it's easier to -- for
12     whatever reason my computer goes faster when it's
13     smaller.
14                         MR. CECALA:      So what I am showing
15     you, I think I put on -- maybe Lyn did miss
16     this -- this is Exhibit No. 13, it's 27 pages.                   It
17     begins on Page 8726 and it ends at 8745.
18                         MS. JOHNSTON:       It's 8752, Joe.
19                         MR. CECALA:      Like I said -- Oh,
20     these would be the pages on the table here.                  8752,
21     thank you, Mary, yes, that's correct.
22                                ( Exhibit 13 marked.)
23     BY MR. CECALA:
24                  Q      So doctor, this is an exhibit of


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                                                                        Page 129
 1     the progress notes from Mark Owens' chart.
 2                  Are you familiar with progress notes?
 3                  A      Yes.
 4                  Q      And at the bottom of this very
 5     first page it says:
 6                      Recipient Name:       And it says, Name:
 7                      Owens, Mark.
 8                  Do you see that?
 9                  A      Yes.
10                  Q      So this is chart notes beginning
11     for Mark Owens in January, 2016 -- I think the
12     date in the upper left is January, 16, 2014,
13     sorry.
14                  January 16, 2014 at 10:05 a.m. and then
15     it's a social worker's note; right?
16                  Just so we are clear on these
17     nomenclatures off to the side:
18                  So the first line of January, that's the
19     date.
20                  The second line is the time.
21                  The third line looks to be crossed out
22     and initialed like the prior document, when
23     someone makes a mistake they put their initials
24     next to it; right?


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                                                                        Page 130
 1                  A      Yes.
 2                  Q      Underneath it, it says:
 3                  TR-INT; correct?
 4                  A      Yes.
 5                  Q      What does that stand for?
 6                  A      You know, I think it means the
 7     intern.
 8                  Q      So --
 9                  A      I don't see that, like, social work
10     note is social work note.           There is no such INT
11     there.    So I am assuming this is also social work
12     intern's note.
13                  Q      Okay.    At the bottom there is a
14     type of abbreviation.          It says, TR-INTR.
15                  Do you see that?
16                  A      Bottom of the next page because I
17     don't see the bottom of next --
18                  Q      Right over here.        Do you see where
19     I am pointing?       It says:
20                  Type of Abbreviations.
21                  And there's four types of abbreviations
22     there?
23                  A      Yes.
24                  Q      SP-PREC.


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                                                                        Page 131
 1                  Then it says:
 2                  BEH-OBS.
 3                  A      Yeah, I see that.         It says,
 4     Treatment Intervention, that's what I am reading
 5     it as, treatment intervention social worker note.
 6                  Q      Right.     So it's the treatment
 7     intervention social worker note; right?
 8                  A      Yes.
 9                  Q      So that's how they would be putting
10     in some intervention that the social worker was
11     performing as a service towards the patient;
12     right?
13                  A      Yes.
14                  Q      Okay.    And then this first note --
15     Actually, you can read over the first note.                  This
16     is a less significant note but I just want to make
17     sure that we are reading the same thing.
18                  So P at the top, what does that stand
19     for?
20                  A      Problem.
21                  Q      It says:
22                      Continuing care planning-chart
23                      documentation indicates that patient was
24                      involved in a "physical altercation"


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                                                                        Page 132
 1                        with a peer on January 15, 2014 in the
 2                        evening.
 3                    Right?
 4                    A      Yes.
 5                    Q      Then is it says, I.
 6                    What does that stand for?
 7                    A      Intervention.
 8                    Q      Then MCT, is that the treatment
 9     team?
10                    A      Met with Mr. Owens.
11                    Q      Met, M-E-T.
12                        So met with Mr. Owens and treatment team
13                        to discuss documented incident, also to
14                        meet individually --
15                           And then there is something crossed
16             out.
17                        -- later today.
18                    Then there is another P and what does
19     that P stand for?
20                    A      Progress.
21                    Q      Good.   So progress is:
22                        Mr. Owens acknowledged there was --
23                        there has been tension between himself
24                        and a peer RK recently and reminded


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                                                                        Page 133
 1                      staff of a previous incident.
 2                      In the occasion Mr. Owens reported it
 3                      began in the day room by the -- I am not
 4                      sure what --
 5                  A      TV area.
 6                  Q      -- TV area.
 7                  Great.     Thank you.
 8                      Mr. Owens reported the peer was talked
 9                      to, a second peer.
10                  And then it's all crossed out.
11                      And he said --
12                         And I can't read this.
13                      -- something to peer?
14                  A      Yeah.
15                  Q      Maybe remark to peer?
16                  A      No, remark doesn't have four
17     letters.
18                  He said --
19                  Q      Smack?
20                  A      No, I don't know.         Could be smack.
21                  Q      Well, there is a word, an
22     unidentified word to peer RK.
23                      And the peer said to Mr. Owens, called
24                      him a B word.      Mr. Owens told the peer


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                                                                        Page 134
 1                      to watch that word and other patient
 2                      shoved off.
 3                      He encountered peer later in the
 4                      hallway, where peer was reportedly
 5                      waiting around the corner.           He reported
 6                      peer shoved his fingers -- shoved his
 7                      fingers Mr. Owens' face and he pushed
 8                      peer's hand.
 9                  And continuing onto the next page,
10     that's the end of that note; right?
11                  Because the next note says something at
12     January 16 at 1300; right?
13                  A      It doesn't look like that note
14     ended.
15                  Q      Right.     That's why I was going to
16     ask you.
17                  So it looks like this is an incomplete
18     note.    It goes somewhere right?
19                  A      And it is not signed either.
20                  Q      And it's not signed.
21                  And then this is the very next page
22     beginning, This writer received; correct?
23                  A      Yes.
24                  Q      Can you explain why there would be


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                                                                        Page 135
 1     a page missing from the chart notes?
 2                  A      It shouldn't but sometimes pages do
 3     come loose, unless it was refiled in a different
 4     place or ...
 5                  Q      So it's just, we are asking -- It's
 6     a curious question.          You said that sometimes pages
 7     might be misplaced in the chart notes?
 8                  A      Yeah.
 9                  Or where it says, Continue on reverse,
10     it says Continued, and then you see it on the
11     other side of the page.          You initial it or sign it
12     and then you say continue on reverse.
13                  Q      Right.
14                  So if we look at the very next page, it
15     doesn't say that, but then it says:
16                      Negative terms about.
17                  Right?
18                  A      Yes.
19                  Q      And then when we look at this next
20     page that also seems to be a page that's missing?
21                  A      Yes.
22                  Q      So is that common to be missing
23     chart pages?
24                  A      No.


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                                                                        Page 136
 1                  Q      So there is this first incident for
 2     which there is a page apparently that's missing
 3     from the chart and it's January 16 at 10:00 a.m.
 4                  And then the second page here, I am
 5     going to read that as well.            You correct me if you
 6     think something I have read is incorrect.
 7                  So we have a similar, January 16, 2014,
 8     1300 or 1:00 p.m., and then it's the -- it's the
 9     social worker note and it says:
10                      This writer received a call from
11                      Mr. Owens' mother related to her concern
12                      about her conversation with her son
13                      about the incident January 15, 2014 in
14                      the --
15                  A      Evening.
16                  Q      Thank you.
17                      Mr. Owens --
18                  A      It's Ms. O'Neal.
19                  Q      I'm sorry.
20                      Ms. O'Neal --
21                  Thank you .
22                      -- related her concerns and the writer
23                      attempted to explain the reasons for her
24                      son receiving the loss of privilege.


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                                                                        Page 137
 1                      Ms. O'Neal repeatedly blamed the peer
 2                      for "agitating her son" and demanded to
 3                      know what was being done about the peer
 4                      so her son will not be further agitated.
 5                  Then it says:
 6                      Explained to Ms. O'Neal --
 7                  A      Ms. Owens.
 8                  Q      It says Ms. Owens, doesn't it.
 9     Okay.
10                      Explained to Ms. Owens the treatment
11                      provided and the goal for her son to
12                      behave in a socially appropriate manner.
13                      Also presented information related to
14                      the court and criteria for increased
15                      privileges.
16                      At one point Ms. O'Neal referred to some
17                      type of situation which has resulted in
18                      her son being kept here longer though
19                      than he should be.
20                      In the background heard an unidentified
21                      male speaking in negative terms about --
22                  And then there is no page.
23                  Do you see that?
24                  A      Yes.


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                                                                        Page 138
 1                  Q      And I think I did a nice job of
 2     stumbling through.         I didn't really miss any words
 3     too substantially to leave us without an
 4     understanding of the note.
 5                  So you understand what's in the note;
 6     right, doctor?
 7                  A      Yes.
 8                  Q      So do you recall in January of
 9     2016 -- At this time Mark Owens was your patient;
10     right -- I am sorry.         I keep saying 2016.
11                  In January of 2014 Mark Owens was your
12     patient at that time; right?
13                  A      I think so.
14                  Q      Well, should we take a look back to
15     see from the interrogatories?
16                  Would it help to make sure we know?
17                  A      I think he was admitted in 2014 and
18     I was his treating psychiatrist at the time.
19                  Q      So actually Mark was admitted in
20     2012.
21                  A      Oh, okay.
22                  Q      Shall we look at the exhibit
23     because you outlined it just fine?              It helps us.
24                  A      Yes.


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                                                                          Page 139
 1                  Q      I am going to switch to Exhibit
 2     No. 11 and we are on response to Question 7.                  It
 3     says:
 4                      L Unit from February 11, 2012 to October
 5                      of 2012.
 6                      MISA Unit K from October of 2012 to July
 7                      of 2013.
 8                      L Unit from July of 2013 to October of
 9                      2016.
10                  A      Yes.
11                  Q      So according to this review he
12     would have been a patient of yours in January of
13     2014.
14                  Does that help refresh your
15     recollection?
16                  A      Yes.
17                  Q      Okay.    So let me find the other
18     exhibit.
19                  So doctor, just calling your attention
20     to this time period, it's January of 2014, and we
21     just refreshed your memory that Mark was your
22     patient at that time; right?
23                  A      Yes.
24                  Q      And there is this chart note


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                                                                        Page 140
 1     apparently written by his social worker, who at
 2     the time was Christy Lenhardt, although, it's not
 3     signed; correct?
 4                  A         Yes.
 5                  Q         And it kind of looks like her
 6     handwriting as well but we can't confirm it
 7     because it's not signed.
 8                  Relating an incident about Mark's mother
 9     calling to complain about Mark's treatment; right?
10                  A         Yes.
11                  Q         And as part of it, there is this
12     quote written down by the social worker,
13     presumably Christy:
14                      Ms. O'Neal referred to some type of
15                      situation which has resulted in her son
16                      being kept here longer than he should
17                      be.
18                  Do you see that?
19                  A         Yes.
20                  Q         So are you aware of what situation
21     was going on with Mark at this time that his
22     mother may have been referring to?
23                  A         I don't recall.
24                  Q         And then it goes on to say:


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                                                                        Page 141
 1                      There is a male speaking in negative
 2                      terms about.
 3                  Do you recall anything about being --
 4     you know, Christy or anyone reporting that Mark's
 5     parents were calling the facility in January of
 6     2016 to complain about -- I am sorry -- 2014, I
 7     keep saying the wrong year -- in January of 2014
 8     to complain about a situation or about something
 9     else?
10                  A       I don't exactly recall that time
11     and what they were complaining about, no.
12                  Q       Okay.    Did they often call the
13     facility and complain about the facility?
14                  A       Yes.
15                  Q       And do you recall what their
16     complaints were?
17                  A       Basically about the patient's
18     progress or if he was -- if he was in any kind of
19     issues with other peers or just wanting to get
20     information about how his treatment was going.
21                  Q       Right.
22                  Okay.     So I am going to go through these
23     pages very quickly.           The chart notes we were given
24     in sequence.


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                                                                        Page 142
 1                  So the next chart notes are from
 2     February 7, 2014 to February 14, 2014.
 3                  I don't see any social worker entries
 4     here; correct?
 5                  A      Yes.
 6                  Q      And then this is the next page.
 7     Again, this looks like it is a typewritten note by
 8     Cara Wueste on March 3, 2014.
 9                  But this is a group note; right?
10                  A      Yes.
11                  Q      This is not because she is his
12     social worker?
13                  So Cara wasn't his social worker at this
14     time?    She is writing this note because she is in
15     charge of his groups; right?
16                  A      Yes.
17                  Q      Then there is another typewritten
18     note on March 4, 2014 at 2:30 p.m.              Again, there
19     is this intervention.
20                  This time it does say, SW Intern note.
21                  So is this a note that would have been
22     prepared by a social worker intern?
23                  A      Yes.
24                  Q      And it's also circled on the


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                                                                        Page 143
 1     bottom, Continued on reverse.
 2                  Right?
 3                  A      Yes.
 4                  Q      And in this the intern:
 5                  We've got problem -- which is individual
 6     sessions -- and then starting to read with:
 7                      Progress.     Mr. Owens continued to meet
 8                      with social worker intern for one on one
 9                      sessions during last month.           During
10                      patient continues to --
11                         His manuscript, etc., it goes on to
12           describe it.
13                  My question is, do interns meet alone
14     with patients?
15                  A      If she is writing a note which she
16     is not saying that she is meeting with him along
17     with the social worker, yes, then they are meeting
18     alone with the patients.
19                  Q      So this note, where it would have
20     been prepared here, this is a note that a social
21     worker intern would have been the service provider
22     to Mark, not Christy Lenhardt?
23                  A      Yes.
24                  Q      So here is the next page.           You


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                                                                        Page 144
 1     know, there is a lengthy note about things
 2     happening in Mark's life.           It's a continuation of
 3     a prior note and it also gets the end of the note.
 4                  And then it has what appears to be a
 5     signature, MSW Intern, and underneath that it
 6     looks like it's Christy Lenhardt's signature; is
 7     that correct?
 8                  A      Yes.
 9                  Q      So is there a reason that both of
10     these employees signed this note together?
11                  A      Social work intern's note must be
12     reviewed by the social worker and she has to agree
13     with it to make sure the documentation is
14     appropriate.
15                  Q      Okay.    So Christy is reviewing the
16     note, even though perhaps she didn't provide the
17     service; correct?
18                  A      Yes.
19                  Q      So now we are up to March.
20                  And this is Andrew Beck signing as a
21     social worker but he was part of a MISA group
22     meeting that Mark would have attended in March,
23     2014; correct?
24                  A      Yes.


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                                                                        Page 145
 1                  Q      None of the other notes on this
 2     page are from a social worker; correct?
 3                  A      Yes.
 4                  Q      Then March 14 of 2014, it looks
 5     like there is a note.          I am not sure if that's the
 6     medical officer of the day or nursing.                It doesn't
 7     identify who that is.
 8                  But underneath that, March 26, it says
 9     Psychiatrist; correct?
10                  A      Yes.
11                  Q      That's a fairly standard note that
12     you write as a psychiatrist; right, Medication
13     Review?
14                  A      Yes.
15                  Q      And then April 4, it looks like
16     there is another intern note similarly signed by
17     the intern and Christy Lenhardt; correct?
18                  A      Yes.
19                  Q      So in Progress on this note of
20     April 4, it says:
21                      During session Mark continues to work on
22                      relapse prevention plan, actively
23                      listens, continues to make changes to
24                      the plan based on social worker


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                                                                        Page 146
 1                      recommendations.       Shows insight.
 2                  You know, there is nothing here that --
 3     You can read the whole note but it's sort of
 4     routine progress that Mark is making; he is not
 5     fighting with anyone or having hallucinations or
 6     running down the hallway causing trouble; right?
 7                  It's just a routine social worker note;
 8     correct?
 9                  A      Yes.
10                  Q      Now, April 3 is another series of
11     notes.    Again, I don't see any social worker notes
12     there.
13                  It's mostly progress notes from either
14     nursing or from medical officers; correct?
15                  A      Yes.
16                  This is a -- PCP stands for physician --
17     primary care physician and these are all notes
18     regarding medical stuff.
19                  Q      Okay.    Great.
20                  A      Primary care physicians, every time
21     you see that PCP note that means primary care
22     physician.
23                  Q      Okay.    So it's primary care
24     physician, meaning it's more bodily medicine and


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                                                                        Page 147
 1     functions of anatomy/physiology rather than
 2     psychiatry; right?
 3                  A      Yes.
 4                  Q      Okay.    So then again, on April 18
 5     the social worker intern has another lengthy note,
 6     but except this time it says the intern has
 7     prepared the note, but I don't see her signature
 8     at the bottom; do you?
 9                  A      No.
10                  Q      So is it possible that this note
11     was actually something drafted by Christy?
12                  A      It's possible.
13                  Q      Is the way we would know by the
14     signatures?
15                  A      She signed her name to it.
16                  Q      Right.
17                  I mean, if you were the -- I am asking
18     just to understand the procedures at Elgin.
19                  If you were reading this note and you
20     thought to yourself, Hmm, I have a question about
21     this note, and the intern hadn't signed it, would
22     you talk to Christy and the intern or just
23     Christy?
24                  Who would you talk to, if you saw the


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                                                                        Page 148
 1     signature of only Christy?
 2                  A      If it says social work intern note
 3     it should have the signature of the intern.
 4                  So if I had come across this note and I
 5     noticed that signature was missing, I would have
 6     asked her, How come this note isn't signed by the
 7     intern?
 8                  Q      Yeah, I am not suggesting that we
 9     are blaming someone.
10                  I want to make sure that -- You are the
11     psychiatrist for this patient and the other
12     treatment team members are preparing information
13     that you would review; correct?
14                  A      Yes.
15                  Q      So if the information is in there
16     and you felt the need to discuss it, you would
17     know the information with whom to discuss it by
18     who prepared the note and who signed it; right?
19                  A      Yes.
20                  Q      So if there aren't two signatures,
21     I am only asking, this wouldn't seem like it would
22     be necessary to talk to the intern, because
23     Christy is the only one who signed it, or am I
24     incorrect in assuming that?


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                                                                        Page 149
 1                  A      Since she is supervising the intern
 2     and she has signed it.
 3                  Q      So it would be Christy then?
 4                  A      I would believe Christy, yes,
 5     because it's her signature.
 6                  Q      Again, Physician Notes at the top
 7     on the next page which is entry 4-29 and the
 8     bottom there is another one.
 9                  Is that your note and your signature on
10     4 -- looks like -- not sure if I am reading the
11     dates correctly.
12                  Is that 4-29-14?
13                  A      Looks like 29, yes.
14                  Q      That's another note which is
15     basically a note on medications; correct?
16                  A      Yes.
17                  Q      Here we have another intern note
18     and it looks like both signatures are there this
19     time?
20                  A      Yes.
21                  Q      This note is dated -- It's actually
22     05-3-14, so May 3, because 04 is crossed out;
23     right?
24                  A      Yes.


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                                                                        Page 150
 1                  Q      And another note, if you want to
 2     review the note, it seems like Mark is kind of
 3     stable and doing fine in this note.
 4                  You can read the note and correct me if
 5     I am wrong.       But is that a correct impression of
 6     this note?
 7                  Have you had a chance to see it and is
 8     that a correct impression?
 9                  A      Yes, I am reading the note.
10                  Q      Oh, okay.      I am sorry.
11                  A      Because you asked me to read the
12     note.
13                  Q      Yeah, I am sorry.         I didn't know if
14     you were finished.
15                  A      I read it.
16                  Q      Is my characterization of that is
17     that Mark is fairly stable right now on May 3,
18     2014, as is shown by the note?
19                  A      Yes.    I am reading the note, yes.
20                  Q      Okay.    Great.
21                  Then there is another physician's note
22     on May 8 and then there is a very long activity
23     therapist note on May 8.           It says:
24                      Patient approached the staff, appeared


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                                                                        Page 151
 1                      agitated:
 2                      What the hell is Earl's problem.             He is
 3                      acting crazy.      He always jokes around
 4                      about killing people or beating people
 5                      but --
 6                  I can't really read that.
 7                  Can you make out what is said between
 8     but and was?
 9                  A      No.
10                  Q      Okay.    But something was serious.
11                      I don't care how many people be killed.
12                      I will punch him.       I will F him up.         I
13                      don't care what I will lose.           He knows
14                      how we were raised.
15                      He come from the same neighborhood, him
16                      and Martinez, from the same gang, and I
17                      am from a different gang.          I wasn't
18                      really a member.
19                      I was looking out the window just
20                      keeping to myself and thinking.
21                  Right?
22                  A      Yes.
23                  Q      And then it says Continued.
24                  And again we have a -- there is no


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                                                                        Page 152
 1     continued of that note; correct?
 2                  A      I am wondering, because these pages
 3     are like both sides, if the other side didn't
 4     print?
 5                  Q      Yeah, we are wondering too --
 6                  A      Yes.
 7                  Q      -- because there's missing pages in
 8     the notes; correct?
 9                  A      Yes.
10                  Q      So anyway, that's the end of that
11     incident; right?
12                  A      Looks like it.       It didn't complete,
13     because what were the interventions, what was
14     talked about?       Nothing is in there.
15                  Q      Right.
16                  Then on May 8, 2014 there is a social
17     worker note here and it says:
18                      Incident with peer:        Mr. Owens attempted
19                      to articulate his concerns, frustration
20                      but he was having a difficult time
21                      getting his meaning across due to his
22                      use of broad language in his apparent
23                      attempt to be diplomatic.
24                      Focused --


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                                                                        Page 153
 1                  A      Mr.
 2                  Q      -- Mr. Owens on sharing --
 3                  A      Exactly.
 4                  Q      -- exactly what happened.
 5                  And then it goes on to describe
 6     basically they are talking about the similar
 7     incident.
 8                  So he has had this
 9     incident/confrontation with another patient and
10     it's discussed.
11                  And then it says Continued, but then I
12     see initials CL here, but it ends, Animosity
13     toward something.
14                         And it trails off; right?
15                  A      Yes.
16                  Q      And the next page is not a
17     continuation of the note again?
18                  A      Yes.
19                  Q      So on May 8, 2014 there is a
20     psychiatrist note here, where you met with
21     patient.     Still the same incident.           It appears he
22     is having trouble with one of his peers, EM:
23                      Patient tried to keep his distance.
24                  It's basically this incident that has


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                                                                        Page 154
 1     occurred -- that's going on at this particular
 2     time; right?
 3                  A      Yes.
 4                  Q      So -- And then there is another RN
 5     note on the 15th or 14th.
 6                  And then it looks like there is another
 7     nursing note.
 8                  And then on May 10, 2014 there is
 9     another nursing note.
10                  And on May 10 again it looks like there
11     is another note here, another nursing note at 2200
12     hours; right?
13                  So we are up to May 12.           Again, nursing,
14     nursing.
15                  And then your note here, this looks like
16     it's another medication note; correct?
17                  You discussed the case with staff?
18                  Patient is getting a medication change;
19     is that the gist of that note?
20                  A      Yes.
21                  Q      Then the next day another
22     psychiatrist note at the top.
23                  That's your signature; right?
24                  A      Yes.


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                                                                          Page 155
 1                  Q      And there seems to be more nursing
 2     notes.
 3                  This appears to be -- It doesn't
 4     identify it but it says, Staff Notes, routine
 5     monitoring, at the bottom of that page.
 6                  So far nothing that is jumping out --
 7     correct me if I am wrong -- that he is having any
 8     psychotic episodes.          It's relatively business as
 9     usual.
10                  Here is May 15 shift notes.
11                  May 15 again.
12                  May 16 is the next note, nursing shift
13     notes.
14                  May 16, 1400 shift notes.
15                  And then May 16, 2014, here we have the
16     social worker intern note, but again, there is
17     that bit of differentiation because Christy is the
18     only one who signed this note; correct?
19                  A      Yes.
20                  Q      Now, this note is interesting.             I
21     want to ask you about this.            It says:
22                      Progress:     Mr. Owens was 25 minutes late
23                      to session after intern went to him
24                      several times to remind him.


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                                                                        Page 156
 1                    Discussed that he enjoys being alone and
 2                    being alone is not always being
 3                    isolated.
 4                    He stated that he is productive when he
 5                    is alone and he works on his movie
 6                    script.
 7                    Mr. Owens talked about how he has
 8                    learned about mental illness over his
 9                    time at Elgin and he feels this
10                    knowledge is important as part of his
11                    recovery.
12                    Mr. Owens continued that he thinks that
13                    mental illness is the result of a
14                    person's actions.         He clarified that it
15                    might be punishment or a protective
16                    factor.
17                    He went on to say he believes his mental
18                    illness was a punishment for things he
19                    has done and accepts that and makes him
20                    want to be better.
21                    When asked further, he states that God
22                    does everything for a reason.
23                    At 1:00 p.m. Mr. Owens stated he needed
24                    to leave for recreational group.


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                                                                        Page 157
 1                      Plan:     Mr. Owens will continue
 2                      individual sessions.
 3                  Is that what this note is showing?
 4                  Did I read it correctly -- I am sorry --
 5     did I read that note correctly?
 6                  A      Yes.
 7                  Q      So this note is written at 1400
 8     which is 2:00 p.m.; right?
 9                  A      Yes.
10                  Q      And it says that at 1:00 p.m. he
11     left.
12                  So sometime earlier in the day he had an
13     individual session.          It says he was 25 minutes
14     late to session.
15                  How long would a session be, if he was
16     25 minutes late?
17                  Does that mean he was 25 minutes late
18     for the appointed time?
19                  A      Yes.
20                  Q      So was it perhaps an hour long
21     session and he missed 25 minutes of it?
22                  A      I really cannot comment on that
23     because I don't know exactly when and the context
24     what was happening that day.


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                                                                        Page 158
 1                  Q      Well, about how long, in your
 2     experience, do social workers meet with patients?
 3                  A      It depends.      Could be short
 4     sessions, could be long sessions, depending on
 5     what's being discussed.
 6                  Q      What is a short session, about how
 7     long?
 8                  A      Could be 15 minutes -- 15 to 20
 9     minutes.
10                  Q      How long is a long session?
11                  A      45 minutes to an hour session, I
12     would call it long.
13                  Q      Okay.    Her noting he was 25 minutes
14     late, and he is sort of reluctant here, he wants
15     to be alone in his room.
16                  He is not wanting to be around people;
17     right?
18                  A      Yes.
19                  Q      Okay.    So much so that she had to
20     remind him to come several times; right?
21                  A      Yes.
22                  Q      So we're up May 18 now, 2014, on
23     the next page.
24                  Again nursing note, shift notes, nursing


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                                                                        Page 159
 1     note, nursing note.
 2                  Nothing really behavioral in the nursing
 3     notes right now; right?
 4                  A      Yes.
 5                  Q      Then another nursing note which
 6     is -- it looks like routine monthly shift for --
 7                  A      Shift for behavior.
 8                  Q      Behavior; okay.
 9                  So again, it doesn't seem like there is
10     any notable symptoms.          I am not saying there's no
11     symptoms, just compared to, he's having fights
12     with patients or some other behaviors that are
13     troubling; correct?
14                  A      Yes.
15                  Q      And we are now in May 22, again
16     another nursing note, and there is a chart
17     reviewed with --
18                  A      Patient eval.
19                  Q      On May 22, 2014 you did a patient
20     evaluation; right?
21                  A      Yes.
22                  Q      And it's just your findings from
23     the evaluation that's in the chart?
24                  A      No, I actually saw the -- I


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                                                                        Page 160
 1     evaluated the patient.
 2                  Q      Yeah, that's what I am saying.
 3                  A      Yes.
 4                  Q      The findings from your personal
 5     evaluation of the patient --
 6                  A      Yes.
 7                  Q      -- are what you have written in the
 8     chart; okay.
 9                  Again, on May 23 another -- looks to be
10     a social worker intern who wrote the note, but
11     again, Christy signed it; right?
12                  A      Yes.
13                  Q      So this one notes he arrived on
14     time for session this time; right?
15                  A      Yes.
16                  Q      It says:
17                      It was noted he seemed distracted.              He
18                      states he feels reserved, which is how
19                      he relaxes and feels reserved.
20                      Mr. Owens went on to review this week.
21                      He stated he enjoyed groups.           Has gotten
22                      back into regular exercise, not just
23                      basketball.
24                         He goes on to discuss things about


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                                                                        Page 161
 1           his grandmother and his family and then it
 2           says:
 3                      Social worker intern reminded him that
 4                      his actions are what caused his arrest.
 5                  So again here, this is just an ordinary
 6     meeting with his social worker intern
 7     apparently -- even though Christy signed it -- and
 8     plan is continue individual sessions.
 9                  It's routine business again; right?
10                  A      Yes.
11                  Q      So on May 30 RN note.
12                  May 30 psychiatrist note.
13                  And this looks like monthly medication,
14     which is a monthly medication review; right?
15                  A      Yes.
16                  Q      That's routine; isn't it?
17                  A      Yes.
18                  If you can scroll up a little please?
19                  Q      Yes, sorry.
20                  A      I recall the reason why he was
21     placed on shift notes, like you saw earlier, was
22     because I was looking into changing his medication
23     because he had developed some side effects from
24     his medication and I was trying to find out


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                                                                        Page 162
 1     something that would work for him.
 2                  Q      Okay.
 3                  A      So that's what's going on over
 4     here.
 5                  Q      That's routine; right, doctor?
 6                  A      Documenting because he had
 7     developed what we call pancytopenia, which is low
 8     blood cells because he was on Olanzapine, so I
 9     wanted to just watch him and rechallenge him with
10     a different medication.
11                  Q      It's routine; right?
12                  A      Yes.
13                  Q      We are now on to May 30, 2014:
14                      Mr. Owens arrived on session on time.
15                      Intern brought up that he seemed
16                      distracted recently.         Mr. Owens denied
17                      being distracted.
18                      Intern briefly reviewed last week's
19                      session.    Stated he understands where
20                      social worker is coming from when he
21                      says it is his grandma's fault.
22                         That was from the last session.
23                      He does not mean to blame.
24                  He still -- This is ordinary social work


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                                                                        Page 163
 1     activity.        He is talking about his family, his
 2     grandmother, he is crying.
 3                  And again, I didn't mean to go into
 4     great detail on it but it's sort of routine
 5     business as usual; correct?
 6                  A       Yes.
 7                  Q       And except for the missing pages it
 8     appears as if up until May 30 there is business as
 9     usual and perhaps with the exception that his
10     family has called to complain about treatment;
11     right?
12                  A       Yes.
13                          MR. CECALA:     Now, I am going to go
14     to Exhibit No. 14 which begins with Bates stamp
15     8753, it is 45 pages, and it continues to 8797.
16                                 ( Exhibit 14 marked.)
17     BY MR. CECALA:
18                  Q       So we are now in June.
19                  June 3, again there is the physician's
20     note at the top.        There is a nursing note.
21                  And then on June 7 I am not sure who
22     that is by because it doesn't give a title.
23                  Can you read the first two lines on the
24     P on the June 7 note at 0200?


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                                                                        Page 164
 1                  A      Something to do with patient's
 2     something up in his room.           Playing with cars
 3     cards.
 4                  Q      Right.
 5                  So it looks like he is up at 2:00
 6     o'clock in the morning playing with cards; right?
 7                  A      Patient still up in his room
 8     playing with cards.
 9                  Q      Right?
10                  A      Yes.
11                  Q      So at 2:00 o'clock in the morning
12     on July 7 he is awake in his room playing cards?
13                  Now, a couple days before that -- It
14     looks like this was a note this is out of
15     sequence; right?
16                  This one is dated June 4, 2014; right?
17                  A      Yes.
18                  Q      And another intern note signed by
19     Christy -- it doesn't appear to be that the
20     intern -- Again it's that problem of who wrote the
21     note.    It's just signed by Christy.
22                  Here it says:
23                      Progress:     Mr. Owens had his father,
24                      Mark Owens, Sr. call, stating that


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                                                                        Page 165
 1                    Mr. Owens, Jr. is uncomfortable in the
 2                    office with social work staff.
 3                    When social work talked to him about it
 4                    he stated it was part of transitions.
 5                    He requested to meet in the open room in
 6                    common area at a table.
 7                    Once at the table he was angled facing
 8                    away from social worker and intern.
 9                    Through prompting Mr. Owens did turn so
10                    he was facing the table.            During the
11                    session he discussed interviewing for
12                    passes.
13                    When he asked about symptoms, he stated
14                    that missing medication is a symptom
15                    because his senses become jumbled and he
16                    no longer feels as though he needs meds.
17                    When questioned what he would do, he
18                    said he would go to the ER.
19                    Through further discussion Mr. Owens
20                    stated that he stated he would talk with
21                    his treatment team about relapse before
22                    it happened so they would talk with him
23                    about medications.
24                    Plan:     Mr. Owens will continue


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                                                                        Page 166
 1                      individual sessions.
 2                  So do you recall, in June of 2014, when
 3     Mr. Owens, Sr. called to say that Mark reported he
 4     wasn't comfortable in the office with his social
 5     work staff?
 6                  A      I don't particularly remember his
 7     father calling, no.
 8                  Q      Do you recall around this time Mark
 9     telling you he wasn't comfortable being in the
10     office -- at the time his social worker was
11     Christy -- with Christy?
12                  A      I remember one conversation that I
13     had with him in which -- this is the time when he
14     was going through the medication change -- and he
15     was becoming gradually more psychotic and he felt
16     very uncomfortable.         And he said:
17                      I don't want to meet in offices.             I want
18                      to be seen in open spaces.
19                  Q      So do you recall Mark telling you
20     that the reason he didn't want to meet in the
21     office with Christy Lenhardt had to do with his
22     integrity as a Muslim?
23                  A      I don't recall exact those words
24     but he did mention that he is not comfortable


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                                                                        Page 167
 1     meeting with any staff in offices.
 2                  Q      So he didn't say, I am not
 3     comfortable meeting in the office because being a
 4     Muslim I don't want to be alone in an office with
 5     a woman?
 6                  A      I don't exactly remember that
 7     conversation.
 8                  Q      Well, what do you remember?
 9                  A      I do remember him saying he does
10     not want to be in office -- does not want to meet
11     in offices.      And he was acting somewhat different
12     than his normal self.          He was more secluded and
13     withdrawn.
14                  But I don't remember him saying
15     specifically Christy.          I remember him saying he
16     doesn't want to be seen in offices.
17                  Q      So do you recall him using the
18     point of affinity as fellow Muslims to help you
19     understand the reason that he didn't want to do
20     that?
21                  A      I don't exactly remember the
22     context, but he was like practicing at that time.
23                  I remember one conversation, he was
24     wearing a shirt and it had a face on it and he


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                                                                        Page 168
 1     said something like:
 2                  I shouldn't be wearing this shirt
 3     because I shouldn't be wearing faces.
 4                  So he was making comments like that.
 5                  Q      Do you recall if he made a comment
 6     like that in relation to being uncomfortable in
 7     the office?
 8                  A      He did say he was uncomfortable in
 9     offices and wanted to meet in open spaces, yes.
10                  Q      Now, you met regularly with him;
11     right?
12                  A      Yes.
13                  I would see him for medication
14     management once and then I would see him in his
15     treatment plan staffing but during this time
16     because he was going through a medication change I
17     believe I was meeting with him more often.
18                  Q      Where did you meet him?
19                  A      I usually see patients either in
20     the physician room which is behind the nurses'
21     station or I would see him in the conference room.
22                  Q      When you met him in the physician
23     room was there anyone else present in the room
24     with you?


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                                                                        Page 169
 1                  A      Usually there is nursing staff
 2     because there is no door between the -- that's
 3     closed between the physician room and the nurses'
 4     station and staff is aware that he is in the back
 5     with me being seen, being evaluated.
 6                  Q      I know.     And I am just trying to
 7     save time.
 8                  Were you and Mark alone in the office --
 9     Whether the door was open or closed, I will ask
10     that later.
11                  Were you and Mark alone in the office by
12     the nurses' station, doctor?
13                  A      In the physician room, yes.
14                  Q      Right.
15                  There was nobody else in the room with
16     you; right?
17                  A      I don't recall, no.
18                  Q      Well, do you not recall or were you
19     not -- Was there someone else standing in the room
20     with you and Mark when you were meeting with him?
21                  A      Like I said, the door between
22     physician room and the nurses' station is always
23     open, so there is staff always there, but anybody
24     particularly standing in the physician office with


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                                                                        Page 170
 1     me, no.
 2                  Q      Right.
 3                  So you were alone in the room, even
 4     though the door was open; right?
 5                  A      Yes.
 6                  Q      Did Mark ever express that he
 7     didn't want to be alone with you in the
 8     physician's office at the nursing station?
 9                  A      He just made a point saying:
10                  Can we just meet in open areas from now
11     on?
12                         So he did make that comment.
13                  Q      So he didn't want to meet alone
14     with you either?
15                  A      I think so.      That's what he was...
16                  Q      I don't want you to speculate.
17                  Did Mark say to you:
18                      I don't want to meet with you in the
19                      physician's office alone.
20                  A      He did not say specifically, I
21     don't want to meet with you.
22                  Q      Okay.    But he did say:
23                      I don't want to meet with staff alone.
24                      Correct?


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                                                                        Page 171
 1                  A      Yes.
 2                  Q      And this is referring to, in this
 3     note which was recorded apparently by the intern,
 4     that he was uncomfortable in the office with
 5     social work staff; right?
 6                  A      Yes.
 7                  Q      Do you know who received this call?
 8                  A      No, I don't.
 9                  Q      Do you ever recall that this phone
10     call from Mark's father was related to you?
11                  A      No.
12                  Q      So did Mark ever tell you that he
13     had called his father to say he wasn't comfortable
14     in the office with social work staff?
15                  A      No.
16                  Q      So this is apparently -- Let me
17     make sure.       I am going to go back to the previous
18     document.
19                  So these are entries of apparently
20     June 6 and June 7 but the pages are out of
21     sequence apparently because this is an entry of
22     June 4; right?
23                  A      Yes.
24                  Q      So it looks like the phone call


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                                                                        Page 172
 1     from his father, where Mark told him he was
 2     uncomfortable with social work staff, occurred on
 3     the 4th.
 4                  And then it looks like on June 7 Mark
 5     was up in his room at 2:00 in the morning playing
 6     cards; right?
 7                  A      Yes.
 8                  Q      Just so my understanding is clear,
 9     in the six months prior to this --
10                  We went from January, all the way to
11     really June 4, and it appeared that in May or so
12     Mark started to become somewhat withdrawn, he
13     wanted to be alone, he was coming late to social
14     work sessions.
15                  Is that a fair characterization of what
16     we summarized in those notes in April and May?
17                  A      Yes.
18                  If you scroll up, you know, what has
19     happened was he was doing so well.              It was when I
20     noticed that his blood work was looking abnormal,
21     because we had done his blood work and that's when
22     I --
23                  Q      I appreciate you volunteering this,
24     doctor.    I haven't asked you a question.


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                                                                        Page 173
 1                  A      Okay.
 2                  Q      I understand the likelihood that
 3     you will provide a psychiatric and physiologic
 4     explanation for what has happened to Mark.
 5                  A      Okay.
 6                  Q      And we can take a lot of time with
 7     that as an answer to a lot of different questions.
 8                  I am not trying to invalidate your
 9     viewpoints as a doctor.          You could offer a lot of
10     explanation; correct?          I am not trying to stop you
11     from providing other explanations.
12                  I am just trying to get what is on the
13     record in the chart notes, according to what was
14     written down by the staff and what it says there;
15     correct?
16                  You understand that?
17                  A      Yes.
18                  Q      Okay.    So I am not trying to
19     extrapolate on potential other causes.                I am just
20     establishing the timeline; okay, just so we can go
21     fast.
22                  So the point is, on June 4 -- to
23     reiterate my point.
24                  On June 4 there is a note that


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                                                                        Page 174
 1     Mr. Owens' father called complaining that he was
 2     uncomfortable in the office with social work
 3     staff.
 4                  And then on June 7 he was playing cards
 5     in his room until 2:00 a.m.
 6                  That's all I am saying.           Nothing more,
 7     nothing less.
 8                  Is that a correct sequence from the
 9     progress notes?
10                  A      Yes.
11                  Q      So then on June 8, the day after he
12     was staying up late -- This is a nursing note.
13     Again, it says:
14                      Patient -- I think it says -- routine
15                      observation.
16                         And I really can't read her
17           handwriting.
18                  A      It says:
19                      Patient was put on routine observation
20                      every shift for unpredictable behavior
21                      per nursing.
22                  Q      Okay.    So it's routine observation,
23     still not something that -- you know, there might
24     be something going on, but now it's not frequent


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                                                                        Page 175
 1     observation, which is an increased grading of
 2     observing the patient; correct?
 3                  A      Yes.
 4                  Q      So he is on routine observations on
 5     June 8.
 6                  And June 9 there is another nursing
 7     note.
 8                  And then another medical doctor note on
 9     June 9.
10                  And then there is the note on June 9:
11                  First dose medication being given here;
12     correct --
13                  A      Yes.
14                  Q      -- Mr. Owens?
15                  So his first dose of the new medication
16     is on June 9; right?
17                  A      Yes.
18                  Q      Now, he is getting routine
19     monitoring because there is a change in medication
20     by the RN; correct?
21                  A      Yes, monitoring by the nursing
22     staff, yes.
23                  Q      Monitoring by nursing; right.
24                  Then it looks like here is more notes on


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                                                                        Page 176
 1     June 9, mostly about monitor routinely by nursing
 2     is the bulk of his chart notes; correct?
 3                  A      Yes.
 4                  Q      June 10, it says right here, on
 5     June 10 at 10:00 a.m., it looks to me like
 6     psychology wrote a note here.            Perhaps it's Pat
 7     Larson --
 8                  A      Yes.
 9                  Q      -- right?
10                  It says:
11                      One of his peers JD approached this
12                      writer this morning.         He stated that
13                      Mr. Owens has been intrusive.            Mr. Owens
14                      is knocking on his door without any
15                      reason, making bizarre gestures and
16                      looking at him through his glass window
17                      and he, JD, wants to have his personal
18                      space.
19                      Mr. Owens was placed on FO --
20                  Frequent obs; right?          That's what that
21     stands for?
22                  A      Yes.
23                  Q      For UBP, what does that stand for?
24                  A      Unpredictable behavior.


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                                                                        Page 177
 1                  Q      Due to increase -- that's an up
 2     arrow -- in psychosis; correct?
 3                  A      Yes.
 4                  Q      So he has been put on the new meds
 5     on the 9th -- Is this the 9th?             Let's just go back
 6     and check it.
 7                  June 9, 11:45 a.m., he has the first
 8     dose in new medications.
 9                  And then on June 10 at 10:00 a.m. he has
10     an incident reported by a peer; correct?
11                  A      Yes.
12                  Q      Then it looks like there is more
13     things happening on June 10.            You know, the
14     nursing note at 2:30 p.m. says:
15                      Special precaution for unpredictable
16                      behavior due to increase in psychosis.
17                  So he was placed on frequent obs.
18                  They are just documenting everything
19     they are doing because right now he appears to be
20     having some trouble; right?
21                  A      Yes.
22                  Q      Then there is a lengthy social
23     worker note and it appears as if -- the note
24     begins here or -- right?


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                                                                        Page 178
 1                  So this note -- and I will go to the
 2     page after it because there is more social worker
 3     note continued here.
 4                  And then there is an STA note on June 10
 5     in the evening.
 6                  But there's two social worker notes and
 7     it doesn't look like we have the beginning of this
 8     note; does it?
 9                  A      Yeah.
10                  Q      There is probably a page missing
11     again; right?
12                  A      Yes.
13                  Q      Actually, if we go to the end of
14     this note, on the second page it looks like this
15     was definitely handwritten by Christy Lenhardt on
16     June 10 at 5:00 p.m.?
17                  A      Yes.
18                  Q      She is saying -- At least from when
19     we can pick up it says:
20                      Reach here.     This writer spoke to his --
21                  A      Father.
22                  Q      -- father briefly on Monday 6-9,
23                      "for a longer period today, Tuesday."
24                  So does this now help with the social


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                                                                        Page 179
 1     worker intern note of the receipt of the phone
 2     call from the father; that it would have been
 3     Christy Lenhardt who received the call?
 4                  Does it appear that way from the
 5     records?
 6                  A      Yes.
 7                  Q      It says:
 8                      For a longer period today, Tuesday,
 9                      6-10-14.
10                         So it appears as if she spoke to
11           him briefly on Monday and then "for a longer
12           period today, Tuesday, 6-10."
13                         So his father called again on
14           June 10; right?
15                  A      Yes.
16                  Q      It says:
17                      Mr. Owens, Sr. reported he tried to find
18                      out what was going on with his son
19                      related to his individual meetings but
20                      was unable to get a response from him.
21                  So doctor, what is an individual
22     meeting?
23                  Is that a social work meeting?
24                  A      That is what she is referring to in


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                                                                        Page 180
 1     this note related to his individual meeting.
 2                  Q      Well, you have individual meetings
 3     with him.
 4                  Could it have been his meetings with
 5     you?
 6                  A      Yes.
 7                  Q      So it could have been; right?
 8                  A      Yes.
 9                  Q      But he didn't actually complain on
10     Monday that he was uncomfortable meeting with his
11     psychiatrist?
12                  He complained that he was uncomfortable
13     meeting with his social worker; right?
14                  I mean, we can go back to the other
15     exhibit.     I think that's exactly what it says.
16                  A      Yes, social worker staff.
17                  Q      Social worker staff.
18                  But he didn't say psychiatrist; right?
19                  A      No.
20                  Q      And he didn't say activity
21     therapist?
22                  A      No.
23                  Q      He didn't say psychologist?
24                  A      No.


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                                                                        Page 181
 1                  Q      He said social worker; right?
 2                  A      Yes.
 3                  Q      And now, he is saying individual
 4     meetings, but he is unable to get a response from
 5     Mark.
 6                  And my question is, doesn't individual
 7     meetings mean here, the individual meetings he is
 8     having with his social worker?
 9                  A      I don't get what you are trying to
10     ask me.
11                  Q      Do activity therapists have
12     individual sessions with patients?
13                  A      Yes.
14                  Q      And are they alone in the activity
15     therapist's office?
16                  A      Possible, at times, yes.
17                  Q      So activity therapists can have
18     one-on-one sessions alone with the patient in the
19     activity therapist's office?
20                  A      If the patient wants to meet with
21     them or wants to do an activity with them,
22     possible.
23                  Q      So if we were qualifying when you
24     said social worker staff, are you suggesting that


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                                                                        Page 182
 1     the report earlier was not related to social
 2     worker; that it was perhaps another member of
 3     staff, like an activity therapist or a
 4     psychologist?
 5                  A      Or social worker intern.           It could
 6     be anyone.
 7                  Q      Who has the most frequent
 8     individual meetings one on one with any patient at
 9     any given time on a forensic unit?
10                  A      It's social work.
11                  But if they have any specific issues
12     that a psychologist is assigned to work with them,
13     like behavior intervention or behavior plan, where
14     they need more one-to-one work, then sometimes the
15     psychologist would meet with them individually too
16     for individual therapy.
17                  Q      Was Mark assigned to a psychologist
18     for that reason at this time in 2014?
19                  A      I don't recall exactly in 2014.
20                  But he did have individual sessions with
21     Dr. Larson, because he was having a lot of
22     problems getting in trouble with his peers,
23     getting in trouble when he was out playing
24     basketball.      So he did develop behavior plan and


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                                                                        Page 183
 1     he worked with Dr. Larson.
 2                  Q      So doctor, on June 10, 2014, when
 3     Christy Lenhardt wrote this note and for the six
 4     months we have seen prior, are you suggesting that
 5     psychology was assigned to Mark for this type of
 6     therapy?
 7                  A      I don't think so, no.
 8                  Q      We can go through all the notes
 9     again.    I don't think there was but one note from
10     a psychologist in six months in his chart.
11                  I am just asking whether or not Mark was
12     assigned up until June 14 -- or June 10, 2014 for
13     this type of therapy from a psychologist at Elgin?
14                  A      No.
15                  Q      He wasn't; was he?
16                  A      No.
17                  Q      So individual therapy here doesn't
18     mean a psychologist; does it?
19                  A      In this note, no.
20                  Q      So what does that mean?
21                  It means a social worker; doesn't it?
22                  A      Yes, yes.
23                  Q      So right now the father has called
24     and he says he is unable to get a response from


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                                                                        Page 184
 1     Mark related to his individual meetings; correct?
 2                  A      Yes.
 3                  Q      Did you ever hear that from -- Let
 4     me back up.
 5                  You had a conversation with Mark about
 6     the fact that he wanted to meet in open areas;
 7     correct?
 8                  A      Yes.
 9                  Q      And were you aware that his father
10     had called twice in two days in June of 2014
11     asking what's going on with his social work or his
12     individual therapies?
13                  A      I don't recall.
14                  Q      Did you ever have occasion to
15     review Mark's chart and Christy Lenhardt's notes
16     on this?
17                  A      Not in this much detail, no.
18                  Q      Christy goes on to report about the
19     father, she says:
20                      The father acknowledged their phone
21                      call.     The last few days have been
22                      different.     The dad described patient as
23                      loose, tangentious --
24                  A      Tangential.


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                                                                        Page 185
 1                  Q      -- tangential and nonsensical.
 2                      Mr. Mark Owens, Sr. said he received
 3                      phone calls from patient's mom, that mom
 4                      was upset and doesn't acknowledge their
 5                      son's illness and believe that there is
 6                      a conspiracy.
 7                      Per the father, the mother said that
 8                      Mark told his grandmother he is dying
 9                      and his penis is in the trash.
10                      Mark Owens' mother, LaTonya O'Neal, left
11                      message requesting to know what is going
12                      on with her son because he was acting
13                      strange.
14                      Before this writer could return her
15                      phone call Ms. O'Neal called this social
16                      worker and explained --
17                         it says -- for something -- looks
18           like -- for the -- and then this is
19           continued --
20                  Not sure that this sentence makes sense
21     to me but I am reading exactly what I see there.
22     Correct me if I am wrong.
23                      -- for the -- he wants his son to
24                      cooperate with treatment and take the


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                                                                        Page 186
 1                      requested medication.
 2                      He asked for patient to call him but
 3                      after several attempts patient refused
 4                      to call his dad back.
 5                      Observed Mr. Owens for the past two
 6                      hours or more:
 7                      Mr. Owens has moved from one end of the
 8                      unit to the other.        Sat on a table
 9                      making odd and bizarre gestures with
10                      face, hands and arms.         Sat in chairs
11                      with hand covering his eyes.           Jumped in
12                      the air as if playing basketball.
13                      When the writer spoke to patient he
14                      said:
15                      Tell my dad I am sleeping.
16                      Then said something about his computer
17                      work which effects his feet.
18                      The rest of his conversation was hard to
19                      follow and nonsensical.          So continue to
20                      monitor and work with family, as
21                      necessary.
22                  Is that a fair reading of these two
23     pages of notes?
24                  A      Yes.


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                                                                        Page 187
 1                  Q      Did Mark Owens ever relate to you
 2     that Christy Owens -- Christy Lenhardt grabbed his
 3     chair between his legs and pulled his chair toward
 4     her so that their knees could be touching?
 5                  A      No.
 6                  Q      Did she ever relate to you that she
 7     told him words to the effect:
 8                      If I don't get what I want you are never
 9                      going to get out of here.
10                  A      No.
11                  Q      Did Mark ever relate that
12     information to you?
13                  A      No.
14                  Q      So when Mark was relating to you
15     that he was uncomfortable being around staff or
16     wanted to be in the open area and was to
17     attempting to communicate this concern to you,
18     what did you think of his concern?
19                  A      I specifically asked him what was
20     it about being in the offices that was making him
21     uncomfortable, but he couldn't really verbalize
22     that.    He just said:
23                      I don't want to meet in closed spaces.
24                      I don't want to meet in closed spaces.


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                                                                        Page 188
 1                  Q      So when you had this conversation
 2     with Mark, were you in the -- were you in the day
 3     room?
 4                  A      I believe I was in the conference
 5     room which is in the day room.
 6                  Q      And was Christy Lenhardt present?
 7                  A      No.
 8                  Q      Was anyone else present?
 9                  A      The rest of the staff and patients
10     were in the day room.
11                  Q      And had you deliberately gone to
12     see Mark to have that conversation?
13                  A      No.
14                  He asked to talk to me.
15                  Q      So were you just walking by and he
16     said:
17                      Hey, I would like to talk to you for a
18                      minute.
19                  A      I don't recall exactly the context
20     of how.    But he did approach me and said:
21                      I want to talk to you.
22                  So I don't recall if I was in my office
23     or I was in the day room but he asked to speak
24     with me and he said -- and that's what he relayed


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                                                                        Page 189
 1     to me.
 2                         MR. CECALA:      Okay.     Hold on one
 3     second.
 4                      (Whereupon off-the-record
 5                        proceedings were had).
 6     BY MR. CECALA:
 7                  Q      Okay.    I am going to go through
 8     these.
 9                  There is this June 10 report where his
10     father got a second call.
11                  And as I go through these quickly I
12     don't know if you have -- Let me shrink it a
13     little more.
14                  So we are still on June 10 being
15     monitored for unpredictable behavior.
16                  I don't want to go through all of the
17     notes because I just want to see what -- when we
18     get to the other incidents, there is a
19     psychiatrist note here on June 11, which is your
20     note.
21                  And in fact, why don't you just read the
22     first sentence of this note to see what's
23     happening with Mark.         You can read it out loud if
24     you don't mind.


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                                                                        Page 190
 1                  A      Okay.
 2                      There is marked deterioration in the
 3                      level of functioning.
 4                  This is continued, so I don't know what
 5     I said prior.
 6                  Q      Okay.    So hold on.       There is
 7     another missing page?
 8                  A      Yeah.
 9                  Q      I mean, let me ask you this,
10     doctor:
11                  Do you find it unusual that during this
12     particular period of time there is so many missing
13     chart notes --
14                  A      I am assuming this is what's
15     happening because they are on both sides.                 Did
16     somebody just do one side of these pages?                 I don't
17     know.
18                  That could be my only explanation
19     because how could there be so many pages missing?
20     One page I could understand.            But anyway, let me
21     just read:
22                      There is marked deterioration in the
23                      level of functioning.
24                      Patient reading loudly in his room when


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                                                                        Page 191
 1                    standing in the middle of the room.                Bad
 2                    body odor.       Needed help with his
 3                    laundry, which is not the norm.               He is
 4                    usually very proper, clean and takes
 5                    care of his ADLs.
 6                    Paranoid and guarded.           Does not want to
 7                    meet with staff in the conference room.
 8                    Consistently refusing to discuss
 9                    different medication options.
10                    When this writer requested to talk to
11                    him and offered him to take
12                    antipsychotic or antianxiety medication
13                    patient stated:
14                    Doc, no disrespect, but no more
15                    medication.
16                    Patient refused his Aripiprazole this
17                    a.m.     Is selectively mute and nonverbal
18                    most of the time while responding to
19                    staff.
20                    Staff also noticed patient responding to
21                    internal stimuli.         Thoughts are
22                    disorganized and loose.
23                    Plan:     Continue frequent observation for
24                    unpredictable behavior due to increase


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                                                                        Page 192
 1                      in psychosis, and also unable to assess
 2                      patient, as he is not communicating.
 3                      File petition for enforced meds.
 4                      Patient is not responding to Lithium
 5                      Carbonate.     Only continue to provide
 6                      support.
 7                  Q       That's your signature at the end of
 8     the page; right?
 9                  A       Yes.
10                  Q       It appears again here.         It says:
11                      Notes continued by nursing.
12                  It appears to be there is a missing
13     page.    But again, we are just going to go through
14     this rather quickly so I can get to the point on
15     this.
16                  We have another social worker note by
17     Christy on June 11.         You know, it's more trouble
18     for Mark.        It says here:
19                      Odd behavior, walking in common area
20                      with his hands slightly out, as if
21                      walking on a balance beam, head down at
22                      one point, a foot from social worker
23                      intern stopping -- stepping aside,
24                      continues to walk the invisible line.


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                                                                        Page 193
 1                  So he is exhibiting some really odd
 2     behavior here; right, doctor?
 3                  A      Yes.
 4                  Q      And then on 6-11 there is another
 5     social worker note:
 6                      He was observed throughout the day in
 7                      various places on the unit.           He is
 8                      mostly mute.      He is engaging in strange
 9                      movements.
10                         And it goes on.        I mean, he is --
11           Obviously something is happening to Mark;
12           right?
13                  A      Yes.
14                  Q      And then we have the next day is
15     another -- it looks like it's a nursing note.
16                  Looks like there is a psychiatric note
17     on June 18.       I am not sure if that's deliberately
18     crossed out or I am not sure that that means
19     anything right now because I don't think it's
20     significant to any of the activity happening
21     anyway.
22                  And then on -- Looks like some of these
23     are --
24                  June 12, during breakfast he became loud


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                                                                        Page 194
 1     and agitated.
 2                  So I don't have to go through it.               They
 3     start with this most often -- You know on 6-12:
 4                      This writer observed Mr. Owens during
 5                      a.m. community meeting.          At 8:15 he was
 6                      observed making bizarre hand gestures.
 7                  That's the first line of that note,
 8     6-12.    Later:
 9                      Mr. Owens was being agitated and placing
10                      himself in --
11                  A      Harms sway.
12                  Q      -- harm's way.
13                  Then the next page, you know, special
14     precaution for unpredictable behavior again.
15                  STA notes here.        Doesn't look like this
16     is Christy's handwriting but the first one says:
17                      Mr. Owens was stating -- nursing station
18                      stated -- I am going to be all right,
19                      referring to himself.         Nurse was
20                      informed of the situation.
21                  Now we've got June 12, another social
22     worker note.       Very voluminous.        I don't think we
23     need to go through it, but this social worker note
24     is an entire page:


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                                                                        Page 195
 1                      But was something --
 2                         And then there is no -- then we are
 3             missing pages.
 4                  And then on June 13 -- We are still only
 5     at June 13.       In three days all of these notes are
 6     happening; there is an RN note, an RN note.
 7                  Am I summarizing this correctly, doctor?
 8                  A      Yes.
 9                  Q      This then there is a doctor's note
10     and another nursing note on the 13th.
11                  Do you see that?
12                  And by the -- Let me just go down a few.
13     It would appear -- I am just going to pick these
14     out now.
15                  There is this increase in psychosis
16     looks like during June.
17                  Still in August there is a social worker
18     note:
19                      Mr. Owens talked about his desire to be
20                      released.
21                  This is Bates stamp 8793.
22                      In final session with social work
23                      intern.
24                  So the social worker intern is leaving


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                                                                        Page 196
 1     now.
 2                      Mr. Owens talked about his desire to be
 3                      released to be able to start a new life
 4                      hopefully with a woman he is
 5                      communicating with that he has known
 6                      throughout childhood.         He talked about
 7                      how he feels like he owes her.
 8                  In any case, it's another social worker
 9     note.    There is not psychosis in this note.                It's
10     a matter of he is now discussing his personal life
11     and at the very bottom he says:
12                      He reiterated that he needs to put
13                      recovery over that of romantic
14                      relationships.
15                  Do you see that note, doctor?
16                  A      Yes.
17                  Q      There is some woman:
18                      Owens agreed that stating it's true they
19                      have not seen each other since 2011 and
20                      things may be different in person.
21                  And this is in 2014, so it's three years
22     later; right?
23                  A      Yes.
24                  Q      Okay.    So in this chart we have now


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                                                                        Page 197
 1     gotten to September 2.          So this next one will be a
 2     little faster.
 3                  So we left off in September in the last
 4     sequence of notes.         So this is a 40 page exhibit.
 5     It's No. 15.      Again, it's a continuation of the
 6     chart notes for Mark Owens.
 7                                ( Exhibit 15 marked.)
 8     BY MR. CECALA:
 9                  Q      So here again, we have another
10     intern, it looks like, but I am not sure, because
11     I think this is just intervention social work.
12                  And this looks to be a note on the end
13     of the third page signed by Christy Lenhardt, so
14     this wouldn't have been an intern; right?
15                  This is all in Christy's handwriting;
16     correct?
17                  A      Yes, looks like that.
18                  Q      We could go in -- I could go
19     through the note but I just want to make note that
20     the social worker on September 3 has written a
21     three page note on Mr. Owens; right?
22                  A      Yes.
23                  Q      And then again on September 5, it
24     looks like there is another Christy note, you


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                                                                         Page 198
 1     know:
 2                  He is having eye rolling while playing
 3     basketball.
 4                  But the note begins here on Page 8801
 5     and it goes on to 8802 and finishes.
 6                  It's two full pages; right?
 7                  A      Yes.
 8                  Q      Then there is another psychiatrist
 9     note.    Nursing note.       That was September 5.
10                  And then on September 12 there is
11     another social worker note.            It actually begins on
12     Page 8805:
13                      Mr. Owens met with the writer for his
14                      individual session this afternoon.
15                      Initially maintained appropriate eye
16                      contact.    Discussed hospital meals.
17                  So this note begins on this page.               It
18     goes this full next page and it continues on yet
19     another three pages and it goes two lines on to
20     the next page.
21                  Almost a four-page note form Christy
22     Lenhardt; correct?
23                  A      Yes.
24                  Q      Then a psychiatrist's note.


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                                                                        Page 199
 1                  And this is this period of time where it
 2     appears like he is having some type of trouble on
 3     the basketball court.
 4                  We are up to November 25, where there is
 5     a psychiatrist note.         So we have gone from
 6     September to November with some of those very
 7     lengthy notes.
 8                  You are seeing that -- What I am trying
 9     to point out is the frequency of the social worker
10     notes and the length.
11                  Yeah, I am sorry, it's 10-28 so that
12     would have been earlier.
13                  11-3, 11-5, 11-6, 11-15 of 2014,
14     December, 2014.
15                  December 19 there is another social
16     worker note:
17                    Mr. Owens attended his treatment plan
18                    meeting.      Presented as somewhat
19                    frustrated.       Pushed the papers away
20                    after he signed them.
21                    Talked about recent incidents.              Said it
22                    did not affect him.          And he reported he
23                    is tired of being here and dealing with
24                    other patients and their behavior.


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                                                                          Page 200
 1                  So this is a social worker note that
 2     begins on Page 8821 and it carries on to 8822 and
 3     it ends on 8823.        It's a very lengthy social
 4     worker note by Christy Lenhardt.
 5                  Do you see that, doctor?
 6                  A      Yes.
 7                  Q      Then again, a social worker note on
 8     January 2, 2015.        The social worker note written
 9     by Christy Lenhardt and signed at the bottom
10     there.    It says:
11                      Mr. Owens came into conference room and
12                      stated:
13                      I just want to assure you that this
14                      occurred because of the question.             I
15                      asked him a question, see note above.
16                  Again, he is having some incidents with
17     peers.
18                  This note goes on, on January 2, 2015.
19     Again it's another full page and it carries itself
20     onto from Page 8826 to 8827 at the top.
21                  Do you see that?
22                  A      Yes.
23                  Q      There an injury report which
24     doesn't appear to be a social worker note on


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                                                                        Page 201
 1     Page 8828.
 2                  Lengthy RN note on 8831.
 3                  I am still looking.         Here is a social
 4     worker note.
 5                  So on January 5, 2015 there is a social
 6     worker note by Christy Lenhardt:
 7                      Mr. Owens called in to see the treatment
 8                      team regarding two separate issues.              The
 9                      first involves what occurred medically
10                      over the weekend, "I am just trying to
11                      figure out what happened."
12                      Dr. Javed provided medication education
13                      about whether the medical issues have to
14                      do with his medication.
15                      Mr. Owens was questioned about --
16                  A      Whether he.
17                  Q      -- whether he is eating his meals
18     and staying properly hydrated.
19                  Again this is Page 8836 is when the
20     social worker note begins.           Talks about him
21     drinking water.
22                  There is another full page of Christy
23     Lenhardt regarding -- This is the page I am
24     looking for.       So in the middle of the Page 8837 it


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                                                                        Page 202
 1     says:
 2                      Mr. Owens handled feedback well and
 3                      responded appropriately.          He --
 4                  A      Verbalize.
 5                  Q      Verbalize.
 6                      -- verbalized his understanding of
 7                      treatment team feedback related to his
 8                      recent attitude towards treatment and
 9                      treatment progress.
10                      Mr. Owens agreed that he would need to
11                      move on --
12                         I am sorry.
13                      -- work on this.
14                      Mr. Owens was then asked to participate
15                      in a meeting with unit peers to prepare
16                      for the return of a peer BH.
17                  I believe that's Ben Hurt?
18                  A      Yes.
19                  Q      So at some point there was a period
20     of time when both Ben Hurt, in 2014/early 2015 --
21     Ben Hurt arrived at Elgin in July of 2014.
22                  So during that six month period up until
23     this date, January 5, both Ben Hurt and Mark Owens
24     were your patients; correct?


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                                                                        Page 203
 1                  A       Yes.
 2                  Q       And both Ben Hurt and Mark Owens
 3     had Christy Lenhardt for a social worker; correct?
 4                  A       Yes.
 5                  Q       Then it says:
 6                      They participated in a meeting with Ben.
 7                  So here is his first interaction between
 8     Mark and Ben, and Christy is mentioning it in a
 9     social worker note.
10                  It looks like Ben was coming back from
11     the unit.        I think he had had a fight and he was
12     coming back.       We are going to go through that.
13                  So up until January 5, 2015 we have
14     Christy Lenhardt writing fairly voluminous social
15     worker notes on a regular basis.
16                  Would you agree with that, doctor?
17                  A       Yes.
18                  Q       The last social worker note from
19     Christy right there is on January 5, 2015.
20                          MR. CECALA:     I will show you
21     another exhibit now which is Exhibit No. 16.
22                                 ( Exhibit 16 marked.)
23     BY MR. CECALA:
24                  Q       So this also is on January 5, 2015.


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                                                                        Page 204
 1     There is a nursing note.
 2                  I want to look through there, doctor, to
 3     see from January 5, 2015, in this left-hand
 4     column, if we can identify any social worker note,
 5     when the next social worker note is; okay?
 6                  A      Okay.
 7                  Q      So January 5, there is no social
 8     worker notes on this page; right?
 9                  A      No.
10                  Q      How about Page 8839?
11                  A      No.
12                  Q      8840?
13                  A      No.
14                  Q      How about 8841?
15                  A      No.
16                  Q      How about 42?
17                  A      No.
18                  Q      43, do you see any?
19                  A      No.
20                  Q      Is that a social worker note?
21                  A      No, probably security therapy aide,
22     STA.
23                  Q      So that's not a social worker note?
24                  A      No.


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                                                                        Page 205
 1                  Q      How about Page 8845?
 2                  A      No.
 3                  Q      8846?
 4                  A      No.
 5                  Q      8847?
 6                  A      No.
 7                  Q      8848?
 8                  A      No.
 9                  Q      8849?
10                  A      No.
11                  Q      8850?
12                  A      No.
13                  Q      8851?
14                  A      No.
15                  Q      8852?
16                  A      No.
17                  Q      8853?
18                  A      No.
19                  Q      8854?
20                  A      No.
21                  Q      55?
22                  A      No.
23                  Q      8856?
24                  A      No.


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                                                                          Page 206
 1                  Q      57?
 2                  A      No.
 3                  Q      58?
 4                  A      No.
 5                  Q      59.
 6                  A      No.
 7                  Q      60?
 8                  A      No.
 9                  Q      61?
10                  A      No.
11                  Q      What about here, 62?
12                  A      No.
13                  Q      63?
14                  A      No.
15                  Q      64?
16                  It looks like a social work note; right?
17                  A      Yes.
18                  Q      That's July 17, 2015 at 1446.             It
19     looks like a social work note from Florence Young;
20     is that correct?
21                  A      Yes, the top is from Florence
22     Young.
23                  And bottom is from Bob Hamlin.
24                  Q      Right.


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                                                                        Page 207
 1                  So there's two social workers in July of
 2     2015; right?
 3                  A      Yes.
 4                  Q      So can you explain why after all
 5     those voluminous, frequent notes from Christy
 6     Lenhardt, from January 5 to July 17, Mr. Owens
 7     doesn't have a single note entry from any social
 8     worker?
 9                  You have to answer verbally.
10                  A      I am thinking.
11                  Q      I am sorry, you were shaking your
12     no.
13                  A      I am just reading what is in here.
14                  Q      Okay.    Thank you.
15                  A      There is no note.
16                  Q      No, I know there is no note from
17     January 5 to July 17.          My question is:
18                  Can you explain why from January 5, 2015
19     until July 17, 2015 there is not a single social
20     worker entry note in Mark Owens' chart?
21                  A      I don't have an answer for that.
22                  Q      Well, you were his psychiatrist.
23                  Is there any explanation that a patient
24     would go nearly seven months without any social


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                                                                          Page 208
 1     worker interaction and social work sessions?
 2                  A      I am thinking, is this the time he
 3     was moved?
 4                  Q      No.
 5                  He is on your unit.         We have just seen
 6     six, seven month of notes from you, Dr. Kareemi --
 7     I am sorry -- Dr. Javed.
 8                  A      I don't know why there are no
 9     notes.
10                  Q      Did you ever discuss with Mark
11     Owens, after the phone calls from his parents,
12     whether he wanted to have Christy Lenhardt
13     continue to be his social worker?
14                  A      I don't remember.
15                  Q      Do you recall him telling you that
16     his sensibilities about being alone with Christy
17     were disturbing to him and he didn't want her as
18     his social worker?
19                  A      I don't think he mentioned or named
20     Christy, being uncomfortable with Christy.
21                  What I recall from my conversation was
22     he didn't want to be in -- seen in offices.                  But
23     he didn't say specifically that he does not want
24     to work with Christy.


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                                                                        Page 209
 1                  Q      Right.
 2                  Well, he didn't want to be seen in
 3     offices, but for nearly seven months he saw his
 4     psychiatrist; correct?
 5                  A      Yes.
 6                  Q      He saw his psychologist; correct?
 7                  A      Yes.
 8                  Q      He saw multiple nursing staff;
 9     correct?
10                  A      Yes.
11                  Q      He saw activity therapists;
12     correct?
13                  A      Yes.
14                  Q      It seems the only person he was no
15     longer seeing was his social worker for seven
16     months; isn't that correct?
17                  A      That's what is apparent from the
18     documentation.
19                  Q      And during this period of time
20     Christy Lenhardt was his social worker; right?
21                  A      Yes.
22                  Q      At least up until July 17, 2015,
23     when for the first time Florence Young appears to
24     make an entry in his chart as a social worker;


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                                                                        Page 210
 1     right?
 2                  A      Yes.
 3                  Q      So you don't have any explanation
 4     as to why Christy Lenhardt was no longer
 5     behaving -- being his social worker for those
 6     seven months?
 7                  A      My feeling is that he was not -- he
 8     did not want to meet with her or doing any sort of
 9     therapy with her at the time and he was going
10     through a phase of being very psychotic and
11     unstable and therapy was not going to be
12     beneficial.
13                  I do believe during that time I noticed
14     there were notes from Dr. Larson.              So maybe she
15     was meeting with him?
16                  Q      Well, if Dr. Larson was meeting
17     with him as a psychologist, isn't that therapy?
18                  A      Yes.
19                         MR. CECALA:      Give me one minute.
20                  (Whereupon a recess was had).
21                         MR. CECALA:      Back on the record.
22                  So, doctor, I am going to try to go
23     quickly so we can make sure we are not running out
24     of time.


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                                                                        Page 211
 1                  I am showing you now an exhibit which is
 2     Exhibit No. 6.       It's 48 pages.        It begins with
 3     Bates stamped 14018 and it goes through to 14065.
 4                                ( Exhibit 6 marked.)
 5     BY MR. CECALA:
 6                  Q      These are chart notes from Benahdam
 7     Hurt.
 8                  Do you see the label there?
 9                  A      Yes.
10                  Q      So these chart notes begin -- Ben
11     was admitted to the hospital in July of 2014 but
12     the chart notes I am interested in begin on
13     December 10 of 2014.
14                  And it looks like there is a nursing
15     note on this day.          I am not sure it's that
16     significant because it's just at the top of the
17     page.
18                  But on December 11 is the note I am
19     looking at, which is -- I am not sure who the
20     signature is at the bottom and I am not sure what
21     staff they are, but it's December 11, 2014 at 2000
22     hours.
23                  Do you see that?
24                  A      Yes.


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                                                                        Page 212
 1                  Q         Then it says:
 2                      Altercation between -- looks like --
 3                      Marlin and Ben banging on each other's
 4                      doors?
 5                  A         Yes.
 6                  Q         It says:
 7                      Marlin walked away, Ben came to me and
 8                      said:
 9                      I know he is telling lies but he came to
10                      my door before the gym.          I didn't start
11                      it.
12                      I then told Ben, keep his distance and
13                      everything will be okay.
14                  Do you see that note?
15                  A         Yes.
16                  Q         So there is some trouble happening.
17                  And then the next page is again
18     12-11-14.        It's a bit of an overlap right at the
19     end here.
20                  You also have Mark as your patient but
21     again we are turning to Ben right now; right?
22                  And it says at the top of the nursing
23     note:
24                      Patient appears to be paranoid to


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                                                                        Page 213
 1                      others.    According to STA he accused
 2                      another patient of going to his room but
 3                      the other denies it.
 4                  I mean, so there is a start of an
 5     incident on 2011 -- 2010.           2011 now there is
 6     another incident.
 7                  I am going to go to the next page.               This
 8     is December 14, 2014.          It looks like there is
 9     another nursing note, MOD note, another nursing
10     note on the 2014, December 14 through the 16th.
11     Again, nursing note on December 14, 2014.
12                  So he is having some issue with a peer.
13                  So 2014 there is an entry where it says:
14                      Patient moved from L Unit.
15                  Do you see that at the top of this
16     Page 14022?
17                  A      Yes.
18                  Q      It says:
19                      Patient moved from L Unit due to
20                      altercation with peer.         Started on FO
21                      for --
22                         Looks like.
23                      -- unpredictable behavior and
24                      aggression.


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                                                                        Page 214
 1                         Right?
 2                  A      Yes.
 3                  Q      Is this your note here?
 4                  A      Yes.
 5                  Q      The one after that:
 6                      Increase in psychosis, aggressive
 7                      behavior.
 8                  A      Yes.
 9                  Q      So it appears that Ben got into a
10     fight and he was the aggressor and he was moved
11     from L Unit; right?
12                  A      Yes.
13                  Q      Then on 2015 there is another -- I
14     am sorry -- 12-15-14, there is another
15     psychiatrist note in the middle of the page.
16                  Is that your note?
17                  A      Yes.
18                  Q      So he has been moved from L on
19     12-14 and on 2015 you are still his -- 12-15 you
20     are still his treating psychiatrist; is that
21     correct?
22                  You would have been writing the note,
23     even though he wasn't on your unit; right?
24                  A      I believe the understanding was,


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                                                                        Page 215
 1     because it was a temporary move, that I was -- I
 2     had to continue to follow him even though he was
 3     on K.
 4                  Q      Okay.    So he was now on K; you
 5     recall this; right?
 6                  A      Yes.
 7                  Q      Then it looks like the note
 8     continues on 12-15-14?
 9                  A      Yes.
10                  Q      This is all your note.
11                  But he is on K at that time; right?
12                  A      Yes.
13                  Q      Again, another psychiatrist note,
14     12-15-14, and it looks like he is still on K.
15                  In fact on December 15, 2014 there is a
16     social work note.
17                  Looks like it's written by Bob Hamlin;
18     right?
19                  A      Yeah.
20                  Q      At the bottom of this page?
21                  A      Yes.
22                  Q      So Bob Hamlin was Ben's social
23     worker the day he was moved to the K Unit; right?
24                  A      Yes, that's how it --


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                                                                        Page 216
 1                  Q       It appears that way from the chart?
 2                  A       Yes.
 3                  Q       You continued to be his
 4     psychiatrist but Christy Lenhardt, who had been
 5     his social worker, was not going to be his social
 6     worker during that time; right?
 7                  A       Yes.
 8                  Q       These are all K Unit notes, even
 9     though on 12-17 you are still writing the
10     psychiatric notes?
11                  A       If you look at the page before it
12     says L at the bottom, so I don't know, Unit L.
13                  Q       Unit L is his -- This is a
14     preprinted label.
15                  A       Okay.
16                  Q       I just want to get to this page
17     which is Page 14061.
18                  Okay.     So this is Page 14061.          In the
19     middle of the page there is an entry by nursing on
20     January 5, 2015:
21                      Patient being transferred to L module.
22                  So there was this period of time between
23     December 14 and January 5 where Ben had been
24     transferred to K module and then on January 5 he


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                                                                        Page 217
 1     was transferred back to L module.
 2                  Is that what the chart notes would tend
 3     to indicate?
 4                  A      Yes.
 5                  Q      So when the transfer was taking
 6     place Ben was the aggressor; right, if you recall?
 7                  A      There was a fight.         I don't
 8     remember the details or specifics but the patients
 9     were separated, yes.
10                  Q      So I mean, should we go back and
11     look at it?
12                  Do you recall whether Ben was passively
13     sitting there and someone beat him up or whether
14     he was the aggressor, if you recall?
15                  A      I don't recall.
16                  Q      So here is late entry.          It's
17     Page 140289.
18                  So this is late entry on 2015 and it
19     looks like Hurt reported:
20                      Progress.     Hurt reported he believed
21                      that peer EM went to his room, used his
22                      toothbrush.     According to the patient, I
23                      know the smell of his breath which you
24                      could smell on the toothbrush.


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                                                                        Page 218
 1                    He further noted that there was chatter
 2                    about my room and he felt multiple peers
 3                    had entered his room.           He stated he knew
 4                    because his room smelled like gerbil
 5                    fertilizer in parts.
 6                    Mr. Hurt reported he approached the peer
 7                    EM with toothbrushes and told him to
 8                    take them.       He eventually left the
 9                    brushes on the table.
10                    In the dining room, after sitting at
11                    their respective table, Hurt reported
12                    the peer, Looked at me like he wanted to
13                    fight me.
14                    Patient yelled back at peer, Whatever,
15                    man.
16                    Hurt said the peer kept looking at him:
17                    I tried to approach him.            When I walked
18                    toward him from across the dining room
19                    he stood, and I asked him:
20                    You don't want to fight me?
21                    According to Mr. Hurt the peer stated,
22                    posturing and squatting up:
23                    I thought he was going to hit me with
24                    his tray.       I was just being cautious.            I


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                                                                        Page 219
 1                      was trying to be a friend.           I didn't
 2                      strike first.      I tried to defend myself
 3                      because he rushed me.         He hit me in the
 4                      jaw.
 5                  So it appears as if Ben was the
 6     aggressor with the other patient in going up to
 7     him; right?
 8                  A      So I mean, to me it seems like Ben
 9     was hit in the jaw by the other peer.
10                  Am I reading it wrong?
11                  Q      So Mr. Hurt said the peer kept
12     looking at him:
13                      I tried to approach him.          When I walked
14                      toward him from across the dining room
15                      he stood and asked me:
16                      You don't want to fight me.
17                  So Ben walks across the room towards --
18                  A      Yes.
19                  Q      -- towards the other guy.
20                  And the other guy says:
21                      You don't want to fight me.
22                  And according to Mr. Hurt, the peer
23     started posturing and squatting up.               So he was
24     posturing and squatting up.


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                                                                        Page 220
 1                  Ben is thinking:
 2                      Oh, well, I went over to him.            He said
 3                      he don't want to fight me.           Now he gets
 4                      ready.   I thought he was getting ready
 5                      to hit me with his tray, is what Ben
 6                      says.
 7                      I was just being cautious.           I was trying
 8                      to be a friend.       I didn't strike first.
 9                      I tried to defend myself because he
10                      rushed me and hit me in the jaw.
11                  So it looks like Ben goes up to him and
12     Ben picks a fight and then gets punched in the
13     jaw.
14                  A      So Ben was the receiver?           He was
15     not the aggressor at this point?              By the other
16     patient, EM.
17                  Q      We can read the whole thing.             Let's
18     go a bit earlier.         It's pretty clear that, you
19     know, Ben is being treated for aggression here but
20     I want to make sure.
21                  There's a nursing note at the top.               I am
22     just trying to get a note that's easily readable.
23                         MS. JOHNSTON:       Good luck.
24                         MR. CECALA:      Yeah.


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                                                                        Page 221
 1     BY MR. CECALA:
 2                  Q      So this is the note.          I am not sure
 3     if this is your note?
 4                  A      Yes, this is mine.
 5                  Q      Could you read this note?
 6                  A      Yes, I am reading it now.
 7                  Q      Could you read it out loud for the
 8     record?
 9                  A      Yes.
10                      Per Mr. Benahdam Hurt, a peer has been
11                      messing with him, going to his room,
12                      taking his stuff, using his toothbrush,
13                      farting in his room, putting fertilizer
14                      in his room, thus making it smell very
15                      bad.
16                      He started confronting peer, very
17                      suspicious, very guarded and increase
18                      paranoia.     Accusing peers, threatening
19                      peers, provoking peers, instigating
20                      peers, asking patients if they went into
21                      his room and touched his stuff.
22                      Patient is trying to befriend his peers
23                      but due to his active symptoms he is
24                      making everybody around him


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                                                                        Page 222
 1                      uncomfortable and on edge.
 2                      He is able to sense the tension which is
 3                      making him more paranoid and guarded.
 4                      He feels as though no one likes him.
 5                      Although he talks about something in
 6                      getting upset, he does not have the
 7                      skills to appropriately display his
 8                      feelings and emotions, thus creating an
 9                      uncomfortable environment.
10                      Patient believes the peer attacked him
11                      and he reacted in self-defense which is
12                      the --
13                  Q       Exact opposite.
14                  A       -- exact opposite of what the peer
15     is reporting.
16                      Thus patient became very physical and
17                      attacking, using very poor insight and
18                      judgment.
19                  Okay.     Yes.
20                  Q       Right.
21                  So Ben is the aggressor here; right?
22                  A       Yes.
23                  Q       So he was moved off of L to K as
24     the aggressor; right?


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                                                                        Page 223
 1                  A      Yes.
 2                  Q      On January 5, 2015 he was moved
 3     back; right?
 4                  A      Yes.
 5                         MR. CECALA:      So I am going to show
 6     you another exhibit here, which is a restriction
 7     of rights regarding Ben.
 8                  Now, this is the 12 page exhibit,
 9     Exhibit No. 4.       It begins on 16246 to 16257.
10                                ( Exhibit 4 marked.)
11     BY MR. CECALA:
12                  Q      This is all of the restriction of
13     rights that were ever issued to Ben during his
14     time at Elgin.
15                  So this first restriction is on
16     August 22, 2015; is that correct?
17                  A      Yes.
18                  Q      It says:
19                      Patient was exhibiting agitated
20                      behavior, yelling, cursing at a peer and
21                      staff.    Staff wasn't able to verbally
22                      prompt to calm him down.
23                      Patient took PRN medication by mouth
24                      with security present.


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                                                                        Page 224
 1                         Correct?
 2                  A      Yes.
 3                  Q      So then that's just the second page
 4     of the ROR.
 5                  Then there is another one August 29,
 6     2015.    Similar ROR for visitation:
 7                      Patient is on frequent observation for
 8                      increased psychosis and unpredictable
 9                      behavior.     He is undergoing medication
10                      change.
11                  Correct?
12                  A      Yes.
13                  Q      You were his psychiatrist during
14     August of 2015; right?
15                  A      Yes.
16                  Q      That's the second page.
17                  And then the next one isn't until
18     June 30, 2015; right?
19                  A      Yes.
20                  Q      So is there a reason that Ben
21     didn't get a restriction of rights during the
22     December of 2014 incident?
23                  A      The one in which he was aggressive,
24     that one?


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                                                                        Page 225
 1                  Q      Yes.
 2                  A      If he had complied and he followed
 3     what he was asked to do and he was placed on
 4     treatment observation, there would have been no
 5     need to do a restriction of rights.
 6                  Q      That's my question:
 7                  It would have been unnecessary; right?
 8                  A      Yes.
 9                  Q      So restriction of rights is a
10     noncompliance issue; right?
11                  A      Yes.
12                         MR. CECALA:      This is Exhibit No. 7.
13                                ( Exhibit 7 marked.)
14     BY MR. CECALA:
15                  Q      We actually had talked about this
16     earlier today.       This starts at Bates stamp 15394
17     and goes all the way to 15423.             It's a 30 page
18     exhibit.     It's the comprehensive psych evaluations
19     of Mr. Hurt.
20                  Do you see that, doctor?
21                  A      Yes.
22                  Q      Are you familiar with these
23     reports?
24                  A      Yes.


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                                                                        Page 226
 1                  Q      This evaluation was created, it
 2     looks like -- There is no date on this first page
 3     but let's go to the next page.
 4                  So that is a psych evaluation on
 5     July 16, 2014; correct?
 6                  A      Yes.
 7                  Q      Ben had just arrived.
 8                  So this would have been his first
 9     evaluation after he arrived; correct?
10                  A      Yes.
11                  Q      So in this evaluation on Page
12     15399, there is Paragraphs F and G on this page.
13                  Do you see those paragraphs, doctor?
14                  A      Yes.
15                  Q      Do you remember preparing this
16     report?
17                  A      Yes.
18                  Q      Is this the one that's in your
19     folder?
20                  A      We are talking about --
21                  Q      You have a folder in your office
22     with the psychological evaluation.
23                  Is this the one that you have?
24                  A      We were talking about Mark Owens.


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                                                                        Page 227
 1                  Q      Oh, it's Mark Owens' psychological
 2     evaluation you have in your office?
 3                  A      Yes.
 4                  Q      Okay.    Fine.
 5                  So it isn't this one --
 6                  A      No.
 7                  Q      -- I guess is the answer; okay.
 8     Great.
 9                  So if you look at Paragraph F, it says:
10                      Risk factors for restraint use.
11                  Correct?
12                  A      Yes.
13                  Q      This is restraints both for
14     transportation and in the hospital or is this just
15     for transportation?
16                  A      No, this is for restraints if they
17     need physical restraints.
18                  Q      If they need physical restraints
19     while a patient is in the hospital; right?
20                  A      While the patient in the hospital,
21     if need be, yes.
22                  Q      So it says:
23                      The patient does not have any physical
24                      trauma, physical or sexual assault or


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                                                                        Page 228
 1                      any other contraindications for
 2                      restraint use.
 3                  So if necessary, restraints are okay;
 4     right?
 5                  A      Yes.
 6                  Q      It says here:
 7                      No physical or sexual assault.
 8                         Which is from an intake which is
 9            determining whether he has been physically or
10            sexually assaulted before; correct?
11                  A      Yes.
12                  Q      And then Paragraph G, Other risk
13     factors:
14                      Arson, elopement, sexual acting out,
15                      restraints, etc.
16                  It says:
17                      The patient has no arson or sexual
18                      acting out.
19                  Correct?
20                  A      At the time of that evaluation,
21     yes.
22                  Q      Correct.
23                  So on Page 15401, like I said, that's
24     your signature; right, on that report?


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                                                                          Page 229
 1                  A      Yes.
 2                  Q      Then there is another report.             It
 3     doesn't appear as if your name appears on the
 4     front page but it begins 15401 and it goes to
 5     151408.
 6                  Is that your signature there?
 7                  A      Yes.
 8                  Q      And goes to 15408.
 9                  Is that your signature there?
10                  Do you remember signing this on that
11     date?
12                  A      Yes.
13                  Q      So in this there is now a record of
14     Ben having been in the hospital at Elgin; right?
15                  A      Yes.
16                  Q      It looks like that record is on
17     page -- Well, it starts on 1504, the bottom, No.
18     10, Hospital Course; right?
19                  A      Yes.
20                  Q      So it's describing -- You know, he
21     was focused on his medication since the first
22     week.
23                  So he has been there a year now; right?
24                  A      Yes.


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                                                                        Page 230
 1                  Q      He still was reporting excessive
 2     drooling and was started on -- it looks like he
 3     was started on Benzos and gradually --
 4                  A      No, that's not Benzo.
 5                  That's Benztropine.
 6                  Q      I am sorry:
 7                      Benztropine and dose was gradually --
 8                  A      Titrated.
 9                  Q      -- titrated to 4 milligrams.
10                  Right?
11                  A      Yes.
12                  Q      Then if you go down it says here,
13     this paragraph here:
14                      Mr. Benahdam struggled to settle into
15                      his new environment.         He acted out more.
16                      He also injured his ankle while playing
17                      basketball.
18                      On 11-29-14 he exposed himself to a
19                      female nurse, who was providing
20                      treatment to his ankle.          He later denied
21                      the incident and had difficulty
22                      accepting the wrongfulness of his
23                      behavior.
24                  Do you see that?


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                                                                        Page 231
 1                  A      Yes.
 2                  Q      As a result of that he was placed
 3     on frequent obs for sexually inappropriate
 4     behavior; is that correct?
 5                  A      Yes.
 6                  Q      Then there was no further sexual
 7     inappropriate behavior noted later.
 8                  And the frequent obs were discontinued
 9     by December, 2014; right?
10                  A      Yes.
11                  Q      Now, are you aware that Christy
12     Lenhardt right around the second week of November
13     had her first incident where she and Ben had
14     kissed in her office?
15                  A      No.
16                  Q      Did Ben ever relate any of that
17     information to you?
18                  A      No.
19                  Q      Did Christy ever relate it?
20                  A      No.
21                  Q      When he arrived, for nearly a year,
22     there wasn't any sexual acting out; was there?
23                  A      No.
24                  Q      Before November 29; right?


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                                                                        Page 232
 1                  A      There was that one incident with
 2     the nurse, yes.
 3                  Q      Right.
 4                  On November 29, 2014 that's the first
 5     time it happens; right?
 6                  A      Yes.
 7                  Q      Okay.    Then on March -- Down here
 8     on March 15, 2015; do you see that?
 9                  A      Yes.
10                  Q      He received a 24 hour loss of
11     privilege for making an inappropriate comment
12     toward female staff?
13                  A      Yes.
14                  Q      Quote:
15                      Nice pants.     That's a nice ass.
16                      When patient was called on the
17                      inappropriateness of his comment he
18                      stated:
19                      Pardon my French.
20                  Do you see that?
21                  A      Yes.
22                  Q      Would you characterize that as
23     inappropriate sexual acting out?
24                  A      That was an inappropriate comment,


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                                                                        Page 233
 1     yes.
 2                  Q      Well --
 3                  A      Not acting out but making
 4     inappropriate sexual comments.
 5                  Q      Okay.    So inappropriate sexual
 6     comments.
 7                  But the prior one, where he is exposing
 8     his penis to the nurse, is that inappropriate
 9     sexual acting out?
10                  A      Yes.
11                  Q      I am going to go down here to again
12     Paragraphs F and G.
13                  Paragraph F hasn't changed from last
14     year; correct?
15                  A      Yes.
16                  Q      Did you think to do any more
17     detailed history of whether Ben was the victim of
18     physical or sexual abuse before he came to Elgin,
19     by this time?
20                  A      No.
21                  Q      So it also says in Paragraph G:
22                      The patient has no arson or sexual
23                      acting out.
24                  Correct?


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                                                                        Page 234
 1                  A      Yes.
 2                  This was an oversight.           I should have
 3     mentioned it again, what had happened, you know,
 4     the incidents that I am putting in his hospital
 5     course.     This should have been updated.             So this
 6     was an oversight on my part.
 7                  Q      Okay.    But it's new; isn't it?
 8                  A      It's new, yes.
 9                  Q      So the next report, there is
10     again -- It says 7-26-16 at 10:20 a.m.
11                  Mr. Hurt was -- You were still his
12     psychiatrist at that time; correct?
13                  A      The record indicates that.
14                  I don't know when he was transferred to
15     K but if he was -- I think he was still on my
16     unit.     I think he was transferred in December or
17     somewhere around that time.
18                  Q      Yeah, that's right.
19                  So in July he was still your patient?
20                  A      Yes.
21                  Q      So this would have been another
22     evaluation that you would have done?
23                  A      Yes.
24                  Q      So again, now we are going from


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                                                                        Page 235
 1     July of 2015 to July of 2016, which is this
 2     report.    And if you could look right here, where
 3     it says:
 4                      In July of 2015 Mr. Hurt was placed on
 5                      shift notes and his building permit was
 6                      placed on hold on July 20, when a peer
 7                      complained that Mr. Hurt was making
 8                      sexual comments toward him.
 9                  Do you see that?
10                  A      Yes.
11                  Q      It says:
12                      Hurt denied making sexual comments.
13                      Accused the peer of making sexual
14                      comments toward him, calling him gay.
15                  Right?
16                  A      Yes.
17                  Q      Now, again not necessarily acting
18     out but perhaps he is making inappropriate
19     comments again; right?
20                  A      Yes.
21                  Q      Are you aware, as you sit here
22     today, of what the sexual interaction between Ben
23     Hurt and Christy Lenhardt was from July of 2015 to
24     July of 2016?


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                                                                          Page 236
 1                  A      Only in the allegations that I read
 2     in what this lawsuit is about, but besides that, I
 3     had no knowledge at all about any of this.
 4                  Q      Yeah, that's not my question.             My
 5     question is:
 6                  Are you aware of what was going on
 7     between Ben and Christy between July -- as you sit
 8     here today -- from July, 2015 to July, 2016?
 9                  Are you aware of it, as you sit here
10     today?
11                  A      No, I was not aware.
12                  Q      No.
13                  As you sit here today, are you aware of
14     what was going on between Ben and Christy for the
15     year of July of 2015 to July of 2016?
16                  A      Yes.
17                  Q      Okay.    And when were you first
18     aware of what was happening?
19                  A      As I said earlier, once this
20     lawsuit was filed.
21                  Q      So not until the lawsuit.
22                  Now, the lawsuit was filed November 4,
23     2017.    So you are saying you didn't know anything
24     about it until then?


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                                                                        Page 237
 1                  A      I knew something had happened but
 2     exactly what was happening I had no knowledge of
 3     what was happening.
 4                  Q      Okay.    So well, you knew something
 5     was happening.
 6                  What something did you know?
 7                  A      That he -- Probably she gave him
 8     something, like maybe a phone, or you know, like I
 9     knew something had happened but nothing of -- I
10     had no idea of what was happening.
11                  Q      I am not asking --
12                  A      I knew it was something.
13                  Q      Doctor, I am not trying to be rude.
14     We have an hour and 15 minutes.             I am trying to
15     make sure I get a concise question and a concise
16     answer; that's all.
17                  So I am not asking you what you didn't
18     know.    I am asking you what did you know and I am
19     asking you when you knew it.
20                  So you said you knew something; right?
21                  A      Like I said, I did not know
22     anything.
23                  When I came -- Can you rephrase this
24     question because I am having a hard time with


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                                                                        Page 238
 1     answering this question because I had no knowledge
 2     of anything that went on.
 3                  Q      So my question was, as you sit here
 4     today, are you aware of the sexual interactions
 5     between Ben Hurt and Christy Lenhardt from July,
 6     2015 to July of 2016?
 7                  A      I only became aware at the time
 8     when I read the allegations --
 9                  Q      That's not my question.
10                  My question, doctor, is:
11                  Are you aware, as you sit here today, of
12     the sexual interaction between Ben Hurt and
13     Christy Lenhardt between July of 2015 and July of
14     2016?
15                  A      Yes.
16                  Q      Good.
17                  When did you first become aware of that?
18                  A      When I read the allegations in the
19     lawsuit.
20                  Q      So in November 4, 2017 is the first
21     time you were aware that Ben Hurt and Christy
22     Lenhardt were engaged in any sexual relations from
23     July of 2015 to July of 2016?
24                  A      Yes.


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                                                                        Page 239
 1                  Q      Before that you had no knowledge of
 2     that whatsoever?
 3                  A      No.
 4                  Q      Okay.    So at the end of this report
 5     there is a -- Page 15413 -- the last sentence
 6     says:
 7                      Due to his short Thiem date, the team is
 8                      pursuing privileges and will work -- and
 9                      will then work the patient towards a
10                      conditional discharge, once appropriate
11                      placement has been secured.
12                  Correct?
13                  A      Yes.
14                  Q      So he was working towards discharge
15     and he had a short Thiem date, which was July of
16     2017; right?
17                  A      Yes.
18                  Q      Right before that, it says:
19                      In April, May, June and July of 2016 he
20                      was enrolled in the janitorial program
21                      and was regularly attending.
22                      He is also working on his substance
23                      abuse issues by independently working on
24                      a 12-step program.


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                                                                          Page 240
 1                  Correct?
 2                  A      Yes.
 3                  Q      So he was working a substance abuse
 4     program while he was on L Unit; correct?
 5                  A      Yes.
 6                  Q      And that was during the entire year
 7     of 2015 to the 2016 because that's when this
 8     report covers?
 9                  A      Yes.
10                  Q      This is last date, 12-26.           It looks
11     like -- I am not sure -- something a.m.
12                  And is that your signature, doctor?
13                  A      Yes.
14                  Q      On Page 15416?
15                  A      Yes.
16                  Q      It's July 26, 2016.
17                  This, I think, is his final report.               I
18     believe you didn't prepare this report; right?
19                  Because this was -- I will go to the
20     last page -- this was signed by Dr. Kareemi,
21     July 3, 2017 at 11:15; right?
22                  A      Yes.
23                  Q      So this isn't your report?
24                  A      No.


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                                                                         Page 241
 1                         MR. CECALA:      Okay.     Doctor, I am
 2     showing you Exhibit No. 8.           It's Bates stamped
 3     14471 to 14474 -- 80.
 4                                ( Exhibit 8 marked.)
 5     BY MR. CECALA:
 6                  Q      This is another set of chart notes
 7     from Ben Hurt's chart beginning in December 13,
 8     2016; correct?
 9                  A      Yes.
10                  Q      And then it looks like -- I am just
11     going to go down a page here.
12                  This is on December 18.           There is a
13     nurse's note at the very top on Page 14472.                  It
14     says:
15                      Patient was playing cards in the day
16                      room with peer and it appears -- the
17                      patient's number is there -- when the
18                      latter just attacked this patient for no
19                      reason.    Both had physical altercation.
20                  So Ben was -- Sounds like Ben was
21     sitting there and someone attacked him; right?
22                  A      Yes.
23                  Q      Then there is an STA note pretty
24     much identifying the same thing:


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                                                                        Page 242
 1                      While patient was playing cards, engaged
 2                      in a fight, Patient ID No. something --
 3                      with Patient ID No. something 912849.
 4                      Code White called.        Staff separated the
 5                      two patients from each other.
 6                      Patient was cooperative with staff when
 7                      directed or instructed to move away to
 8                      different direction.         Patient claimed he
 9                      was attacked first.        Has no -- Has not
10                      any intention to fight.
11                  Right?      So that's an STA note, it looks
12     like 9:20 p.m. on December 18, 2016; right?
13                  A      Yes.
14                  Q      These are iterations of it again:
15                  There is another STA note about the
16     attack on Patient BH, Ben Hurt.             In the middle it
17     says:
18                      As we continued to play cards Patient
19                      DH --
20                         I think this is Daquan.
21                      -- approached Ben, standing over him and
22                      threatening to hit him.          Staff writer
23                      redirected continuously.          Daquan kept
24                      saying:


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                                                                        Page 243
 1                      Stand up, get up, I am about to hit you.
 2                      Ben H told his peer Daquan to leave him
 3                      alone and that's when Daquan attacked
 4                      Ben.
 5                      Staff and peers tried to break up the
 6                      fight.    Code White was called and
 7                      security diffused the situation.
 8                  Did I read that correctly?
 9                  A      Yes.
10                  Q      So it looks like Ben was a victim
11     here.    He wasn't the aggressor.
12                  He was just playing cards and somebody
13     went up and hit him; right?
14                  A      Yes.
15                  Q      So then -- So this is your note on
16     the 19th?
17                  A      This is Dr. Kareemi's note.
18                  Q      I am sorry, this is Dr. Kareemi's
19     note on the 19th.
20                  So it looks like sometime between the
21     18th -- Right here it is, I am sorry.               So
22     Page 14474, there is an RN note:
23                      Patient continues to be threatened by
24                      peer --


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                                                                        Page 244
 1                         Looks like.
 2                      -- AOD notified.
 3                      Per Jeff P and AOD patient to be moved
 4                      to Unit K for safety.
 5                  Correct?
 6                  A      Yes.
 7                  Q      MOD notified and order written.
 8                      Patient is packing belongings.            Patient
 9                      is cooperative and verbalized and
10                      understanding of why the transfer will
11                      take place.     Will continue to monitor.
12                  Did I read that correctly?
13                  A      Yes.
14                  Q      So on December 18, after this
15     fight, it looks like at 10:50 p.m., Ben was moved
16     off the unit for his own safety; right?
17                  A      Yes.
18                  Q      And then the next day Dr. Kareemi
19     has written a note and she is now Ben's -- looks
20     like she is the one who has taken over for him, as
21     his psychiatrist; right?
22                  A      Yes.
23                  Q      Now, two days later this is a
24     social worker note.


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                                                                        Page 245
 1                  Looks like it was Christy Lenhardt's
 2     signature at the bottom of the page?
 3                  A      Yes.
 4                  Q      14476; right?
 5                  A      Yes.
 6                  Q      And then there is a whole
 7     description of the fight and what happened and
 8     everyone was shouting.
 9                  It's basically Christy Lenhardt on the
10     19th writing a note about the incident; right?
11                  A      Yes.
12                  Q      So on the 19th she is still his
13     social worker.
14                  And then it looks like on the 20th it
15     says -- there is a social worker transfer note:
16                      Mr. Hurt was transferred to K Unit --
17                         I am sorry, the page number is
18           14477.
19                      Mr. Hurt was transferred K Unit for his
20                      own safety due to recent physical
21                      altercation with peer who remains on
22                      unit.
23                  So we moved the person who was not the
24     aggressor this time; right?


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                                                                        Page 246
 1                  A      Yes.
 2                  Q      Then:
 3                      Per treatment team consensus and since
 4                      patient needs to complete MISA Mr. Hurt
 5                      will remain on K Unit to complete the
 6                      MISA program to address his substance
 7                      abuse issues.
 8                  Did I read that correctly?
 9                  A      Yes.
10                  Q      Were you part of the treatment team
11     consensus for Ben to stay on K Unit?
12                  A      Yes.
13                  Q      And did you -- Who was at the
14     meeting where you arrived at this consensus?
15                  A      I don't recall.
16                  Q      Well, do you recall if Christy
17     Lenhardt was there?
18                  A      I am wondering if this happened
19     when I was on vacation because seems like
20     Dr. Kareemi was covering for me because ultimately
21     the patient is moved on 12-20 but she was seeing
22     him even before that when I was not here.
23                  Q      Right.
24                  So you may not have been part of the


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                                                                        Page 247
 1     consensus?
 2                  A      Could be, if I was not here.
 3                  But there was -- We wanted to move him
 4     at some point K Unit to finish MISA.
 5                  Q      So the consideration to move him
 6     and the consensus, being that you were his
 7     psychiatrist for the past two and a half years,
 8     would your input have been necessary?
 9                  A      Yes.
10                  Q      So you are saying you were on
11     vacation and you weren't part of the meeting where
12     the consensus happened?
13                  A      That's a possibility.
14                  Q      Right.     So my question is:
15                  Did you participate in a meeting where
16     the consensus to move Ben permanently to K took
17     place?
18                  A      I don't recall.        I don't remember
19     and I don't recall exactly how this came about, I
20     don't.
21                  Q      Okay.    So do you recall being there
22     at morning meetings after Ben was transferred to K
23     Unit?
24                  A      Our morning meetings are together,


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                                                                        Page 248
 1     so we are regularly there.           Both K&L staff is on
 2     together.
 3                  Q      I know, doctor.        We only have an
 4     hour.    My question is:
 5                  Do you recall being at meetings
 6     immediately after Ben was transferred?
 7                  A      If I was working, yes.
 8                  Q      So if you were working.
 9                  Do you recall being at meetings
10     immediately after Ben was transferred?
11                  A      I don't recall.
12                  Q      Do you recall any interactions with
13     Christy Lenhardt immediately after Ben was
14     transferred?
15                  A      No.
16                  Q      Do you recall that Christy Lenhardt
17     was crying in any morning meetings after Ben was
18     transferred off her caseload?
19                  A      No.
20                  Q      Did you ever talk to her about how
21     she felt about Ben being transferred off her
22     caseload?
23                  A      No.
24                  Q      Did anyone else ever comment to you


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                                                                        Page 249
 1     about Christy crying at morning meetings or being
 2     emotional at morning meetings after Ben was
 3     transferred?
 4                  A      No.
 5                  Q      Do you recall having a meeting with
 6     Dr. Kareemi considering whether to transfer Ben
 7     back from the K Unit to L Unit during late
 8     December or January of 2017?
 9                  A      No.
10                  Q      So you and Dr. Kareemi never
11     considered whether Ben should be transferred back
12     to L Unit?
13                  A      No.
14                  His Thiem date was approaching and he
15     was completing his MISA, so the understanding was
16     that he would just complete MISA and be discharged
17     because he was practically Thieming out.
18                  Q      Right.     So that's good.
19                  How long does it take to complete MISA?
20                  A      I am sorry?
21                  Q      How long does it take to complete
22     the MISA program?
23                  A      It depends on patient.
24                  There are patients -- Ideally it should


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                                                                        Page 250
 1     be three to six months but sometimes it takes much
 2     longer for patients to complete but that's the
 3     shortest.        Like six months to eight months is when
 4     they complete the program.
 5                  Q       Right.    So if your average -- It's
 6     more between six and eight months; is that
 7     correct?
 8                  A       Yes.
 9                  Q       I think Dr. Kareemi told us it's
10     more like nine months; is that --
11                  A       She is the expert on MISA.           So she
12     knows better.        If she said nine months, then it's
13     nine months.
14                  But that's ideally that's how they
15     showcase their program; that if the patient is
16     participating it takes three to six months but for
17     some patients it takes longer, depending on how
18     much they are focused and how quickly they can do
19     Step 1.     Some patients take even a year.             Some do
20     even longer.
21                  Q       So this transfer that happened to
22     Ben was December 18 and his Thiem date was
23     July 22, 2017, which means that it would have been
24     very ambitious for him to complete MISA.


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                                                                        Page 251
 1                  He would have had to do it in under six
 2     months; right?
 3                  A      Yes.
 4                  Q      We saw in your evaluation he was
 5     already doing substance abuse training on L Unit;
 6     correct?
 7                  A      Yes.
 8                  Q      Just so I am sure, these chart
 9     notes show that Ben wasn't the aggressor who was
10     moved off the unit; correct?
11                  A      Yes.
12                  Q      Now, do you recall the time from --
13     let's say January to May 31 of 2017 -- ever having
14     a conversation with Rebecca Nikolov about Ben Hurt
15     and Christy Lenhardt?
16                  A      No.
17                  Q      Do you recall having a conversation
18     with Becky Nikolov about Christy Lenhardt and
19
20                  A      No.
21                  Q      Doctor, there is a three page
22     exhibit which you may not be familiar with.                  This
23     is a -- It's Bates stamped 27981, 982 and then
24     27617.


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                                                                        Page 252
 1                  Do you see these three pages, doctor?
 2                  A      Yes.
 3                  Q      So I know this email is not from or
 4     to you, but this is a report of an incident that
 5     happened on May 31 in Bob Hamlin's office between
 6     Christy Lenhardt and Ben Hurt, where they were
 7     locked in an office.
 8                  Do you recall that incident?
 9                  A      Yes.
10                  Q      And this page here is a security
11     report of the incident which outlines what
12     happened in the incident.
13                  Actually before I question you about
14     that, let me just look back at the email really
15     quick.
16                  You said you recall the incident.               When
17     was the first time you heard about the incident?
18                  A      The next day.
19                  Q      The next day, so June 1?
20                  A      Had to be June 1, if it happened
21     the day before.
22                  Q      Who did you hear about the incident
23     from?
24                  A      It was in the morning meeting, I


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                                                                        Page 253
 1     believe.
 2                  Q      Who was at the morning meeting?
 3                  A      Both the staff of K & L Unit.
 4                  Q      And what if anything was said?
 5                  A      That Christy had come to get some
 6     snacks for a patient who was transferred to L Unit
 7     and there was a nonworking lock and Ben was in the
 8     room and Christy had to call security to open the
 9     lock because it was -- they were in there.
10                  Q      So who is it at the morning meeting
11     that said that?
12                  A      I don't recall exactly whether it
13     was the nurse manager or the nursing staff who
14     reported it.      Usually it's nursing staff who gives
15     the morning report.
16                  Q      So it would have been Colleen
17     Delaney?
18                  A      She was the nurse manager.
19                  I don't recall who the nurse on duty I
20     there was.       But it had to be either her or the
21     nurse who was on duty.
22                  Because it's usually the morning nurses
23     who come in and give us report from all different
24     shifts, and this happened after our shift, so


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                                                                          Page 254
 1     usually the morning we get a report about all
 2     different shifts.
 3                  Q      Do you know whether it was Colleen
 4     Delaney who reported the incident at the morning
 5     meeting?
 6                  A      No, I don't remember.
 7                  Q      Okay.    So I am going back to
 8     Exhibit No. 3, where I asked you to read this
 9     earlier today, and it's the security report
10     outlining when they discovered that Ben had put --
11     had internet postings.
12                  And then they searched his room and they
13     found audio recordings of Christy performing oral
14     sex on Ben and they found audio recordings of
15     Christy admitting to having sex with                         and
16     to the relationship with                              and
17     helping him escape.
18                  Do you recall reading this?
19                  A      I am just reading it now.
20                  Q      Okay.    You can read it again.
21                  A      I finished reading.
22                  Q      Okay.    And this is a report of what
23     was happening the morning of June 30, 2017.
24                  Now, June 30 was a Friday.            Do you


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                                                                        Page 255
 1     recall being at work on that day?
 2                  A      I believe I was again on vacation
 3     at that time.
 4                  Q      Okay.    So you weren't at work on
 5     June 30.
 6                  Do you normally work on Fridays?
 7                  A      At that time I was, yes.
 8                  My working hours are -- were 7:00 to
 9     3:00, Monday through Friday.
10                  Q      Okay.    But you think you were on
11     vacation on June 30?
12                  A      Yes, I was.
13                  Q      So you weren't on L Unit the
14     morning that they came in and -- I mean, this
15     report was written at 1100 hours.              So they would
16     have had to have gone and searched Christy's
17     office before 11:00 a.m.
18                  You don't recall being at work --
19                  A      No.
20                  Q      -- before 11:00 in the morning --
21                  A      No.
22                  Q      You have to wait until I finish.
23                  A      Sorry.
24                  Q      -- before 11:00 in the morning when


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                                                                        Page 256
 1     they searched Christy's office?
 2                  A      I was not at work.
 3                  Q      You weren't at work that day.
 4                  So if you weren't at work that day, when
 5     was the first time you found out about the fact
 6     that Christy had been -- her office had been
 7     searched and she was walked out of the building by
 8     security?
 9                  A      When I came back from vacation.              I
10     don't remember the exact date but I was off for
11     about a ten day period.
12                  Q      So did your vacation start the week
13     of June 30 and you were out the whole next week;
14     do you recall?
15                  A      Yes.
16                  Q      So you weren't back to work until
17     sometime in the second week of July?
18                  A      Yes.
19                  Q      I am going back to Exhibit No. 1.
20                  And Page 37 on Line 9, the police were
21     asking you:
22                      But has she, Christy Lenhardt, tried to
23                      communicate with you or any other staff
24                      members?


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                                                                        Page 257
 1                  And there was a call and it says:
 2                    That you are aware of?
 3                  Your answer is:
 4                    One day there was a call, the day that
 5                    she had been walked out of here.               I got
 6                    a call from her number.            So I -- and I
 7                    didn't know what was going on, you know.
 8                    It was just Christy's number.
 9                    So I answered it, and I said, Christy.
10                    And it was her husband.            He said:
11                    Doctor, this is Joel, Christy's husband,
12                    and you know, Christy is very upset, and
13                    do you know what happened?
14                    So I said:
15                    You know, I know she was walked out
16                    relating to some patient issue but
17                    that's all I know.
18                    And that was the only contact that I had
19                    with her, like that number, you know.
20                    After that she asked me a few times,
21                    like on the group text, if somebody
22                    would give her a recommendation, and we
23                    all decided between ourselves that for
24                    something like this we don't want to


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                                                                        Page 258
 1                      like do anything until this
 2                      investigation is clear.
 3                      How can I say, in my -- although I know
 4                      her so well, that she is very good at
 5                      her work, but with this thing going on,
 6                      I cannot give a recommendation to
 7                      someone, you know, at this point, so no.
 8                  Do you recall talking to the police and
 9     giving them this answer, when they asked you if
10     you had contact with Christy?
11                  A      Yes.
12                  Q      So how did you know on June 30 that
13     Christy had been walked out of the facility, if
14     you were on vacation?
15                  A      So there is some discrepancy in the
16     dates.
17                  I think when she was walked out of the
18     unit that's when I was on vacation but when she
19     was -- she was still working at the front in the
20     administrative building.
21                  I believe when she was walked off the
22     facility is then when I got the call from her
23     husband, so I was back.
24                  So my dates could be wrong but I was not


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                                                                        Page 259
 1     here the day she was walked off the unit and I
 2     believe I was on vacation.
 3                  Q      Doctor, that's not my question.
 4                  A      Okay.
 5                  Q      We only have a short period of
 6     time.    So my question is:
 7                  If you were on vacation the day that
 8     Christy was walked off the building --
 9                  A      No, I want to make a correction to
10     that.
11                  Q      Okay.
12                  A      I was on vacation when she was
13     walked off the unit but I was working at this time
14     when she was walked out of the building.
15                  Q      So just so you know, on June 30
16     when this was discovered, Christy Lenhardt left
17     the building before lunch and never returned ever.
18     So my question is:
19                  If you weren't there on June 30, how did
20     you know on June 30 that she had been walked out
21     of the building?
22                  A      I think I am not making myself
23     clear.
24                  What I am reporting is -- I am not sure


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                                                                        Page 260
 1     about the dates of my vacation but I was on
 2     vacation when she was walked off the unit.                 There
 3     is a difference between being walked out of the
 4     unit to being walked out of the facility.
 5                  So when she was walked off the unit and
 6     she was no longer working on the unit that's when
 7     I was on vacation but the day that she was walked
 8     off the premises, if that was June 30, then I was
 9     here.
10                  Q       The day she was walked off the unit
11     and the day she left the building are the same
12     day, June 30.
13                  You were on vacation on June 30;
14     correct?
15                  A       I am not sure about the date of
16     vacation.
17                  But from my recollection and my memory
18     when she was walked off the unit and her office
19     was searched I was not working.
20                  But the day that she was walked off the
21     premises -- Because when she was walked off the
22     unit she was still working in the -- she was still
23     in the administrative part of the forensic
24     building.        She was not totally gone.


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                                                                        Page 261
 1                  If she was gone on June 30, then yes, I
 2     was working.
 3                  Q      I am going to go back to this
 4     report.     This is the security report of what
 5     happened on June 30.
 6                  Do you see that?
 7                  A      Yes.
 8                  Q      At 7:30 a.m. Chief Epperson became
 9     aware that there was some potential internet
10     presence that Ben Hurt had that was unauthorized.
11     That's what the report is saying.              Social media
12     posting by Ben Hurt housed at EMHC.
13                  After that, between 7:30 in the morning
14     and 11:00 o'clock in the morning, the office
15     belonging to Christy Lenhardt was searched, Ben
16     Hurt's room was searched, and audio recordings of
17     the sexual encounters were recovered.
18                  And here it says that the State Police
19     were on the grounds by 1515, which is 3:15 p.m.
20                  Then there was an interview where the
21     State Police were there until 6:30, 6:24 p.m.
22                  The State Police were never able to
23     interview Christy because she had already left the
24     facility.


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                                                                        Page 262
 1                  So the day that this was discovered and
 2     the day that Christy Lenhardt was not allowed to
 3     go to her office and the expression "walked off
 4     the unit" or "walked from the facility" is not
 5     distinguishable.        She wasn't at Elgin Mental
 6     Health Center by 3:15 p.m.           That's what this
 7     report says.
 8                  So my question to you is:
 9                  I don't know, were you or were you not
10     on vacation on June 30, 2017?
11                  A      My recollection tells me that when
12     she was walked off the unit and her room was
13     searched I was not at work that day.
14                  Q      Okay.    So the same day that she
15     was -- that her room was searched is also the same
16     day Christy left Elgin Mental Health Center, never
17     to return ever again after that.
18                  So there is no day after June 30 where
19     Christy Lenhardt returned to work and was again
20     walked out of the facility in any way.
21                  Do you understand my confusion on the
22     date now?
23                  A      Yes.
24                  And my confusion is the same, because if


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                                                                          Page 263
 1     this all happened on that day, how come I was not
 2     aware that she was walked off the unit, unless she
 3     was walked off before I came to work, but I
 4     usually come to work at 7:00, and she comes to
 5     work at 8:00.        So I am confused also and I don't
 6     recall her being walked out in front of me from
 7     the unit.
 8                  My understanding was that happened when
 9     I was not there, and the day that she was walked
10     off the unit was from the administrative building,
11     and yes, that's the day when her husband called me
12     or I received a call -- or maybe a day after.                  I
13     am not exactly sure on the dates.
14                  Q       So you are saying that when you
15     said to the State Police:
16                      The day she had walked out of here I got
17                      a call from her number.
18                  That is not true?
19                          MS. JOHNSTON:      Objection, form.
20                  You can answer, Dr. Javed.
21                          THE WITNESS:      I am not sure.        I am
22     not sure so I cannot tell you exactly because I am
23     not sure.        My recollection tells me still the same
24     thing:


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                                                                        Page 264
 1                  The day she was walked off the unit I
 2     was not at work.        If I got this call the day she
 3     was walked off the premises possible or if she
 4     called me before that possible, but the day she
 5     was walked off the unit I was not here, I was not
 6     on the premises.
 7     BY MR. CECALA:
 8                  Q      Okay.    So did someone call you to
 9     relate the information that Christy Lenhardt had
10     had an incident with a patient?
11                  A      I was out of the country, no.
12                  Q      So when Christy's husband called
13     you, you were out of the country?
14                  A      No.
15                  When Christy's husband called me I was
16     here.    I was here.
17                  I am talking about when she was walked
18     off the unit I was not here.            But the day
19     Christy's husband called me, yes, I was at work
20     and I responded to his call.
21                  Q      I am going to go back to the
22     testimony again, Exhibit No. 1, Page 37.
23                  So at some point you spoke to Christy's
24     husband and he was very upset, asking you what


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                                                                        Page 265
 1     happened; correct?
 2                  A      Yes.
 3                  Q      And you said:
 4                      I know that she was walked out, relating
 5                      to some patient issue.
 6                         Correct?
 7                  A      Yes.
 8                  Q      What did you mean by, a patient
 9     issue?
10                  A      There was something that went on
11     between her and a patient that was the result of
12     her being escorted off the premises or off the
13     unit.    That's all I knew.
14                  Q      Well, who told you that that
15     happened?
16                  A      Nobody told me anything.
17                  But when Ben Hurt's room was being
18     searched and he was restricted to the unit there
19     was something going on that we were not completely
20     aware of but there was something going on.
21                  Q      So you were at work the day his
22     room was searched?
23                  A      I am not on K Unit but I heard
24     about it in the morning meeting that his room was


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                                                                        Page 266
 1     being searched.
 2                  Q      So the day his room was searched,
 3     you were at work?
 4                  A      Probably was.
 5                  Q      Do you know if you were at work the
 6     day Ben Hurt's room was searched?
 7                  A      I am not sure.
 8                  Q      So you said we, just a moment ago.
 9     My question was:
10                  Who told you about the patient incident?
11                  A      It was discussed in the morning
12     meeting that Mr. Hurt's room was being -- he was
13     being restricted to the unit and he was going to
14     have a room search.
15                  Q      Okay.    So who discussed it in the
16     morning meeting?
17                  What's the name of the person said that?
18                  A      It had to be a member of the K
19     Team.
20                  Q      Who said that?
21                  A      I'm sorry?
22                  Q      Who was the member of the K Team
23     that said that?
24                  A      I'm sure it was the nurse because


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                                                                        Page 267
 1     usually report is given by the nurse.
 2                  Q      Who was the nurse?
 3                  A      I don't remember.
 4                  Q      Was it Colleen Delaney?
 5                  A      She was the nurse manager.
 6                  But there was a nurse on the unit.               So I
 7     don't recall Colleen Delaney giving us that news.
 8     It was the nurse on the unit.
 9                  Q      Now, you go on, on Page 38 to say:
10                      Christy asked a few times on the group
11                      text for a recommendation.
12                  So was she asking you for a job
13     recommendation?
14                  A      I assume, yes.
15                  Q      Then it says:
16                      We all decided between ourselves that
17                      basically you weren't going to do it.
18                  Who is, we all decided?
19                  A      It was Drew Beck, Bob Hamlin,
20     myself.
21                  Because I asked them, I said:
22                      She is asking me for --
23                  Or Cara told me that Christy wants some
24     sort of recommendation, and I said:


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                                                                        Page 268
 1                      At this point I am not willing to do
 2                      anything.
 3                  Q      Did you find it out from the group
 4     text or because Cara asked you?
 5                  A      I don't recall exactly whether Cara
 6     asked me or it was from the group text, I don't.
 7                  Q      What exactly did Cara ask you?
 8                  A      That Christy is looking for a
 9     different job.
10                  Q      When you were talking about it with
11     Cara were you discussing what had transpired
12     between Christy and Ben?
13                  A      Nothing, no, because we didn't
14     know.
15                  Q      So when you say you didn't know,
16     yet you had reservations about giving her a
17     recommendation, what is it about what you didn't
18     know that kept you from being willing to give her
19     a recommendation?
20                  A      When one of your colleagues or
21     somebody that works with you is walked off the
22     premises, you know something is going on.
23     Obviously you want to know exactly what the extent
24     or what has happened before you want to write a


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                                                                        Page 269
 1     recommendation because you want to write an honest
 2     recommendation for a staff member.
 3                  Q      So some investigation was going on
 4     into Christy's behavior with a patient and you
 5     knew that; correct?
 6                  A      Yes.
 7                  Q      And you found that out at a morning
 8     meeting; correct?
 9                  A      Yes.
10                  Q      And you wouldn't provide her with a
11     job recommendation sometime after that; correct?
12                  A      Once we know exactly what happened,
13     yes.
14                  Q      What did you suspect was happening
15     that would make your recommendation not worthy of
16     Christy's ten year experience with you or so of
17     her good work?
18                  A      The professional conduct of a staff
19     member.    You know, if somebody is walked out,
20     there has to be a reason.           You want to know what
21     exactly happened.
22                  Q      I know.     That's not my question.
23     My question was:
24                  What did you suspect was happening?


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                                                                          Page 270
 1                  A      I was not suspecting anything.             I
 2     knew something had happened but I was not
 3     speculating.       I was waiting to hear what exactly
 4     has happened.
 5                  Q      So what did you know had happened?
 6                  A      I had -- I knew that she was walked
 7     off the unit so something must have gone wrong and
 8     that's why they were looking into Ben's room.
 9     Something was related to Ben.            That's all I knew.
10                  Q      And you had no suspicion about any
11     possible neglect or abuse of Ben by Christy when
12     you were considering giving her a recommendation?
13                  A      No.
14                         MR. CECALA:      Hold on one second.
15                      (Whereupon off-the-record
16                        proceedings were had).
17                         MR. CECALA:      So doctor, I am
18     showing you what is now Exhibit No. 9.                It's a
19     separate Bates stamped grouping.              It's called Hurt
20     and Owens Morning Meeting Minutes and it starts
21     with Page 53 and it goes through page -- Oh, I
22     think the pages are off.
23                         MS. JOHNSTON:       I think it might be
24     in reverse.


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                                                                        Page 271
 1                         MR. CECALA:      Actually it's Page 1
 2     to 53.    So it's in reverse order, Page 53 comes
 3     first.
 4                  Yes, I think we wanted to walk this
 5     backwards but with your deposition I would have to
 6     walk it forward.
 7                                ( Exhibit 9 marked.)
 8     BY MR. CECALA:
 9                  Q      So doctor, on Page 53, this looks
10     like a morning meeting report, and I think that in
11     the email chain at the top it's from Robert
12     Hamlin.
13                  Do you see that?
14                  A      Yes.
15                  Q      And I don't know if you can find
16     your email address.         It's actually Page 1?
17                  A      Yes.
18                  Q      Do you see your email address in
19     there?
20                  A      Yes.
21                  Q      So these are morning meeting
22     minutes.
23                  You get these everyday; right?
24                  A      Yes.


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                                                                        Page 272
 1                  Q      And so this is the report of the
 2     morning meeting on December 19, 2016; correct?
 3                  A      Yes.
 4                  Q      Looks like you were scheduled off
 5     that day?
 6                  A      Yes.
 7                  Q      Did you ever review the morning
 8     meeting minutes even though you were not at work
 9     that day?
10                  A      No, I don't review morning minutes
11     if I am not at work.
12                  Q      Suffice it to say, that admissions
13     discharge transfer, including names, is a section
14     where it's specifically noted who was transferred
15     and it says:
16                      Benahdam H to K.       Blank to L.
17                  So if a patient is transferred it's
18     noted in the morning meeting minutes; right?
19                  A      Yes.
20                  Q      It's a frequent occurrence?
21                  A      Yes.
22                  Q      So this is another day where the
23     morning meeting minutes are -- If you go to the
24     top of this one, it's a longer one.


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                                                                        Page 273
 1                  It looks like it's December 20?
 2                  A      Yes.
 3                  Q      And do you see your email in
 4     there --
 5                  A      Yes.
 6                  Q      -- right here?
 7                  A      Yes.
 8                  Q      And it doesn't say you were off
 9     this day.
10                  So do you recall, would you have looked
11     at the morning meeting minutes on that day?
12                  A      I try to.
13                  Q      So that's the 20th.
14                  So this is the week after and it's --
15     there is no specific mention here in any of these
16     meeting minutes about Ben on the 21st.
17                  This is the 22nd.
18                  The 23rd is here.
19                  24th Ben is not mentioned.
20                  The 28th this still nothing.
21                  29th nothing.
22                  30th nothing.
23                  Here Ben is still on K.           He has no
24     contact sports because of something that was -- I


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                                                                        Page 274
 1     think he had an ankle injury and he's --
 2                  This is the last report.           I think it's
 3     on May 31 -- I am sorry -- June 2, Friday, June 2.
 4                  So Thursday -- Wednesday, May 31 is the
 5     incident with Bob Hamlin's office, where they were
 6     locked in the office.
 7                  Do you recall that?
 8                  A      If you say that was the date, I
 9     don't recall but...
10                  Q      Okay.    Fair enough.
11                  And then there is -- This is the Friday
12     morning.     I think there is one more.
13                  There is nothing in the morning meeting
14     minutes about -- Again, Ben is limited to no
15     contact sports again on June 5.
16                  In that week there is no mention of them
17     being locked in the office.            But you said it was
18     brought up at the morning meeting; right?
19                  A      That was my recollection.
20                  Q      Okay.    Is there any reason that it
21     would not have been written down in the morning
22     minutes?
23                  A      Everything that's discussed in the
24     morning meeting is documented in the report.


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                                                                        Page 275
 1                  Q      Okay.
 2                  A      So my recollection is that if it
 3     was discussed it should have been part of the
 4     report.
 5                  Q      So as I mentioned earlier, June 30
 6     was a Friday.       So July 1 would have been Saturday.
 7     July 2 a Sunday, and Monday, July 3.
 8                  This is the morning meeting minutes for
 9     K&L on July 3.
10                  Do you recall if you were at work that
11     day?
12                  A      If it says Unit Psychiatrist
13     present, then I was, yes.
14                  Q      Present for morning meeting unit
15     psychiatrist, yes.
16                  Does that mean you?
17                  A      Both me and Dr. Kareemi.
18                  Q      Were both there on July 3; right?
19                  A      Yes.
20                  Q      So is it possible that you went on
21     vacation after this?
22                  A      I honestly now don't remember when
23     this vacation was.         I don't remember the dates.
24                  Q      And then in this morning meeting


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                                                                        Page 276
 1     note it goes through significant items here?
 2                  A      Yes.
 3                  Q      Still says limited to no contact
 4     sports here.
 5                  And then I believe it says there is no
 6     indication here of RORs here; right?
 7                  A      No.
 8                  Q      For Ben Hurt?
 9                  This is an ROR of 5-30 and an ROR of
10     June 4; correct?
11                  A      Yes.
12                  Q      These names are blocked out, so
13     it's not Ben.
14                  So on July 3 there is no mention of an
15     ROR for Ben; right?
16                  A      No.
17                  Q      So July 3, 2017 no mention of an
18     ROR.
19                  So I am going back to Exhibit No. 4.
20                  Do you recall this restriction of rights
21     on July 3, which would have been the Monday after
22     the audio recordings of Ben and Christy having sex
23     were discovered?
24                  Do you recall at the morning meeting any


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                                                                        Page 277
 1     discussion of a restriction of rights for Ben?
 2                  A      I don't recall.
 3                  Q      Was there any discussion of the
 4     investigation that was occurring?
 5                  A      I don't recall exactly what was
 6     said, no.
 7                  Q      So -- And just so we're clear, Page
 8     16250, Restriction of Rights for Ben would have
 9     been from June 30 to July 3, which would have been
10     the weekend.       It says:
11                      Patient is under investigation
12                      administrative directive.
13                  And he is on K Unit, of course, you are
14     on L Unit; right?
15                  A      Yeah.
16                  This is starting at 3:15 on Friday and
17     then it's at 1600.
18                  Q      On Monday; right?
19                  A      Yeah.
20                  Q      So there is a second page.
21                  But then on July 3 at 1600 there is
22     another restriction of rights?
23                  A      Yes.
24                  Q      And it's going to last until Ben's


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                                                                        Page 278
 1     Thiem date on July 22, 2017 at 0600; right?
 2                  A      Yes.
 3                  Q      It says:
 4                      Patient is under investigation, security
 5                      administrative directive.
 6                  Correct?
 7                  A      Yes.
 8                  Q      And this is obviously on July 3 it
 9     was issued.
10                  And at the July 3 morning meeting
11     minutes there is no mention of this ROR and I am
12     just wondering whether anyone at the morning
13     meeting brought this up at all?
14                  A      I don't recall.
15                  Q      I actually have one more exhibit to
16     go through and then we will be done with exhibits.
17                  So this is the other set of
18     interrogatories in Ben Hurt's case.
19                  Do you recall seeing these, doctor?
20                  A      Yes.
21                  Q      It's a seven page document.            Let me
22     go to Page 7 really quickly.
23                  On September 21, 2020 there is another
24     verification like the other one.


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                                                                        Page 279
 1                  Is that your signature?
 2                  A      Yes.
 3                  Q      So in Question No. 1, we ask you
 4     to:
 5                      Identify persons with knowledge of facts
 6                      underlying the complaint and any
 7                      documents.
 8                  Then you say:
 9                      The following individuals may have
10                      knowledge relevant to the claims.
11                  So you named Pat Larson, former L Unit
12     psychologist.
13                  What knowledge were you speaking of in
14     this answer that you are aware of that Pat Larson
15     has about the case?
16                  A      I think this question was very
17     vague for me.       I didn't really know how to answer
18     it.   So I just said the people who were involved
19     in the case at the time, you know, like directly
20     involved with this case.
21                  But having any knowledge relevant to the
22     case, I did not know what knowledge.               So I just
23     kind of broadly said the names because Ted Larson
24     was the psychologist.


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                                                                        Page 280
 1                  Q      Okay.    Yeah, this is important for
 2     me to know that you don't know that Pat Larson has
 3     knowledge, as if you do.           I don't want to be
 4     surprised later that one of these people has all
 5     this information.
 6                  So you don't know, as you sit here,
 7     whether Pat Larson has any knowledge of the case
 8     or not; do you?
 9                  A      Yes.
10                  Q      Do you know what knowledge, when
11     you are answering this, Joanne Langley may or may
12     not have had of the complaint?
13                  A      Since she was the director of
14     social work and psychology at the time, I figure
15     maybe she knew something about why Christy was not
16     working here any more.
17                  Q      And what about Antoinette Kelly?
18                  A      She was the nurse manager at some
19     point on the unit when all of this was happening
20     or -- you know, so she was one of the nurse
21     managers.
22                  Q      What do you know about her
23     knowledge of the case?
24                  A      I know now when I read one of the


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                                                                        Page 281
 1     exhibits that you showed that it was her that he
 2     was -- he made contact with her which was then
 3     later on made -- this Elgin was made aware of.
 4                  Q      I am interested in knowing, when
 5     you answered the question, what knowledge you had
 6     about what they know.
 7                  A      I did not know if she had any
 8     knowledge.       I just put her name down because she
 9     was the nurse manager.
10                  Q      What knowledge may James Cochran
11     have about the case?
12                  A      Again, he was the medical director.
13                  Q      What does that say about his
14     knowledge of the case?
15                  A      Since he is in charge of the whole
16     facility, I did not know if he had any knowledge,
17     but I just said because he is the medical
18     director.
19                  Q      Okay.    Is your answer the same for
20     Daniel Hardy, Jeff Pharis and Vicky Ingram; that
21     just because of their positions you listed them,
22     rather than you have any direct knowledge about
23     what they know about the case?
24                  A      Yes.


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                                                                        Page 282
 1                  Q      So doctor, just a few more
 2     questions.
 3                  Have you spoken to Drew Beck about this
 4     case?
 5                  A      No, I have not.
 6                  Q      Not at any time?
 7                  A      No.
 8                  Q      Have you spoken to Colleen Delaney
 9     about this case?
10                  A      No, not at all.
11                  Q      Never?
12                  A      Never.
13                  Q      Have you spoken to Diana Hogan
14     about this case?
15                  A      Never.
16                  Q      And have you spoken to Dr. Kareemi
17     about this case?
18                  A      Just that we both have depositions.
19                  Q      So what did you talk about, about
20     your depositions?
21                  A      Only that hers was scheduled, when
22     it was scheduled.         It was canceled because her
23     brother had passed away.
24                  Mine was scheduled on a certain date and


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                                                                        Page 283
 1     it had to be rescheduled because I had COVID.
 2     That's all.
 3                  Q      So you have never talked about the
 4     facts of the case?
 5                  A      No.
 6                  Q      Never talked about patients, Mark
 7     Owens or Ben Hurt?
 8                  A      Prior to when they were in our care
 9     and it was anything related to their care, their
10     treatment plans, if they were on her unit and if
11     she needed to make any changes to the treatment
12     plan, she always consults me.
13                  We always discuss the patient care.               If
14     there is a transfer we discuss.
15                  But we had not discussed anything as far
16     as these cases are concerned.
17                  Q      And just so I am clear, you have a
18     personal relationship with Dr. Kareemi?
19                  A      Yes, we do.
20                  Q      And what kind of personal
21     relationship are you?
22                  You go out to dinner?          Are you family
23     friends?     Could you describe it for me?
24                  A      Yes.


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                                                                        Page 284
 1                  She was a year junior to me.             So we did
 2     our training from Loyola Medical Center.                So she
 3     was a year junior to me.
 4                  When we graduated she was in a different
 5     part of practice.        I was in a different.
 6                  Then she started at Elgin and she
 7     convinced me to come to Elgin.             So we have been in
 8     Elgin together.       She started on forensic.            I
 9     started in community psych for two years and then
10     I transferred to forensic.           And we worked on
11     sister units from 2001 all the way to 2020.
12                  I was stranded in COVID in Pakistan
13     because the airspace was closed.              So when I came
14     back they assigned me to Pinel Unit.
15                  Q      Doctor, my question is about your
16     personal relationship with Dr. Kareemi.
17                  Could you describing that relationship?
18                  Are you close friends?
19                  A      We are friends, yes, we are close
20     friends.
21                  Q      And like I suggested, do your
22     families go celebrate holidays or dinner together?
23                  A      Yes, we do.
24                  Q      And have you been close friends


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                                                                        Page 285
 1     with her for the duration of your working at
 2     Elgin?
 3                  A      Yes.
 4                  Q      And you also share patients;
 5     correct?
 6                  A      Yes.
 7                  Q      And you just said that you both
 8     meet frequently on patients to collaborate
 9     professionally?
10                  A      When they are under our care, like
11     when they are transferred back and forth in the
12     units, and anything concerning the clinical
13     treatment issues, yes, we do consult with each
14     other.
15                  Q      Right.
16                  Like with Ben, who was moved from L to
17     K, where you both would have been transitioning a
18     patient from one unit to another, is that the type
19     of discussions you would have had?
20                  A      Yes.
21                  Q      Now, I am curious, there seems to
22     be a -- Strike that.
23                  Are you aware today that Christy
24     Lenhardt has admitted to engaging in oral sex with


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                                                                        Page 286
 1     Ben Hurt in her office over a period of years
 2     multiple times per week?
 3                  A      Today I am becoming aware of that.
 4                  Q      Well, is this the first time you
 5     are becoming aware of that?
 6                  A      Yes.
 7                  Q      Are you aware that Christy Lenhardt
 8     admitted to carrying on a sexual relationship over
 9     a period of at least six months, perhaps longer,
10     with
11                  A      Today is the first day that I am
12     becoming aware of that.
13                  Q      Are you aware that Christy Lenhardt
14     admitted to carrying on a sexual relationship with
15                          whom she helped to escape from
16     Elgin, and then later went to visit him in
17     Germany, where she carried on that sexual
18     relationship with him?
19                  A      Today I am becoming aware of that.
20                  Q      Are you aware that Activity
21     Therapist Rebecca Nikolov drove her to the airport
22     to visit                        in 2006 to carry on her
23     relationship with him?
24                  A      Today I am becoming aware of that


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                                                                        Page 287
 1     fact.
 2                  Q      You have never been aware of that
 3     before today?
 4                  A      No.
 5                         MR. CECALA:      Give me one second.
 6                      (Whereupon off-the-record
 7                        proceedings were had).
 8     BY MR. CECALA:
 9                  Q      So having said that you are only
10     aware today of these specific incidents for
11     approximately -- over approximately a ten year
12     period with Christy Lenhardt, I just would like to
13     know, you know, you have worked at Elgin for 22
14     years now; right?
15                  A      Yes.
16                  Q      And there are many behavioral
17     health experts, psychologists, psychiatrists and
18     social workers manning the facility; correct?
19                  A      Yes.
20                  Q      And there are security therapy
21     aides who monitor patients on 30 minute intervals
22     and sometimes as close in as 15 minute intervals;
23     correct?
24                  A      Yes.


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                                                                        Page 288
 1                  Q      And there is a security force
 2     that's there to protect the safety of the
 3     environment and to watch out for abuse and neglect
 4     and to make sure that the workers and the patients
 5     are kept safe; correct?
 6                  A      Yes.
 7                  Q      And every social workers' office
 8     has a fairly sizable window on it; right?
 9                  A      Yes.
10                  Q      If all of those things are true,
11     how is it possible that Christy Lenhardt was able
12     to carry on sexual relationships and at least
13     attempt to seduce one other patient over a ten
14     year period without being discovered?
15                  A      I don't know how it's possible.
16     With all these patient face checks and
17     accountability, I don't know.
18                  Q      Do you think that at some point
19     there was perhaps a lapse in awareness by one or
20     more of the staff on L Unit to make -- to allow
21     this to take place?
22                  A      I don't know what you are trying to
23     ask me.
24                  Can you please repeat the question?


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                                                                        Page 289
 1                         MS. JOHNSTON:       I will say it is
 2     5:00 o'clock.
 3     BY MR. CECALA:
 4                  Q      So the question is, do you believe
 5     that for this to have occurred that there was some
 6     lapse in the awareness of what Christy was doing
 7     by one or more of the staff of your coworkers on L
 8     Unit?
 9                  A      I don't know.       I don't know.        I
10     cannot answer this.
11                         MR. KRETCHMAR:       Just one question,
12     doctor.
13                              EXAMINATION
14     BY MR. KRETCHMAR:
15                  Q      Do you think it's kind of important
16     to know that?
17                  A      It's important and that's why we
18     have all three shifts and there is a system in
19     place that if things should be reported
20     appropriately.
21                  Q      What I mean is:
22                  Do you think it's important to know why
23     that system did not work?
24                  A      I don't know what to say,


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                                                                        Page 290
 1     Mr. Kretchmar.
 2                         MR. KRETCHMAR:       Nothing.
 3                         MR. CECALA:      I think we are done,
 4     just one second.
 5                         MS. JOHNSTON:       I have one or two
 6     questions.       I can go very, very quickly.
 7                         MR. CECALA:      Let me just check with
 8     Stephanie real quick.
 9                         MS. JOHNSTON:       Dr. Javed, I think
10     my questions will only take two minutes.
11                         THE WITNESS:       Okay.
12                               EXAMINATION
13     BY MS. JOHNSTON:
14                  Q      Dr. Javed, do you supervise anybody
15     at Elgin directly -- or when you were working on
16     the L Unit did you directly supervise any other
17     Elgin employee?
18                  A      No.
19                  Q      You did not supervise any social
20     workers while working on the L Unit?
21                  A      No.
22                  Q      Okay.    And earlier you had stated,
23     what Randy or Joe was asking about                         and
24     you had previously stated that you did ask


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                                                                        Page 291
 1     if he believed that Christy reciprocated his
 2     feelings; is that correct?
 3                  A      Yes.
 4                  Q      Did you actually think that Christy
 5     Lenhardt might have had romantic feelings for
 6
 7                  A      I was just making sure.
 8                  Q      Why did you -- Was part of reason
 9     that you asked about that having to do with
10                  underlying diagnosis?
11                  A      Yes.
12                  Q      And can you explain what you mean
13     by that?
14                  A                   diagnosis was that he had
15     delusions of erotomania and I just wanted to make
16     sure that -- to elaborate and find out if there
17     was any possibility of any abuse or if this was
18     all related to his illness.
19                  Q      Okay.    And during the time -- the
20     entire time that you worked with Christy Lenhardt
21     at Elgin, which would have been, I think we
22     established, sometime in 2005 or so, when she was
23     transferred to the L Unit until, you know, summer
24     of 2017, at any point in time did you ever suspect


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                                                                        Page 292
 1     that Christy Lenhardt was having a sexual
 2     relationship with any patient?
 3                  A      No.
 4                         MS. JOHNSTON:       I have no further
 5     questions.
 6                         MR. KRETCHMAR:       One quick followup.
 7                         FURTHER EXAMINATION
 8     BY MR. KRETCHMAR:
 9                  Q      Dr. Javed, Mary just asked if your
10     reason for just checking to be sure about whether
11     Christy reciprocated                     feelings had to do
12     with                diagnosis; is that right?
13                  A      Yes.
14                  Q      You said it did.
15                  How does one person's diagnosis cause a
16     different person to have a romantic or sexual or
17     feelings?
18                  Why would                  diagnosis make
19     Christy reciprocate?
20                  A      I don't understand your question.
21                  Q      Well, you said that the reason that
22     you checked just to be sure was because of
23                  diagnosis; right?
24                  A      It was to check that he was not


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                                                                        Page 293
 1     having delusions of erotomania and at the same
 2     time making sure that there was no abuse of the
 3     patient that needed to be reported; that Christy
 4     was not reciprocating any of those feelings that
 5     he was explaining or he was reporting.
 6                  Q      Okay.    But that wasn't because of
 7     his diagnosis that she would reciprocate; was it?
 8                  A      No.
 9                         MR. KRETCHMAR:       Okay.
10                         MR. CECALA:      Amanda, do you have
11     anything?
12                         MS. JOHNSTON:       I don't believe that
13     she does.
14                         MS. KOZAR:      No, I don't have any
15     questions.       Thanks.
16                         MS. JOHNSTON:       We will reserve,
17     Lyn.
18                         MR. CECALA:      Lyn, we are ordering.
19                         MS. JOHNSTON:       We will take a copy.
20                  Dr. Javed, thank you so much.             I know we
21     went five minutes past but you are free to sign
22     off.
23                         THE WITNESS:       Thank you.
24                         MR. KRETCHMAR:       Dr. Javed, thank


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                                                                        Page 294
 1     you very much.
 2                         THE WITNESS:       Thank you.
 3                  AND FURTHER DEPONENT SAITH NOT
 4     ///
 5     ///
 6     ///
 7     ///
 8     ///
 9     ///
10     ///
11     ///
12     ///
13     ///
14     ///
15     ///
16     ///
17     ///
18     ///
19     ///
20     ///
21     ///
22     ///
23     ///
24     ///


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                                                                        Page 295
 1                  I hereby certify that I have read the
 2     foregoing transcript of my deposition given at the
 3     time and place aforesaid, consisting of pages 1 to
 4     294, inclusive, and I do again subscribe and make
 5     oath that the same is a true, correct, and
 6     complete transcript of my deposition so given as
 7     aforesaid and includes changes, if any, so made by
 8     me.
 9
10
11                                  _________________________________
                                         HASINA JAVED, M.D.
12
13
14
15     SUBSCRIBED AND SWORN TO
       before me this _____ day
16     of __________, A.D. 2022.
17
18
       ________________________
19          Notary Public
20
21
22
23
24

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                                                                        Page 296
 1               I, LYN DOERING, a Certified Shorthand
       Reporter within and for the State of Illinois, do
 2     hereby certify:
 3               That previous to the commencement of the
       examination of the witness, the witness was duly
 4     sworn to testify the whole truth concerning the
       matters herein;
 5
                 That the foregoing deposition was
 6     reported stenographically by me, was thereafter
       reduced to a printed transcript by me, and
 7     constitutes a true record of the testimony given
       and the proceedings had;
 8
                 That the said deposition was taken
 9     before me at the time and place specified;
10               That the reading and signing by the
       witness of the deposition transcript was agreed
11     upon as stated herein;
12               That I am not a relative or employee or
       attorney or counsel, nor a relative or employee of
13     such attorney or counsel for any of the parties
       hereto, nor interested directly or indirectly in
14     the outcome of this action.
15               IN WITNESS WHEREOF, I do hereunto set my
       verified digital signature at Chicago, Illinois,
16     this 10th day of August, 2022.
17
18
19
                                 _________________________________
20                               Certified Shorthand Reporter
                                 State of Illinois
21
22     CSR License No. 084-003037.
23
24

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